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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     WOLLMUTH MAHER & DEUTSCH LLP
     Paul R. DeFilippo, Esq.
     500 Fifth Avenue
     New York, New York 10110
     Telephone: (212) 382-3300
     Facsimile: (212) 382-0050
     pdefilippo@wmd-law.com
     JONES DAY
     Gregory M. Gordon, Esq.
     Brad B. Erens, Esq.
     Dan B. Prieto, Esq.
     Amanda Rush, Esq.
     2727 N. Harwood Street
     Dallas, Texas 75201
     Telephone: (214) 220-3939
     Facsimile: (214) 969-5100
     gmgordon@jonesday.com
     bberens@jonesday.com
     dbprieto@jonesday.com
     asrush@jonesday.com
     (Admitted pro hac vice)
     PROPOSED ATTORNEYS FOR DEBTOR
     In re:                                                          Chapter 11

     LTL MANAGEMENT LLC, 1                                           Case No.: 23-12825 (MBK)
                                 Debtor.                             Judge: Michael B. Kaplan




                            DISCLOSURE STATEMENT
                                    FOR
          CHAPTER 11 PLAN OF REORGANIZATION OF LTL MANAGEMENT LLC




 1
              The last four digits of the Debtor's taxpayer identification number are 6622. The Debtor's address is
              501 George Street, New Brunswick, New Jersey 08933.




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 EXHIBIT A: Chapter 11 Plan of Reorganization of LTL Management LLC, dated May 15,
            2023, including certain Exhibits and Schedules thereto as follows:

                  (1)   Exhibit C – Cash Contributions

                  (2)   Exhibit D – Cash Contributions Parent Guarantee

                  (3)   Exhibit M – Trust Distribution Procedures

                  (4)   Schedule 1 – Imerys/Cyprus Parties

                  (5)   Schedule 2 – LTL Corporate Parties

                  (6)   Schedule 3 – Retailers and Indemnified Parties

 EXHIBIT B: Letter from LTL and J&J in Support of the Plan




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                                DISCLAIMER

       THE INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT IS
 INCLUDED HEREIN FOR PURPOSES OF SOLICITING ACCEPTANCES, AND
 CONFIRMATION, OF THE CHAPTER 11 PLAN OF REORGANIZATION OF LTL
 MANAGEMENT LLC, DATED MAY [], 2023 AND ATTACHED HERETO AS EXHIBIT A

                          ___________
 (THE "PLAN"), AND MAY NOT BE RELIED UPON FOR ANY OTHER PURPOSE.



       ALL HOLDERS OF CLAIMS IN CLASS 4 (TALC PERSONAL INJURY CLAIMS)
 ARE ENCOURAGED TO READ THIS DISCLOSURE STATEMENT AND THE PLAN
 ATTACHED HERETO AS EXHIBIT A, INCLUDING ITS ATTACHED EXHIBITS AND
 SCHEDULES, IN THEIR ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE
 PLAN.

      PLAN SUMMARIES AND STATEMENTS MADE IN THIS DISCLOSURE
 STATEMENT ARE QUALIFIED IN THEIR ENTIRETY BY REFERENCE TO THE PLAN
 AND THE EXHIBITS AND SCHEDULES TO THE PLAN, WHETHER ANNEXED THERETO
 OR INCLUDED IN THE PLAN SUPPLEMENT, WHICH CONTROL OVER THE
 DISCLOSURE STATEMENT IN THE EVENT OF ANY INCONSISTENCY OR
 INCOMPLETENESS.

      ANY STATEMENTS IN THIS DISCLOSURE STATEMENT CONCERNING THE
 PROVISIONS OF ANY DOCUMENT ARE NOT NECESSARILY COMPLETE, AND IN
 EACH INSTANCE REFERENCE IS MADE TO SUCH DOCUMENT FOR THE FULL TEXT
 THEREOF.

         THE DEBTOR WILL FILE ALL EXHIBITS AND SCHEDULES TO THE PLAN,
 WHETHER ATTACHED THERETO OR INCLUDED IN THE PLAN SUPPLEMENT, WITH
 THE BANKRUPTCY COURT AND MAKE THEM AVAILABLE FOR REVIEW ON THE
 WEBSITE         OF      EPIQ        CORPORATE    RESTRUCTURING,    LLC    AT
 http://dm.epiq11.com/case/ltl/dockets NO LATER THAN TEN (10) DAYS BEFORE THE
 DEADLINE TO OBJECT TO CONFIRMATION OF THE PLAN. THE DEBTOR WILL ALSO
 SERVE SUCH EXHIBITS AND SCHEDULES TO THE PLAN ON ITS THEN CURRENT
 BANKRUPTCY RULE 2002 SERVICE LIST NO LATER THAN TEN (10) DAYS BEFORE
 THE DEADLINE TO OBJECT TO CONFIRMATION OF THE PLAN.

     THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT ARE
 MADE ONLY AS OF THE DATE OF THIS DISCLOSURE STATEMENT, AND THERE CAN
 BE NO ASSURANCE THAT THE STATEMENTS CONTAINED HEREIN WILL BE

                          ___________
 CORRECT AT ANY TIME AFTER SUCH DATE.




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      THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN ACCORDANCE
 WITH SECTION 1125 OF THE BANKRUPTCY CODE AND RULE 3016 OF THE
 BANKRUPTCY RULES AND NOT NECESSARILY IN ACCORDANCE WITH FEDERAL
 OR STATE SECURITIES LAWS OR OTHER NON-BANKRUPTCY LAW.

      THIS DISCLOSURE STATEMENT HAS NOT BEEN APPROVED OR
 DISAPPROVED BY THE UNITED STATES SECURITIES AND EXCHANGE
 COMMISSION, ANY STATE SECURITIES COMMISSION, OR ANY SECURITIES
 EXCHANGE OR ASSOCIATION, NOR HAS THE UNITED STATES SECURITIES AND
 EXCHANGE COMMISSION, ANY STATE SECURITIES COMMISSION, OR ANY
 SECURITIES EXCHANGE OR ASSOCIATION PASSED ON THE ACCURACY OR
 ADEQUACY OF THE STATEMENTS CONTAINED HEREIN.

      PERSONS TRADING IN OR OTHERWISE PURCHASING, SELLING, OR
 TRANSFERRING CLAIMS AGAINST THE DEBTOR SHOULD EVALUATE THIS
 DISCLOSURE STATEMENT AND THE PLAN IN LIGHT OF THE PURPOSE FOR WHICH

                          ___________
 THEY WERE PREPARED.



      THIS DISCLOSURE STATEMENT AND ANY EXHIBITS ATTACHED TO THE
 ORDER WHICH APPROVES THIS DISCLOSURE STATEMENT AS CONTAINING
 ADEQUATE INFORMATION, ESTABLISHES SOLICITATION PROCEDURES, AND SETS
 THE VOTING DEADLINE AND THE DEADLINE FOR OBJECTING TO CONFIRMATION
 OF THE PLAN (THE "SOLICITATION PROCEDURES ORDER") [DKT. []] ARE THE
 ONLY DOCUMENTS TO BE USED IN CONNECTION WITH THE SOLICITATION OF
 VOTES ON THE PLAN.

      NO SOLICITATION OF VOTES MAY BE MADE EXCEPT AFTER DISTRIBUTION
 OF THIS DISCLOSURE STATEMENT. NO PERSON IS AUTHORIZED BY THE DEBTOR
 IN CONNECTION WITH THE PLAN OR THE SOLICITATION OF ACCEPTANCES OF THE
 PLAN TO GIVE ANY INFORMATION OR MAKE ANY REPRESENTATION OTHER THAN
 AS CONTAINED IN THIS DISCLOSURE STATEMENT AND ANY EXHIBITS ATTACHED
 TO THE SOLICITATION PROCEDURES ORDER, OR ANY DOCUMENT INCORPORATED
 BY REFERENCE OR REFERRED TO HEREIN OR THEREIN. IF SUCH INFORMATION OR
 REPRESENTATION IS GIVEN OR MADE, IT MAY NOT BE RELIED UPON AS HAVING
 BEEN AUTHORIZED BY THE DEBTOR. THE DEBTOR WILL MAKE AVAILABLE TO
 HOLDERS OF CLAIMS IN CLASS 4 (TALC PERSONAL INJURY CLAIMS), WHO ARE THE
 ONLY HOLDERS OF CLAIMS ENTITLED TO VOTE ON ACCEPTANCE OF THE PLAN,
 AS WELL AS HOLDERS OF INTERESTS IN CLASS 6 (EQUITY INTERESTS OF THE
 DEBTOR), WHO ARE THE ONLY HOLDERS OF INTERESTS ENTITLED TO VOTE ON
 ACCEPTANCE OF THE PLAN, SUCH ADDITIONAL INFORMATION AS MAY BE

                          ___________
 REQUIRED BY APPLICABLE LAW PRIOR TO THE VOTING DEADLINE.




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      CERTAIN OF THE INFORMATION CONTAINED IN THIS DISCLOSURE
 STATEMENT IS BY ITS NATURE FORWARD LOOKING AND CONTAINS ESTIMATES,
 ASSUMPTIONS, AND PROJECTIONS THAT MAY BE MATERIALLY DIFFERENT FROM
 ACTUAL FUTURE RESULTS. THE WORDS "BELIEVE," "MAY," "WILL," "ESTIMATE,"
 "CONTINUE," "ANTICIPATE," "INTEND," "EXPECT," AND SIMILAR EXPRESSIONS
 IDENTIFY THESE FORWARD-LOOKING STATEMENTS. THESE FORWARD-LOOKING
 STATEMENTS ARE SUBJECT TO A NUMBER OF RISKS, UNCERTAINTIES, AND
 ASSUMPTIONS, INCLUDING THOSE DESCRIBED IN ARTICLE IX, "CERTAIN FACTORS
 TO BE CONSIDERED." IN LIGHT OF THESE RISKS AND UNCERTAINTIES, THE
 FORWARD-LOOKING EVENTS AND CIRCUMSTANCES DISCUSSED IN THIS
 DISCLOSURE STATEMENT MAY NOT OCCUR, AND ACTUAL RESULTS COULD
 DIFFER MATERIALLY FROM THOSE ANTICIPATED IN THE FORWARD-LOOKING
 STATEMENTS.    THE DEBTOR AND THE REORGANIZED DEBTOR DO NOT
 UNDERTAKE ANY OBLIGATION TO PUBLICLY UPDATE OR REVISE ANY
 FORWARD-LOOKING STATEMENTS, WHETHER AS A RESULT OF NEW

                          ___________
 INFORMATION, FUTURE EVENTS, OR OTHERWISE.



      UNLESS OTHERWISE SPECIFICALLY NOTED, THE FINANCIAL INFORMATION
 CONTAINED IN THIS DISCLOSURE STATEMENT HAS NOT BEEN AUDITED BY A
 CERTIFIED PUBLIC ACCOUNTANT AND HAS NOT BEEN PREPARED IN
 ACCORDANCE WITH GENERALLY ACCEPTED ACCOUNTING PRINCIPLES. THE
 HISTORICAL INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT HAS
 BEEN OBTAINED FROM SUCH REPORTS AND OTHER SOURCES OF INFORMATION

                          ___________
 AS ARE AVAILABLE TO THE DEBTOR.



      AS TO CONTESTED MATTERS, ADVERSARY PROCEEDINGS, AND OTHER
 ACTIONS OR THREATENED ACTIONS, THIS DISCLOSURE STATEMENT SHALL NOT
 CONSTITUTE OR BE CONSTRUED AS AN ADMISSION OF ANY FACT OR LIABILITY,
 STIPULATION, OR WAIVER, BUT RATHER AS A STATEMENT MADE IN SETTLEMENT

                          ___________
 NEGOTIATIONS.



      THIS DISCLOSURE STATEMENT SHALL NOT BE CONSTRUED TO BE
 CONCLUSIVE ADVICE ON THE TAX OR OTHER LEGAL EFFECTS OF THE PLAN AS TO
 HOLDERS OF CLAIMS AGAINST, OR EQUITY INTERESTS IN, EITHER THE DEBTOR,
 THE REORGANIZED DEBTOR, OR AS TO BENEFICIARIES OF THE TRUST TO BE
 ESTABLISHED BY THE PLAN.




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                                              ARTICLE I.

                                           INTRODUCTION


        Capitalized terms used but not defined in this Disclosure Statement have the meanings
 ascribed to them in Article I of the Plan.

 1.1     Introductory Statement

        LTL Management LLC (the "Debtor") is seeking approval of the Plan, a copy of which is
 attached hereto as Exhibit A. The purpose of this Disclosure Statement is to provide parties who
 have a right to vote on the Plan with adequate information to make an informed determination as
 to whether to accept or reject the Plan.

         During the Debtor's prior chapter 11 case, the extent of the Debtor's liability for cosmetic
 talc-related claims was the subject of dispute between the Debtor and the claimants. After
 extensive negotiations, including mediation, the Debtor, Johnson & Johnson ("J&J") and Johnson
 & Johnson Holdco (NA) Inc., a New Jersey Corporation formerly named Johnson & Johnson
 Consumer Inc. ("Holdco") reached agreement with various plaintiff law firms who represent
 approximately 58,000 claimants to settle that dispute and establish the basis for a full resolution
 of the Debtor's chapter 11 case, including all talc-related liability. That agreement was
 memorialized in a series of plan support agreements executed by the plaintiff law firms, the Debtor,
 J&J, and Holdco (the "Plan Support Agreements"). The Plan implements the settlement by, among
 other things, providing for the creation and funding of a trust to pay the talc-related claims. The
 talc trust to be created under the Plan will contain two sub-trusts for the payment of talc-related
 claims: one for all talc-related claims that are not governmental unit claims, and the other for
 governmental unit claims. The talc trust will be funded with approximately $12.08 billion over 25
 years as follows for the benefit of holders of talc-related claims against the Debtor:

 Cash Contributions

         •        On the effective date of the Plan, $3.0 billion in cash will be delivered to the talc
                  trust, with (i) $400 million of that amount to be delivered to the sub-trust for
                  governmental unit claims (ii) $2.6 billion of that amount to be delivered to the
                  sub-trust for all other talc-related claims. The $2.6 billion to be delivered to the
                  sub-trust for talc-related claims other than governmental unit claims on the
                  effective date of the Plan is subject to adjustment as follows: (a) commencing on
                  the first business day after the confirmation date, interest will accrue on such
                  amount at the rate of 4% per annum and (b) such amount will be reduced by the
                  amount of expenses of the talc trust that are paid by the reorganized Debtor in
                  advance of the effective date of the Plan;

         •        On the first anniversary of the effective date of the Plan $2.5 billion will be
                  delivered to the talc trust, with it all being delivered to the sub-trust for all
                  talc-related claims other than governmental unit claims;




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         •        On each of the second, seventh, twelfth, seventeenth, and twenty-second
                  anniversary of the effective date of the Plan, $1.0 billion will be delivered to the
                  talc trust, with it all being delivered to the sub-trust for all talc-related claims
                  other than governmental unit claims; and

         •        On the twenty-fifth anniversary of the effective date of the Plan, $1.18 billion will
                  be delivered to the talc trust, with it all being delivered to the sub-trust for all talc-
                  related claims other than governmental unit claims.

 Promissory Note

         •        On the Effective Date of the Plan, a $400 million promissory note will be
                  delivered to the sub-trust for all talc-related claims other than governmental unit
                  claims, with such promissory note to mature on the first anniversary of the
                  Effective Date of the Plan.

         The level of funding under the Plan to process and pay talc claims is unprecedented. In
 particular, while the Debtor has agreed to fund a trust with over $12 billion for payment of
 talc-related claims, $5.9 billion will be funded within the first year after the Plan is approved and
 effective. If the Plan is confirmed and becomes effective, this funding would constitute the largest
 settlement ever reached in an asbestos bankruptcy case, even as compared to cases where (unlike
 here) the manufacturer conceded that its products contained asbestos. The funding would also
 constitute the largest resolution in any mass tort product liability bankruptcy case.

        It is anticipated that the talc trust will pay all current talc-related claims against the Debtor
 within one year after it is established.

         All talc-related claims will be processed, liquidated, and paid by the talc trust. In that
 regard, the Plan includes talc personal injury trust distribution procedures for talc-related claims
 that describe a detailed methodology for the fair and equitable resolution of talc-related claims.
 The trust distribution procedures are attached as an exhibit to the Plan and are summarized later in
 this Disclosure Statement. The compensation anticipated to be paid by the trust for talc-related
 claims against the Debtor compares very favorably to amounts claimants have received to date in
 the tort system, as the trust will pay out over $12,000,000,000 while the vast majority of talc
 claimants have recovered nothing. In particular, over the last decade in which tens of thousands
 of talc claims have been pursued, only 48 cases have been tried, and of those, the vast majority
 resulted in no recovery for the claimants.

        Pursuant to the Plan and sections 524(g) and/or 105(a) of the Bankruptcy Code, the sole
 recourse of talc claimants will be to the talc trust. The talc claimants of the Debtor will no longer
 have any right to assert talc-related claims against the Debtor, J&J or other parties identified in the
 Plan.

         All other classes of creditors and interest holders of the Debtor, except for the holder of
 interests in the Debtor, are unimpaired by the Plan because the Plan does not modify the legal,
 equitable or contractual rights of the holders of the claims or interests in those classes, other than
 by curing defaults and reinstating maturities. The specific treatments of other classes of creditors



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 and interest holders of the Debtor are set forth in the Plan and summarized later in this Disclosure
 Statement.

        The only classes that are entitled to vote on the Plan are Class 4 (Talc Personal Injury
 Claims) and Class 6 (Equity Interests of the Debtor). All holders of Talc Personal Injury Claims
 in Class 4 are urged to vote in favor of the Plan by no later than 4:00 p.m., Eastern time, on
 __________. See Section 1.3 below for voting instructions.

         The Debtor's Boards of Managers believe that the Plan is in the best interests of the Debtor's
 creditors and other stakeholders because it equitably resolves the dispute over the extent of the
 Debtor's liability for Talc Personal Injury Claims and provides a mechanism for the prompt and
 efficient payment of such claims on a fair and equitable basis. The Debtor and other supporting
 parties strongly encourage all holders of Talc Personal Injury Claims to vote in favor of the Plan.
 A letter from the Debtor and J&J encouraging all holders of Talc Personal Injury Claims to vote
 in favor of the Plan is attached hereto as Exhibit B and is also included in the solicitation package
 you have received.

         The Ad Hoc Committee of Supporting Counsel likewise supports the Plan. The Official
 Committee of Talc Claimants opposes the Plan. A letter from the Ad Hoc Committee of
 Supporting Counsel encouraging all holders of Talc Personal Injury Claims to vote in favor of the
 Plan is included in the solicitation package you have received.

         __________________________________________________.

 1.2     Legal Disclosure

         This Disclosure Statement is being furnished by the Debtor, as proponent of the Chapter
 11 Plan of Reorganization of LTL Management LLC, dated May 15, 2023, pursuant to section
 1125 of the Bankruptcy Code, and in connection with the solicitation of votes for acceptance or
 rejection of the Plan.

         This Disclosure Statement is being transmitted in order to provide adequate information to
 enable holders of Claims in Class 4 (Talc Personal Injury Claims), which is the only Class of
 Claims that is Impaired and entitled to vote on the Plan, to make an informed judgment in

                                        ___________
 exercising their right to vote to accept or reject the Plan.



         As defined in the Plan and used in this Disclosure Statement:

                   "Talc Personal Injury Claim" means any claim or Talc Personal Injury Demand against the
         Debtor, Old JJCI, or any other Protected Party, whether known or unknown, including with respect
         to any manner of alleged bodily injury, death, sickness, disease, emotional distress, fear of cancer,
         medical monitoring, or any other alleged personal injuries (whether physical, emotional, or
         otherwise), directly or indirectly arising out of or in any way relating to the presence of or exposure
         to talc or talc-containing products based on the alleged pre-Effective Date acts or omissions of the
         Debtor, Old JJCI, or any other Person for whose conduct the Debtor has, or is alleged to have,
         liability, whether by assumption of such liability from such other Person, by agreement to
         indemnify, defend, or hold harmless such other Person from and against such liability, or otherwise,




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         including any such claims and Talc Personal Injury Demands directly or indirectly arising out of or
         in any way relating to: (a) any products previously mined, processed, manufactured, designed,
         marketed, fabricated, constructed, sold, supplied, produced, installed, maintained, serviced,
         specified, selected, repaired, removed, replaced, released, distributed, and/or in any other way made
         available by the Debtor or any other Person; (b) any materials present at any premises owned, leased,
         occupied, or operated by any Person; or (c) any talc in any way connected to the Debtor alleged to
         contain asbestos or other constituent. Talc Personal Injury Claims include all such claims and Talc
         Personal Injury Demands, whether: (1) in tort, contract, warranty, restitution, conspiracy,
         contribution, indemnity, guarantee, subrogation, reimbursement, or any other theory of law, equity
         or admiralty, whether brought, threatened, or pursued in any United States court or other court
         anywhere in the world, including Canada; (2) liquidated or unliquidated, fixed or contingent, direct
         or indirect, disputed or undisputed, matured or unmatured, known or unknown, foreseen or
         unforeseen, now existing or hereafter arising, in law, equity, or otherwise (including under piercing
         the corporate veil, agency, alter ego, successor liability, fraudulent conveyance, conspiracy,
         enterprise liability, market share, joint venture, or any other legal or equitable theory); (3) seeking
         compensatory, special, economic, non-economic, punitive, exemplary, administrative, or any other
         costs, fees, injunctive, or similar relief, or any other measure of damages; (4) seeking any legal,
         equitable, or other relief of any kind whatsoever, including, for the avoidance of doubt, any claims
         and Talc Personal Injury Demands arising out of or in any way relating to the presence of or
         exposure to talc or talc-containing products assertable against the Debtor or any other Protected
         Party; or (5) held by Persons residing within the United States or in a foreign jurisdiction, including
         Canada. Talc Personal Injury Claims also include any such claims that have been resolved or are
         subject to resolution pursuant to any agreement, or any such claims that are based on a judgment or
         verdict. Talc Personal Injury Claims do not include any claim or demand by any present or former
         employee of a predecessor or Affiliate of the Debtor for benefits under a policy of workers'
         compensation insurance or for benefits under any state or federal workers' compensation statute or
         other statute providing compensation to an employee from an employer. For the avoidance of doubt,
         Talc Personal Injury Claims include: (i) all claims, demands, debts, obligations, or liabilities for
         compensatory damages (such as, without limitation, loss of consortium, medical monitoring,
         personal or bodily injury, wrongful death, survivorship, proximate, consequential, general, and
         special damages) and punitive damages; (ii) PI/Stay Order Claims; (iii) Indirect Talc Personal Injury
         Claims, and (iv) Canadian Claims. Notwithstanding the foregoing, Talc Personal Injury Claims do
         not include any claim that a Settling Talc Insurance Company may have against its reinsurers and/or
         retrocessionaires in their capacities as such, and nothing in the Plan, the Plan Documents, or the
         Confirmation Order shall impair or otherwise affect the ability of a Settling Talc Insurance Company
         to assert any such claim against its reinsurers and/or retrocessionaires in their capacities as such.
         For the avoidance of doubt, Talc Personal Injury Claims do not include any claim against any
         Imerys/Cyprus Party based on, arising out of, or in any way relating to the Imerys/Cyprus Related

                                        ___________
         Rights.




         By order dated [], 2023, the Bankruptcy Court approved this Disclosure Statement in
 accordance with section 1125 of the Bankruptcy Code, and found that it contained "adequate
 information" sufficient to enable a hypothetical member of the relevant class to make an informed
 judgment about the Plan, and authorized its use in connection with the solicitation of votes with
 respect to the Plan. Approval of this Disclosure Statement does not, however, constitute a
 determination by the Bankruptcy Court as to the fairness or merits of the Plan. No
 solicitation of votes may be made except pursuant to this Disclosure Statement and section 1125

                                        ___________
 of the Bankruptcy Code.




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        On the Effective Date, liability for all Talc Personal Injury Claims shall be channeled
 to and assumed by the Talc Personal Injury Trust.

         As defined in the Plan and used in this Disclosure Statement:
         "Talc Personal Injury Governmental Action Claims Sub-Trust" means the sub-trust of the Talc
         Personal Injury Trust established pursuant to the Talc Personal Injury Trust Agreement to resolve
         and satisfy Governmental Action Claims.

         "Talc Personal Injury Tort Claims Sub-Trust" means the sub-trust of the Talc Personal Injury Trust
         established pursuant to the Talc Personal Injury Trust Agreement to resolve and satisfy Talc
         Personal Injury Claims other than Governmental Action Claims, which sub-trust is a "qualified
         settlement fund" within the meaning of Treasury Regulations issued under Section 468B of the
         Internal Revenue Code.

         "Talc Personal Injury Trust" means the LTL Talc Personal Injury Trust established pursuant to the
         Talc Personal Injury Trust Agreement and comprised of the Talc Personal Injury Governmental
         Action Claims Sub-Trust and the Talc Personal Injury Tort Claims Sub-Trust.

         "Talc Personal Injury Trust Agreement" means that certain trust agreement, substantially in the form
         of Exhibit J to the Plan.

          The Talc Personal Injury Governmental Action Claims Sub-Trust shall assume the
 liabilities, obligations, and responsibilities for all Governmental Action Claims, and the Talc
 Personal Injury Tort Claims Sub-Trust shall assume all liabilities, obligations, and responsibilities

                                       ___________
 for all Talc Personal Injury Claims other than Governmental Action Claims.



         As set forth in greater detail in Article VIII of this Disclosure Statement, the purposes of
 the Talc Personal Injury Trust shall be to: (i) assume all Talc Personal Injury Claims; (ii) to
 preserve, hold, manage, and maximize the assets of the Talc Personal Injury Trust; and (iii) to
 direct the processing, liquidation, and payment of all compensable Talc Personal Injury Claims in
 accordance with the Talc Personal Injury Trust Documents.

         The Debtor believes and intends to show at the Confirmation Hearing that the Talc Personal
 Injury Trust will resolve Talc Personal Injury Claims in accordance with the Talc Personal Injury
 Trust Documents in such a way that holders of Talc Personal Injury Claims are treated fairly and
 equitably, and otherwise comply in all respects with the requirements of section 524(g)(2)(B)(i) of
 the Bankruptcy Code.

         The Talc Personal Injury Trust Distribution Procedures are attached to the Plan as
 Exhibit M (the "Trust Distribution Procedures"). The Trust Distribution Procedures are binding
 on the holders of all Talc Personal Injury Claims.

      A DETAILED SUMMARY OF THE TRUST DISTRIBUTION PROCEDURES

                                       ___________
 CAN BE FOUND IN SECTION 8.2 OF THIS DISCLOSURE STATEMENT.




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 1.3     Voting and Confirmation

        Article X of this Disclosure Statement specifies the deadlines, procedures, and
 instructions for voting to accept or reject the Plan, as well as the applicable standards for
 tabulating Ballots (as defined below). The following is an overview of certain information
 related to voting that is contained in Article X of this Disclosure Statement and elsewhere in
 this Disclosure Statement.

         Each holder of a Claim in Class 4 (Talc Personal Injury Claims) is entitled to vote to accept
 or reject the Plan. Class 4 shall have accepted the Plan pursuant to the requirements of sections
 1126(c) and 524(g) of the Bankruptcy Code if at least two-thirds (2/3) in amount and seventy-five
 percent (75%) in number of those voting Claims in Class 4 (Talc Personal Injury Claims) vote to
 accept the Plan. Class 4 (Talc Personal Injury Claims) is the only Class of Claims that is Impaired
 and entitled to vote on the Plan.

         Holdco, as the holder of all Interests in Class 6 (Equity Interests of the Debtor), is also
 entitled to vote to accept or reject the Plan. Class 6 shall have accepted the Plan pursuant to the
 requirements of sections 1126(c) of the Bankruptcy Code if at least two-thirds (2/3) in amount and
 fifty percent (50%) in number of those voting Interests in Class 6 (Equity Interests of the Debtor)
 vote to accept the Plan. Accordingly, if Holdco, as the holder of all Interests in Class 6, timely
 votes to accept the Plan, Class 6 shall have accepted the Plan. Holdco, which is a party to the Plan
 Support Agreements, is expected to timely vote to accept the Plan.

        Assuming the requisite acceptances are obtained from holders of Claims in Class 4 (Talc
 Personal Injury Claims) such that Class 4 also accepts the Plan, the Debtor intends to seek
 confirmation of the Plan at the Confirmation Hearing scheduled for [], 2023, at [] [].m.
 (Prevailing Eastern Time) before the Bankruptcy Court.

       The Debtor has engaged Epiq Corporate Restructuring, LLC (the "Solicitation Agent" or
 "Claims Agent") to assist in the voting process.

         The Solicitation Agent will provide copies of all materials and process and tabulate Ballots
 for Class 4 (Talc Personal Injury Claims) and Class 6 (Equity Interests of the Debtor).

        To be counted, your Ballot indicating acceptance or rejection of the Plan must be
 received by the Solicitation Agent no later than 4:00 p.m. (prevailing Eastern Time) on [],
 2023 (the "Voting Deadline"), unless the Debtor, in its sole discretion, extends the period during
 which votes will be accepted on the Plan for any Person, in which case the term "Voting Deadline"
 shall mean the last date on, and time by which, such period is extended for such Person. Any
 executed Ballot that does not indicate either an acceptance or rejection of the Plan or
 indicates both an acceptance and rejection of the Plan will not be counted as an acceptance
 or rejection and will not count toward the tabulations required pursuant to either sections
 524(g) or 1129 of the Bankruptcy Code; provided, however, that a Master Ballot may indicate
 that some holders of Claims voted to accept the Plan while others voted to reject the Plan.

        Prior to deciding whether and how to vote on the Plan, each holder of a Claim in Class 4
 (Talc Personal Injury Claims) and Interest in Class 6 (Equity Interests of the Debtor) entitled to
 vote should consider carefully all of the information in this Disclosure Statement, including


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 Article IX entitled "Certain Factors to be Considered." You should read this Disclosure
 Statement and the Plan attached hereto as Exhibit A, including its attached exhibits and
 schedules, with care in evaluating how the Plan will affect your Class 4 Claim(s) or Class 6
 Interest(s) before voting to accept or reject the Plan.

         The Debtor believes that the Plan is in the best interests of all holders of Claims in
 Class 4 (Talc Personal Injury Claims) and Interests in Class 6 (Equity Interests of the
 Debtor) and all other creditors and stakeholders of the Debtor. The Debtor recommends
 that all holders of Claims in Class 4 (Talc Personal Injury Claims) and Interests in Class 6
 submit Ballots to accept the Plan.




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 1.4       Important Dates

                       Event                                               Date

     Deadline for Law Firms Representing Talc       [______, 2023]
     Personal Injury Claims to Return Certified
     Plan Solicitation Directive and Client List
     Voting Record Date                             [_____, 2023]
     Deadline to Mail Solicitation Packages and [______, 2023] (the "Solicitation Date"), which is
     Related Notices, including Direct Talc [5] business days after entry of the order
     Personal Injury Claim Solicitation Notice  approving the Disclosure Statement, or as soon as
                                                reasonably practicable thereafter
     Date of Publication of Confirmation On the Solicitation Date (or as soon thereafter as
     Hearing Notice                             reasonably practicable)
     Deadline to File Plan Supplement           [______, 2023] 2

     Voting Deadline                                [______, 2023 at 4:00 p.m.] 3

     Confirmation Objection Deadline
     Deadline to File Voting Certification*         [______, 2023 at 4:00 p.m.] 4

     Deadline for the Debtor to File [______, 2023 at 4:00 p.m.] 5
     Memorandum of Law, any Reply and
     Declarations in Support of Plan
     Confirmation, and Form of Confirmation
     Order
     Confirmation Hearing                   [______, 2023, subject to the Court's
                                            availability]6

 *     In addition to tabulating the votes from Class 4 (Talc Personal Injury Claims) to accept or
      reject the Plan, the Voting Certification shall also include a list of holders of Claims in Class 4
      who opted out of the releases contained in the Plan, as well as those holders of Claims in
      Class 4 whose solicitation packages were returned as undeliverable, or who were not served
      with a solicitation package.




 2         [Note: Approximately 59 days from the hearing on the motion to consider approval of the
           Disclosure Statement (the "Disclosure Statement Hearing").]
 3         [Note: Approximately 69 days from the Disclosure Statement Hearing.]
 4         [Note: Approximately 83 days from the Disclosure Statement Hearing.]
 5         [Note: Approximately 83 days from the Disclosure Statement Hearing.]
 6         [Note: Approximately 90 days from the Disclosure Statement Hearing.]



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                                            ARTICLE II.

                                   OVERVIEW OF THE PLAN

        The following is a general overview of how the Plan treats all holders of Claims against,
 and Equity Interests in, the Debtor. It is qualified in its entirety by, and should be read in
 conjunction with, the more detailed discussions and information appearing elsewhere in this
 Disclosure Statement and in the Plan. For a more detailed description of the terms and provisions
 of the Plan, please refer to Article VII of this Disclosure Statement titled "THE PLAN OF
 REORGANIZATION."

 2.1     Summary of Plan Treatment of Talc Personal Injury Claims

         (a)      Background

         The Debtor commenced a chapter 11 case (the "2021 Chapter 11 Case") on October 14,
 2021, to resolve permanently all claims relating to its liability for cosmetic talc products in an
 efficient and equitable manner through implementation of a chapter 11 plan of reorganization that
 would establish a trust to efficiently process and pay such claims. On January 30, 2023, a panel
 of the United States Court of Appeals for the Third Circuit (the "Third Circuit") issued an opinion
 directing the Bankruptcy Court to dismiss the 2021 Chapter 11 Case on the basis that the
 bankruptcy case was not filed in good faith. The Bankruptcy Court ultimately entered an order
 dismissing the 2021 Chapter 11 Case on April 4, 2023. Such events are described in more detail
 below.

         Throughout the 2021 Chapter 11 Case, the Debtor participated in court-ordered mediation
 with the Debtor's key constituencies to negotiate a potential consensual resolution of the case.
 Despite a multitude of discussions with various parties and the efforts of the mediators, no
 agreement was reached prior to the Third Circuit's decision to dismiss the 2021 Chapter 11 Case.
 Following the Third Circuit's ruling, however, and with the assistance of the mediators and the
 encouragement of the Bankruptcy Court, negotiations continued between the Debtor and J&J, and
 various plaintiff law firms. Those negotiations ultimately culminated in an agreement with
 thousands of claimants on a broad outline of terms, including financial terms, for a plan of
 reorganization that, if confirmed and consummated, would fully resolve all of the Debtor's liability
 for talc-related claims. That agreement was memorialized in a series of Plan Support Agreements
 that were executed and delivered by counsel on behalf of approximately 58,000 claimants and
 subsequently signed by the Debtor, Holdco, and J&J. The Plan Support Agreements provide that,
 among other things, the Debtor, J&J, Holdco, and the applicable claimants will work together to
 finalize, file, and seek confirmation of a plan of reorganization that provides for the establishment
 of a trust funded in the amount of $8.9 billion on a net present value basis. Such events are
 described in more detail below.

          The Debtor's stated goal in the current Chapter 11 Case is to finalize, obtain confirmation
 of, and ultimately consummate a plan of reorganization containing the terms agreed to in the Plan
 Support Agreements. To that end, the Plan, among other things, (a) establishes a trust and provides
 it with funding of $8.9 billion on a net present value basis to resolve and pay all current and future
 talc-related claims, including all ovarian cancer claims and all mesothelioma claims, and



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 (b) provides for the issuance of an injunction that will permanently protect the Debtor, its affiliates,
 and certain other parties from further talc-related claims arising from products manufactured
 and/or sold by Old JJCI (as defined below), or for which Old JJCI may otherwise have had legal
 responsibility, pursuant to sections 524(g) and/or 105(a) of the Bankruptcy Code. The Debtor
 believes that, as a result of the Cash Contributions described below, talc-related claims will be paid
 in full.

          Pursuant to the Plan, other Claims against the Debtor will be paid in full, and Holdco will
 retain its Equity Interests in the Debtor.

         (b)      Talc Personal Injury Trust

        Pursuant to the Plan, a Talc Personal Injury Trust that complies in all respects with the
 requirements of section 524(g)(2)(B) of the Bankruptcy Code will be established and assume all
 Talc Personal Injury Claims. The Talc Personal Injury Trust will be comprised of two sub-trusts
 – the Talc Personal Injury Governmental Action Sub-Trust and the Talc Personal Injury Tort
 Claims Sub-Trust. The Talc Personal Injury Governmental Action Sub-Trust will assume all
 Governmental Action Claims, and the Talc Personal Injury Tort Claims Sub-Trust will assume all
 Talc Personal Injury Claims other than Governmental Action Claims. The Talc Trustees will
 segregate, and separately account for the use of, funds of the Talc Personal Injury Governmental
 Action Sub-Trust, on the one hand, and the Talc Personal Injury Tort Claims Sub-Trust, on the
 other hand.

        The Talc Personal Injury Trust will manage its assets, and use such assets to pay
 compensable Talc Personal Injury Claims, in accordance with the Talc Personal Injury Trust
 Documents. The Talc Personal Injury Trust Documents include the Talc Personal Injury Trust
 Agreement (Exhibit J to the Plan), the Trust Distribution Procedures (Exhibit M to the Plan), the
 Cooperation Agreement (Exhibit E to the Plan), and all other agreements, instruments, and
 documents governing the establishment, administration, and operation of the Talc Personal Injury
 Trust (which, along with the Talc Personal Injury Trust Agreement and the Cooperation
 Agreement, will be included in the Plan Supplement).

        Pursuant to the Plan, the Reorganized Debtor will deliver Cash Contributions to the Talc
 Personal Injury Trust as follows:

         •        on the Effective Date, total Cash Contributions of $3.0 billion, with (i) $400 million
                  thereof to be delivered to the Talc Personal Injury Governmental Action Sub-Trust
                  and (ii) $2.6 billion thereof to be delivered to the Talc Personal Injury Tort Claims
                  Sub-Trust. The $2.6 billion to be delivered to the sub-trust for talc-related claims
                  other than governmental unit claims on the effective date of the Plan is subject to
                  adjustment as follows: (a) commencing on the first business day after the
                  confirmation date, interest will accrue on such amount at the rate of 4% per annum
                  and (b) such amount will be reduced by the amount of expenses of the talc trust that
                  are paid by the reorganized Debtor in advance of the effective date of the Plan;




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         •        on the first (1st) anniversary of the Effective Date, total Cash Contributions of $2.5
                  billion, with the entirety thereof to be delivered to the Talc Personal Injury Tort
                  Claims Sub-Trust;

         •        on each of the second (2nd), seventh (7th), twelfth (12th), seventeenth (17th), and
                  twenty-second (22nd) anniversary of the Effective Date, total Cash Contributions of
                  $1.0 billion, with the entirety thereof to be delivered to the Talc Personal Injury
                  Tort Claims Sub-Trust; and

         •        on the twenty-fifth (25th) anniversary of the Effective Date, total Cash
                  Contributions of $1.18 billion, with the entirety thereof to be delivered to the Talc
                  Personal Injury Tort Claims Sub-Trust.

         Pursuant to the Plan, on the Effective Date, the Reorganized Debtor will deliver the Talc
 PI Note to the Talc Personal Injury Tort Claims Sub-Trust. The Talc PI Note will be in the
 principal amount of $400 million, will bear no interest, will mature on the first anniversary of the
 Effective Date, will be secured by the Talc PI Pledge, and will provide for payment in full of the
 principal amount on or before maturity date.

         (c)      The Trust Distribution Procedures

         As set forth in the Plan and described in Article VIII of this Disclosure Statement, on the
 Effective Date, liability for all Talc Personal Injury Claims shall be channeled to and assumed by
 the Talc Personal Injury Trust without further act or deed and shall be resolved in accordance with
 the Trust Distribution Procedures.

         (d)      The Channeling Injunction

         The effect of "channeling" Talc Personal Injury Claims to the Talc Personal Injury Trust is
 that Talc Personal Injury Claims may only be pursued against, and resolved by, the Talc Personal
 Injury Trust, or as otherwise set forth in the Trust Distribution Procedures.

         The Channeling Injunction to be issued as part of the Plan will permanently and forever
 stay, bar, and enjoin holders of Talc Personal Injury Claims from taking any action for the purpose
 of directly or indirectly or derivatively collecting, recovering, or receiving payment of, on, or with
 respect to any Talc Personal Injury Claim against a Protected Party. As a result, no holder of a
 Talc Personal Injury Claim will have any right whatsoever at any time to assert its Talc Personal
 Injury Claim against any Protected Party or any property or interest in property of any Protected
 Party.

         The Protected Parties include: (i) the Debtor and its Representatives; (ii) the Reorganized
 Debtor and its Representatives; (iii) the LTL Corporate Parties listed on Schedule 2 to the Plan
 and their respective representatives; (iv) the Settling Talc Insurance Companies; (v) the retailers,
 parties indemnified by the Debtor, and other Persons listed on Schedule 3 to the Plan; and (vi) the
 Imerys/Cyprus Parties listed on Schedule 1 to the Plan, provided, however, that the Imerys/Cyprus
 Parties shall only be Protected Parties if, at least fourteen (14) days prior to the deadline for
 objecting to Confirmation of the Plan, either (i) a settlement agreement, acceptable in form and



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 substance to the Debtor, J&J, and the AHC of Supporting Counsel, is entered into by and between
 Imerys Talc America, Inc. and the Debtor or (ii) the Debtor, J&J, and the AHC of Supporting
 Counsel jointly determine that the Imerys/Cyprus Parties shall be Protected Parties absent such a
 settlement agreement.

 2.2     Summary Description of Classes and Treatment

         Except for Administrative Claims and Priority Tax Claims (which are not required to be
 classified), all Claims and Equity Interests are divided into classes under the Plan. The following
 chart summarizes the treatment of such classified and unclassified Claims and Equity Interests
 under the Plan. This chart is only a summary of such classification and treatment and reference
 should be made to the entire Disclosure Statement and the Plan for a complete description of the
 classification and treatment of Claims and Equity Interests. The Debtor reserves the right to
 modify the Plan consistent with section 1127 of the Bankruptcy Code and Bankruptcy Rule 3019.

        The summary of classification and treatment of Claims against and Equity Interests in the
 Debtor is as follows:

                                                                           Impairment
                                                                               and         Estimated
        Class     Designation                Treatment
                                                                           Entitlement     Recovery
                                                                             to Vote
                                Each holder of an Allowed Priority
                                Non-Tax Claim will receive Cash            Unimpaired
                   Priority     equal to the Allowed Amount of such
                                                                            Not Entitled
          1        Non-Tax      Priority Non-Tax Claim plus                                  100%
                                                                              to Vote
                    Claims      Postpetition Interest thereon, unless      (Presumed to
                                the holder of such Claim agrees to            Accept)
                                less favorable treatment.
                                Unless otherwise agreed to by the
                                holder of an Allowed Secured Claim
                                in Class 2 and the Debtor or
                                Reorganized Debtor, each holder of
                                an Allowed Class 2 Claim, at the
                                                                           Unimpaired
                                option of the Debtor or Reorganized
                                Debtor, will either: (i) be paid in full
                   Secured                                                  Not Entitled
          2                     in Cash, plus Postpetition Interest                          100%
                   Claims                                                     to Vote
                                thereon; or (ii) have its Allowed Class
                                                                           (Presumed to
                                2 Claim Reinstated.
                                                                              Accept)
                                Any Allowed Deficiency Claim of a
                                holder of an Allowed Secured Claim
                                will be entitled to treatment as an
                                Allowed Class 3 Claim.
                                                                           Unimpaired
                                Each holder of an Allowed
                  Unsecured
          3                     Unsecured Claim against the Debtor                           100%
                   Claims                                                  Not Entitled
                                will be paid the Allowed Amount of
                                                                            to Vote


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                                                                             Impairment
                                                                                 and         Estimated
        Class     Designation                  Treatment
                                                                             Entitlement     Recovery
                                                                               to Vote
                                  its Unsecured Claim. Such payment          (Presumed to
                                  will be (i) in full, in Cash, plus            Accept)
                                  Postpetition interest, or (ii) upon such
                                  other less favorable terms as may be
                                  mutually agreed upon between the
                                  holder of such Unsecured Claim and
                                  the Debtor or Reorganized Debtor.
                                On the Effective Date, liability for all
                                Talc Personal Injury Claims will be
                                channeled to and assumed by the Talc
                                Personal Injury Trust without further
                                act or deed and shall be resolved in
                                accordance      with     the      Trust
                                                                               Impaired
                                Distribution Procedures. Pursuant to
                  Tale Personal
          4                     the Plan and the Trust Distribution                          100%
                  Injury Claims                                               Entitled to
                                Procedures, each holder of a Talc
                                                                                Vote
                                Personal Injury Claim will have its
                                Claim permanently channeled to the
                                Talc Personal Injury Trust, and such
                                Claim will thereafter be resolved in
                                accordance with the Talc Personal
                                Injury Trust Documents.
                                                                             Unimpaired

                  Intercompany On the Effective Date, each Allowed            Not Entitled
          5                                                                                    100%
                      Claims   Claim in Class 5 will be Reinstated.             to Vote
                                                                             (Presumed to
                                                                                Accept)
                                  On the Effective Date, Equity
                                  Interests of the Debtor will be              Impaired
                     Equity
                                  Reinstated, and the holder of such
          6        Interests of                                                                100%
                                  Interests will retain such interests,       Entitled to
                   the Debtor
                                  subject to the Talc PI Pledge.                Vote


         The Debtor reserves the right to eliminate any Class of Claims in the event it determines
 that there are no Claims in such Class.

 2.3     The Plan Supplement

          The Debtor will file the Plan Supplement with the Clerk of the Bankruptcy Court by [],
 2023. The Plan Supplement will include: (a) the Amended Articles of Organization of the
 Reorganized Debtor (Exhibit A to the Plan), (b) the Amended Operating Agreement of the
 Reorganized Debtor (Exhibit B to the Plan), (c) the Cooperation Agreement (Exhibit E to the Plan),
 (d) a list or description of Governmental Claims (Exhibit F to the Plan), (e) a list or description of


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 Retained Rights of Action (Exhibit G to the Plan), (f) a list of Talc Insurance Policies (Exhibit H
 to the Plan), (g) a list of Talc Insurance Settlement Agreements (Exhibit I to the Plan), (h) the talc
 Personal Injury Trust Agreement (Exhibit J to the Plan), (i) the Talc PI Note (Exhibit K to the
 Plan), (j) the Talc PI Pledge Agreement (Exhibit L to the Plan), (k) the list of Executory Contracts
 and Unexpired Leases to be rejected by the Debtor (Exhibit N to the Plan), and (l) the list of officers
 and manager of the Reorganized Debtor (Exhibit O to the Plan); provided, however, that the Plan
 Document listed in subsection (k) will be revised as needed to take into account any additional
 Executory Contracts and Unexpired Leases to be rejected in accordance with Article V of the Plan.
 The Plan Supplement will be served only on those parties that have requested notice in the Chapter
 11 Case pursuant to Bankruptcy Rule 2002 and any party in interest who requests in writing a copy
 from counsel for the Debtor. Once the Plan Supplement is filed, a copy will be available for review
 on the Claim Agent's website free of charge at https://dm.epiq11.com/case/ltl/dockets.

 2.4     Modification and Amendments

        Mediation and settlement negotiations with various parties are ongoing and will
 continue after the date of this Disclosure Statement. Subject to the limitations contained in
 the Plan, the Debtor reserves the right to modify the Plan as to material terms and seek
 Confirmation consistent with the Bankruptcy Code and, as appropriate, not resolicit votes
 on such modified Plan. Subject to certain restrictions and requirements set forth in
 section 1127 of the Bankruptcy Code and Bankruptcy Rule 3019 and those restrictions on
 modifications set forth in the Plan, the Debtor expressly reserves its rights to alter, amend,
 or modify materially the Plan with respect to the Debtor one or more times including after
 Confirmation, and, to the extent necessary, may initiate proceedings in the Bankruptcy
 Court to so alter, amend, or modify the Plan, or remedy any defect or omission, or reconcile
 any inconsistencies in the Plan, the Disclosure Statement, or the Confirmation Order, in such
 matters as may be necessary to carry out the purposes and intent of the Plan.

        For the avoidance of doubt, such modification(s) may include a settlement pursuant
 to Bankruptcy Rule 9019 to resolve any unresolved controversies, including but not limited
 to those described in this Disclosure Statement. Any such modification or supplement shall
 be considered a modification of the Plan and shall be made in accordance with Article IX of
 the Plan. If the Bankruptcy Court finds, after a hearing on notice to the parties in interest
 in the Chapter 11 Case, that the proposed modification does not materially and adversely
 change the treatment of the Claim or Equity Interest of any holder thereof who has not
 accepted in writing the proposed modification, the Bankruptcy Court may deem the Plan to
 be accepted by all holders of Claims or Equity Interests who have previously accepted the
 Plan. Entry of a Confirmation Order shall mean that all modifications or amendments to
 the Plan occurring after the solicitation thereof are approved pursuant to section 1127(a) of
 the Bankruptcy Code and do not require additional disclosure or resolicitation under
 Bankruptcy Rule 3019.

        For the avoidance of doubt, any and all rights of holders of Claims against the Debtor
 or Equity Interests in the Debtor are expressly reserved under Bankruptcy Rule 3019 and
 any other applicable provisions under the Bankruptcy Rules, Local Rules, or Bankruptcy
 Code.



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                                           ARTICLE III.

                                   GENERAL INFORMATION

        This Article III provides a general overview of the Debtor's corporate history,
 organizational structure, business operations, and assets.

 3.1     The Debtor's Corporate History

         (a)      Prior to the 2021 Corporate Restructuring

        The Debtor traces its roots back to Johnson & Johnson Baby Products Company ("J&J
 Baby Products"), a New Jersey company incorporated in 1970 as a wholly owned subsidiary of
 J&J, a New Jersey company incorporated in 1887.

        J&J first began selling JOHNSON'S® Baby Powder in 1894, launching its baby care line
 of products. In 1972, J&J established a formal operating division for its baby products business,
 which included JOHNSON'S® Baby Powder.

         In 1978, consistent with J&J's policy of decentralizing its business, J&J transferred all its
 assets and liabilities associated with the baby products division to J&J Baby Products. This was
 part of a larger restructuring of J&J that included the transfer of assets and liabilities of seven
 principal operating divisions to wholly owned subsidiaries. To effectuate the transaction, J&J and
 J&J Baby Products entered into an Agreement for Transfer of Assets and Bill of Sale, effective
 January 1, 1979 (the "1979 Agreement"), pursuant to which J&J transferred all assets and liabilities
 associated with the baby products division to J&J Baby Products. As part of the transfer, J&J
 Baby Products agreed to indemnify J&J for all claims relating to the baby products business,
 including the talc powder products. Following the 1979 Agreement, J&J no longer manufactured
 or sold baby products, including JOHNSON'S® Baby Powder. A copy of the 1979 Agreement is
 attached as Annex A to the Declaration of John K. Kim in Support of First Day Pleadings [Dkt. 4]
 (the "First Day Declaration").

         In 1981, J&J Baby Products transferred all its assets, except those assets allocated to its
 diaper programs, to Omni Education Corporation ("Omni"), a wholly owned subsidiary of J&J
 Baby Products. In turn, Omni assumed all liabilities of J&J Baby Products except those liabilities
 related to its diaper program. Immediately following the transaction, J&J Baby Products merged
 into another subsidiary of J&J and was renamed Personal Products Company, and Omni changed
 its name to Johnson & Johnson Baby Products Company.

          In 1988, Johnson & Johnson Baby Products Company transferred all its assets in respect
 of its baby products business to Johnson & Johnson Dental Products Company, which assumed all
 of its liabilities and was renamed Johnson & Johnson Consumer Products, Inc.

         In 1989, Personal Products Company changed its name to McNeil-PPC, Inc.

       In 1997, Johnson & Johnson Consumer Products, Inc. changed its name to Johnson and
 Johnson Consumer Companies, Inc. ("J&J Consumer Companies").



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         In 2015, J&J Consumer Companies merged with and into an affiliate, which then merged
 into McNeil-PPC, Inc. The resulting entity was renamed Johnson & Johnson Consumer Inc.
 (including all former names and historical forms, "Old JJCI").

         Following these intercompany transactions, Old JJCI became responsible for all claims
 alleging that JOHNSON'S® Baby Powder and other talc-containing products cause cancer or other
 diseases. Old JJCI also was obligated to indemnify J&J for all claims relating to the talc products.

        Old JJCI also became responsible for all claims alleging that Shower to Shower products,
 which contained talc, cause cancer or other diseases. Before J&J's decentralization, Shower to
 Shower products were marketed by a division of J&J, the Johnson & Johnson Domestic Operating
 Company division. Consistent with J&J's decentralization efforts and its transition to a holding
 company, effective January 1, 1978, J&J transferred all assets and liabilities related to Shower to
 Shower products to Personal Products Company, a wholly owned subsidiary of J&J, and Personal
 Products Company thereafter assumed operational responsibility for the Shower to Shower
 products. The operational responsibilities, liabilities, and assets related to Shower to Shower
 products were transferred from Personal Products Company to Johnson & Johnson Baby Products
 Company by early 1987.

         In 2012, Old JJCI sold the assets and liabilities relating to certain products, including the
 Shower to Shower products, to Valeant Pharmaceuticals International, Inc. ("Valeant").
 Thereafter, in 2019, Old JJCI and Valeant (now known as Bausch Health Companies Inc.) entered
 into an indemnification agreement. Pursuant to that indemnification agreement, Old JJCI agreed
 to indemnify Valeant for any liability arising from Shower to Shower products and for certain
 other regulatory actions arising out of the manufacture, use, or sale of Shower to Shower products,
 as set forth more fully in the agreement.

          In 1989, J&J sold its talc mining business to Cyprus Mines Corporation by means of the
 sale of stock of Windsor Minerals Inc. ("Windsor"). From 1989 to 2011, Old JJCI entered into
 certain agreements to purchase talc from Windsor and certain other Imerys/Cyprus Parties (the
 "Imerys/Cyprus Agreements"). Certain of the Imerys/Cyprus Agreements included indemnity
 provisions, with some running in favor of the applicable Imerys/Cyprus Parties and others running
 in favor of Old JJCI. Under one of the Imerys/Cyprus Agreements, an Imerys/Cyprus Party agreed
 to indemnify Old JJCI for (i) damages, losses, costs, and expenses arising from (A) talc provided
 by the Imerys/Cyprus Party not meeting specifications provided by Old JJCI or (B) the
 Imerys/Cyprus Party failing to sample or test talc in accordance with the agreement and (ii) all
 liabilities arising out of any violation of law by the Imerys/Cypress Party.

         (b)      The 2021 Corporate Restructuring

        As described above, Old JJCI and its affiliates engaged in multiple restructurings through
 the years. In 2021, Old JJCI implemented a corporate restructuring (the "2021 Corporate
 Restructuring"), which was completed on October 12, 2021. The 2021 Corporate Restructuring
 was effectuated through a series of steps. On October 11, 2021, Old JJCI organized Royalty A&M
 LLC ("Royalty A&M"), a North Carolina limited liability company, contributing to it $367.1
 million, whereupon Royalty A&M became a wholly owned subsidiary of Old JJCI. Subsequently,




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 Royalty A&M used those funds to acquire certain royalty streams from Old JJCI and certain of its
 affiliates. That same day, the following transactions were effected, in sequence:

         •        Old JJCI's then-direct parent, Janssen Pharmaceuticals, Inc., organized Currahee
                  Holding Company Inc. ("Currahee"), a New Jersey corporation, contributing to it
                  all of the issued and outstanding stock of Old JJCI, whereupon Currahee became
                  the direct parent of Old JJCI; and

         •        Currahee organized Chenango Zero LLC, a Texas limited liability company, as its
                  wholly owned subsidiary.

        On October 12, 2021, the remaining transactions in the 2021 Corporate Restructuring
 occurred in the following sequence:

         •        Old JJCI merged with and into Chenango Zero LLC, with Chenango Zero LLC as
                  the surviving entity;

         •        J&J and Currahee, as payors (on a joint and several basis), and Chenango Zero
                  LLC, as payee, entered into a funding agreement;

         •        Old JJCI effected a divisional merger under Chapter 10, Subchapter A of the Texas
                  Business Organizations Code;

         •        Upon the effectiveness of the divisional merger, (i) Old JJCI ceased to exist; (ii) two
                  new Texas limited liability companies—Chenango One LLC and Chenango Two
                  LLC—were created; and (iii) all of the assets and liabilities of Old JJCI were
                  allocated between Chenango One LLC and Chenango Two LLC, with Chenango
                  One LLC being allocated certain of Old JJCI's assets and becoming solely
                  responsible for the talc-related liabilities of Old JJCI and Chenango Two LLC being
                  allocated all other assets of Old JJCI and becoming solely responsible for all other
                  liabilities of Old JJCI;

         •        Immediately following the effectiveness of the divisional merger, (i) Chenango
                  One LLC and Chenango Two LLC entered into certain agreements, including a
                  divisional merger support agreement that, among other things, provides that
                  Chenango One LLC will indemnify and hold harmless Chenango Two LLC and its
                  affiliates for any losses, liabilities, or other damages relating to claims against
                  Chenango Two LLC and its affiliates in respect of the assets and liabilities of
                  Chenango Two LLC, including talc-related liabilities, and (ii) Chenango One LLC
                  entered into certain agreements with other affiliates, including secondment and
                  services agreements;

         •        Following the effectiveness of the divisional merger, (i) Chenango Two LLC
                  merged with and into Currahee, with Currahee as the surviving entity, which then
                  changed its name to Johnson and Johnson Consumer Inc. ("New JJCI"), and
                  (ii) Chenago One LLC converted from a Texas Limited liability company into a




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                  North Carolina limited liability company, the Debtor, and changed its name to LTL
                  Management LLC; and

         •        Finally, the funding agreement, the divisional merger support agreement, and the
                  other intercompany agreements, including the secondment and services
                  agreements, were amended and restated to reflect the names of the parties to those
                  agreements at the conclusion of the 2021 Corporate Restructuring.

        As noted above, pursuant to the divisional merger, the Debtor became solely responsible
 for Old JJCI's liabilities arising from talc-related claims against it (other than claims for which the
 exclusive remedy is provided under a workers' compensation statute or similar laws), and the
 defense of those claims. In addition, pursuant to the divisional merger, the Debtor received the
 following assets:

         •        A bank account and approximately $6 million in cash;

         •        Old JJCI's rights and interests as payee under the funding agreement;

         •        All contracts of Old JJCI related to its talc-related litigation, including settlement
                  agreements, interests in qualified settlement trusts, indemnity rights, service
                  contracts and engagement and retention contracts, if any;

         •        All equity interests in Royalty A&M;

         •        Causes of action that relate to the assets and liabilities allocated to the Debtor;

         •        Privileges that relate to the assets and liabilities allocated to the Debtor; and

         •        Records that relate to the assets and liabilities allocated to the Debtor.

         (c)      Commencement of the 2021 Chapter 11 Case

        Old JJCI implemented the 2021 Corporate Restructuring to facilitate a chapter 11 filing by
 the Debtor that would permit the Debtor to fully resolve current and future talc-related claims
 through a plan of reorganization without subjecting the entire Old JJCI enterprise to a bankruptcy
 proceeding. As noted above and described in more detail below, the Debtor in fact filed for
 chapter 11 relief on October 14, 2021, two days after the completion of the 2021 Corporate
 Restructuring, thereby commencing the 2021 Chapter 11 Case.

         (d)      Transfer by Holdco of its Consumer Business

         Following the 2021 Corporate Restructuring, New JJCI's business operations included the
 manufacture and sale of a broad range of products used in the baby care, beauty, oral care, wound
 care, and women's health care fields, as well as over-the-counter pharmaceutical products
 (collectively, the "Consumer Business"). In December 2022, New JJCI changed its name to
 Johnson & Johnson Holdco (NA) Inc., Holdco, and in early January 2023, Holdco, the Debtor's
 direct parent and an obligor on the Debtor's funding agreement, transferred its Consumer Business
 assets to its parent entity (the "Consumer Business Transfer").


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         (e)      Dismissal of the 2021 Chapter 11 Case and New Financing Arrangements

          A key component of the 2021 Corporate Restructuring described above was the funding
 agreement between the Debtor, as payee, and New JJCI and J&J, as payors (the "2021 Funding
 Agreement"). The primary purpose of the 2021 Funding Agreement was to facilitate the resolution
 of talc-related claims through a chapter 11 filing by the Debtor. The 2021 Funding Agreement
 obligated New JJCI and J&J, on a joint and several basis, to provide funding, up to the full value
 of New JJCI, for, among other things, (i) the administrative costs of the Debtor's chapter 11 case
 and (ii) a trust that would satisfy current and future talc claims, in both situations to the extent that
 any cash distributions received by the Debtor from Royalty A&M were insufficient to pay such
 costs and further, in the case of the funding of a trust, the Debtor's other assets were insufficient to
 provide that funding. In connection with the 2021 Funding Agreement, New JJCI and J&J entered
 into a commitment and loan agreement, dated October 12, 2021 (the "2021 Commitment and Loan
 Agreement"), pursuant to which New JJCI and J&J agreed that (i) New JJCI would be the primary
 obligor under the 2021 Funding Agreement, (ii) upon the request of New JJCI, J&J would make
 revolving credit loans to New JJCI, with the proceeds of the loans to be used by New JJCI solely
 to satisfy its obligations under the 2021 Funding Agreement, and (iii) if New JJCI failed to make
 any payment to the Debtor required by the 2021 Funding Agreement and instead J&J made such
 payment under the 2021 Funding Agreement, New JJCI would reimburse J&J for that payment
 and, if it failed to do so, the amount New JJCI owed would be deemed to be financed with a loan
 from J&J.

         As noted above and described in more detail below, the 2021 Chapter 11 Case was
 dismissed on April 4, 2023 at the direction of the Third Circuit. The Third Circuit found that the
 Debtor was not in financial distress as a result of its rights under the 2021 Funding Agreement.
 That determination had the effect of defeating the fundamental purpose of that agreement, which
 purpose was to facilitate the Debtor's goal of resolving all current and future talc claims pursuant
 to section 524(g) of the Bankruptcy Code. The Third Circuit determined that it had the exact
 opposite effect, i.e., that it required dismissal of the 2021 Chapter 11 Case. As a result, the Debtor
 believed there was a material risk that the 2021 Funding Agreement was no longer enforceable
 because it had become void or voidable. To eliminate that risk and secure funding terms consistent
 with the terms set forth in the Plan Support Agreements described below, on April 4, 2023, prior
 to the Debtor filing the Chapter 11 Case, the Debtor, J&J, and Holdco entered into new financing
 arrangements.

         The Debtor, J&J, and Holdco effectuated these new financing arrangements by entering
 into three new agreements. The Debtor, J&J and Holdco entered into a termination and
 substitution agreement (the "T&S Agreement") by which the 2021 Funding Agreement and the
 2021 Commitment and Loan Agreement were terminated and the parties, in substitution therefor,
 agreed to enter into two new agreements. Simultaneously with their entry into the T&S
 Agreement, the Debtor, J&J, and Holdco then entered into these two new agreements: (i) Holdco
 and the Debtor entered into a new funding agreement (the "2023 Funding Agreement") and (ii) the
 Debtor, Holdco, and J&J entered into a separate support agreement (the "J&J Support
 Agreement").

         The 2023 Funding Agreement is similar to the 2021 Funding Agreement, except that J&J
 is not a payor thereunder. It imposes no repayment obligation on the Debtor and is not a loan. It


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 obligates Holdco to provide funding to the Debtor to pay for costs and expenses of the Debtor
 incurred in the normal course of its business (i) at any time when there is no bankruptcy case and
 (ii) during the pendency of any chapter 11 case filed by the Debtor, including the costs of
 administering the chapter 11 case, in both situations to the extent that any cash distributions
 received by the Debtor from Royalty A&M are insufficient to pay those costs and expenses. In
 addition, the 2023 Funding Agreement requires Holdco to fund amounts necessary (i) to satisfy
 the Debtor's talc-related liabilities at any time when there is no bankruptcy case and (ii) in the
 event of a chapter 11 filing by the Debtor, to provide the funding for a trust created pursuant to a
 plan of reorganization for the Debtor that contains the terms agreed to in the Plan Support
 Agreements, as such terms may be amended or supplemented with the consent of the parties, in
 both situations to the extent that any cash distributions received by the Debtor from Royalty A&M
 are insufficient to pay such costs and expenses and further, in the case of the funding of a trust, the
 Debtor's other assets are insufficient to provide that funding.

         The J&J Support Agreement, which the Debtor intends to seek approval of from the
 Bankruptcy Court, is operative only in the Chapter 11 Case. It obligates J&J to provide the trust
 funding Holdco is required to provide under the 2023 Funding Agreement under a supported plan,
 but only if Holdco fails to provide the funding. In return, Holdco is obligated to reimburse J&J
 for any amounts it pays to the trust on Holdco's behalf, and any amounts that are not reimbursed
 by Holdco will be deemed to be financed with a loan from J&J to Holdco. The Debtor is obligated
 to use commercially reasonable efforts to cause a plan of reorganization containing the terms
 reflected in the Plan Support Agreements to become effective as soon as reasonably practicable.
 The Debtor has the right to enforce J&J's obligation under the J&J Support Agreement.

         A copy of the T&S Agreement is attached as Annex D to the First Day Declaration, a copy
 of the 2023 Funding Agreement (without its Schedule 2 that includes confidential bank account
 information) is attached as Annex E to the First Day Declaration, and a copy of the J&J Support
 Agreement is attached as Annex F to the First Day Declaration.

 3.2     The Debtor's Organizational Structure and Business Operations

        Holdco is the direct parent of the Debtor, and the Debtor is the direct parent of Royalty
 A&M. A chart depicting the Debtor's corporate structure is attached as Annex B to the First Day
 Declaration.

         As of the Petition Date, Holdco is a holding company with ownership interests in various
 subsidiaries. The most substantial of Holdco's ownership interests are held through its wholly
 owned subsidiary Apsis SAS (France) ("Apsis"). Apsis owns (through its wholly owned
 subsidiary Johnson & Johnson Holding GmbH (Germany)) a 36.1% ownership interest in GH
 Biotech Holdings Limited (Ireland) ("GH Biotech"). GH Biotech holds ownership interests, either
 directly or through wholly owned subsidiaries, in four entities, Janssen Sciences Ireland Unlimited
 Company, Janssen Irish Finance Unlimited Company, C Consumer Products Denmark ApS, and
 Impulse Dynamics (71% interest). Apsis also owns, either directly or indirectly, interests in
 various limited risk distributors (which distribute J&J products in foreign countries), a German-
 based subsidiary that manufactures 3D-printed titanium interbody implants for spinal fusion
 surgery, and various other subsidiaries.




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        The Debtor was formed to manage and defend thousands of talc-related claims and to
 oversee the operations of its subsidiary, Royalty A&M.

        Royalty A&M owns a portfolio of royalty revenue streams, including royalty revenue
 streams based on third-party sales of CLOROX®, ECOLAB®, ESSITY®, LACTAID®,
 MYLANTA® / MYLICON®, ROGAINE®, SPARTAN®, and TENA® products. It reviews
 royalty monetization opportunities in the healthcare industry and seeks to grow its business by
 reinvesting the income from existing royalty revenue streams into both the acquisition of additional
 external royalty revenue streams as well as financings to third parties secured by similar royalty
 streams.

         The Debtor's ultimate parent company, J&J, is a holding company that, through its
 operating subsidiaries, conducts business in virtually all countries in the world, focused primarily
 on products related to human health and well-being. J&J is a global innovator and leader in public
 health and has been at the forefront of healthcare innovation for over 130 years. That innovation
 includes novel oncology, immunology, and vaccine products, including its COVID-19 vaccine that
 it developed and supplied at non-profit pricing.

 3.3     The Debtor's Assets

        The Debtor's assets consist primarily of cash, equity interests of Royalty A&M, the 2023
 Funding Agreement, the J&J Support Agreement, and insurance assets. Each of these asset
 categories is described below.

         (a)      Cash

        As of the date of this Disclosure Statement, the Debtor has approximately $[] in cash,
 which is maintained in a Bank of America bank account.

         (b)      Equity Interests of Royalty A&M

         The Debtor holds the equity of Royalty A&M. At the time of the filing of the 2021
 Chapter 11 Case, the Debtor projected that Royalty A&M would generate approximately $50
 million in revenue per year over the next five years and estimated the fair market value of its
 interest in Royalty A&M to be approximately $367.1 million.

        Royalty A&M has not paid, and does not currently intend to pay, cash distributions to the
 Debtor.

         (c)      The 2023 Funding Agreement and J&J Support Agreement

          The Debtor is not party to any secured financing arrangements or any third party credit
 facilities. Instead, as described above, the Debtor is party to the 2023 Funding Agreement with
 Holdco and the J&J Support Agreement with J&J and Holdco.




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         (d)      The Debtor's Insurance Coverage

         The Debtor has access to certain primary and excess liability insurance policies that cover,
 among other things, defense and/or indemnity costs related to talc bodily injury claims, subject to
 the terms of the policies. In total, the limits of solvent primary and excess insurance policies issued
 to J&J by third-party insurers that potentially cover talc-related liabilities are in excess of $1.95
 billion. These policies that cover the Debtor were issued to J&J as the "Named Insured." Those
 policies cover the period when Old JJCI was operated as a business unit of J&J, as well as the
 period when Old JJCI was a subsidiary of J&J.

          As of the date of this Disclosure Statement, the Debtor has identified various insurance
 assets, including:

         •        Primary general liability policies: Aetna Casualty and Surety Company
                  ("Travelers"), now part of Travelers Insurance Company, issued primary general
                  liability policies to J&J (which policies cover the Debtor) for the period 1957 to
                  1980 (the "Travelers Policies"). The combined limits of the Travelers Policies (not
                  accounting for deductibles or erosion/exhaustion of limits) total more than $214
                  million per occurrence and $293 million in the aggregate. The deductibles increase
                  over time, starting at a minimal level and increasing to $5 million per occurrence
                  by 1977. The limits of the Travelers Policies before 1973 are not eroded by defense
                  costs; under later policies, defense costs erode limits. From 1981 to 1985,
                  American Motorists Insurance Company ("AMICO") issued primary coverage that
                  covers the Debtor (the "AMICO Policies"). AMICO is insolvent, having been
                  placed into liquidation in 2013. The Debtor currently believes that the applicable
                  limits of the AMICO Polices were exhausted by payments made by AMICO on
                  claims while it was still solvent.

         •        Excess liability coverage: from 1957 to 1985, Travelers also provided excess
                  liability coverage to J&J that covers the Debtor. The combined aggregate limits of
                  those policies total approximately $563 million. From 1973 to 1985, a variety of
                  other insurers issued excess policies that cover the Debtor. Those insurers include
                  subsidiaries or affiliates of the following companies: American International
                  Group, Allstate Insurance Company, The Hartford, Home Insurance Company,
                  Nationwide Indemnity Company, and North River Insurance Company. The
                  combined limits of those excess policies total more than $1.09 billion in the
                  aggregate. Certain of the insurers that issued these excess policies are insolvent
                  (including, in particular, Home Insurance Company).

         •        Middlesex Insurance Company ("Middlesex"): From 1973 through 1985,
                  Middlesex, a captive insurance company that is a wholly-owned subsidiary of J&J,
                  issued policies that cover J&J and the Debtor. Those policies insured J&J and Old
                  JJCI for large deductibles under the Travelers Policies and the AMICO Policies.
                  From 1977 to 1985, Middlesex also issued excess insurance policies that cover J&J
                  and Old JJCI. After 1985, Middlesex issued liability coverage to J&J and the
                  Debtor. There is a dispute between J&J, the Debtor, and Middlesex, on the one
                  hand, and the third-party insurers (i.e., insurers other than the Middlesex captive),


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                  on the other hand, regarding the applicability and extent of coverage the Middlesex
                  policies provide, as well as the potentially applicable Middlesex coverage limits,
                  including in particular with respect to post-1985 Middlesex policies.

         Prior to the 2021 Chapter 11 Case, J&J and Old JJCI tendered talc-related claims to these
 third-party insurers. To date, none of those insurers has acknowledged its coverage obligations,
 defended Old JJCI or J&J, paid its costs of defense, or indemnified J&J or Old JJCI for settlements
 or judgments. Instead, the third-party insurers have asserted coverage defenses.

         In May 2019, certain of the Debtor's third party insurers filed a lawsuit against Old JJCI
 and J&J, along with Middlesex, in the Superior Court of Middlesex County (Docket No. MID-L-
 003563-19) (the "NJ Coverage Action"), seeking a declaratory judgment regarding the parties'
 respective obligations under the plaintiff insurers' policies including, in particular, the plaintiff
 insurers' duties to pay defense and indemnity costs to, among other things, Old JJCI. The insurer
 plaintiffs filed a Second Amended Complaint on June 22, 2020, which is currently the operative
 complaint. J&J, Old JJCI, and Middlesex filed answers to the Second Amended Complaint on
 July 31, 2020, and asserted counterclaims, as well as cross-claims against certain defendants.
 Travelers and certain other insurers filed cross-claims against J&J, Old JJCI, and Middlesex, to
 which J&J, Old JJCI, and Middlesex responded later in 2020.

        In the 2021 Chapter 11 Case, certain insurers filed motions to lift the automatic stay to
 permit the NJ Coverage Action to proceed. The Bankruptcy Court denied those motions but
 permitted certain third-party discovery to occur. The NJ Coverage Action remains pending.

         (e)      Imerys/Cyprus Related Rights

         The Debtor has certain talc-related indemnity rights under the Imerys/Cyprus Agreements.

                                            ARTICLE IV.

          EVENTS LEADING TO THE FILING OF THE 2021 CHAPTER 11 CASE

 4.1     Cosmetic Talc Litigation and Related Costs and Burdens

         (a)      Overview

         Both the 2021 Chapter 11 Case and the Chapter 11 Case were precipitated by the filing of
 thousands of cosmetic talc lawsuits against Old JJCI and J&J. The Debtor believes, for the reasons
 indicated below, that these claims have no valid scientific basis, as Old JJCI's talc products never
 contained asbestos and the safety of cosmetic-grade talc has been confirmed by dozens of
 peer-reviewed studies and multiple regulatory and scientific bodies for decades. Nevertheless, the
 number of claims has continued to increase, and the Debtor anticipates that, absent a chapter 11
 resolution, the litigation and its associated burdens will continue for decades more.

          Cosmetic talc litigation against the Debtor, Old JJCI, and J&J focused primarily on
 JOHNSON'S® Baby Powder, with plaintiffs historically asserting two types of claims: (i) claims
 alleging ovarian cancer arising as a result of talc exposure, i.e., ovarian cancer claims, and
 (ii) claims alleging respiratory cancers or other asbestos-related diseases arising as a result of talc


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 exposure, i.e., mesothelioma claims. As of the filing of the 2021 Chapter 11 Case on October 14,
 2021, there were approximately 40,000 pending lawsuits asserting ovarian cancer claims and
 approximately 470 pending lawsuits asserting mesothelioma claims against the Debtor. As of
 April 4, 2023, the petition date for this Chapter 11 Case (the "Petition Date"), based on information
 available to the Debtor, the number of claims against the Debtor had increased substantially.

         (b)      Decades of Studies and Testing

         Questions regarding whether JOHNSON'S® Baby Powder contained asbestos and whether
 use of cosmetic talcum powder could cause ovarian cancer were raised as early as the 1970s and
 1980s, respectively. Such allegations have been investigated by the Food & Drug Administration
 (the "FDA"), among others, and found to be unsupported by fact or science.

         Over the past four decades, at least 34 case-control studies looking at a potential association
 between perineal talc use and ovarian cancer have been published. While the case-control studies
 are inconsistent as to the finding of a statistically significant positive association, not one of the
 authors of the case-control studies that reported an "association" took the position that its findings
 establish causation.

         To date, the FDA has not concluded, based on its review of the scientific literature, that
 there is a causal relationship between talc and ovarian cancer, and has not recommended that
 consumers generally avoid talcum powder products. Other public health authorities that have
 evaluated the scientific literature relating to talc also have not concluded that the existing evidence
 demonstrates that perineal exposure to talc causes ovarian cancer.

         In addition, there has been decades of testing by J&J and Old JJCI to establish product
 safety. The approach to such testing has been state of the art, exceeding regulatory and industry
 standards. The talc testing program begins with selective mining – carefully chosen and vetted
 sources for talc – and continues with layers of quality assurance testing at every point in the
 manufacturing and production chain, up to the moment of bottling. The program relies on industry
 experts to ensure testing protocols are implemented at each stage of the process with a high level
 of precision and integrity. Because of this, sourcing and testing exceed industry standards, and
 dozens of government institutions, independent laboratories, and major universities that studied
 and tested J&J's/Old JJCI's talc for decades time and again have declared it free from asbestos.

         Additional information regarding the studies and testing that show J&J's and Old JJCI's
 talcum powder products are safe can be found in the Informational Brief of LTL Management LLC
 [Dkt. 3 in Case No. 21-30589] (the "2021 Informational Brief").

         (c)      Cosmetic Talc Litigation

        Prior to 2010, only a small number of isolated cases involving cosmetic talc had been filed
 against Old JJCI and J&J. These cases alleged a range of claims, including talcosis due to
 substantial misuse of JOHNSON'S® Baby Powder, mesothelioma, dermatitis, and rashes.

         The number of claims began to increase significantly after the Berg (2013) and Fox (2016)
 trials. Berg v. J&J, filed in December 2009, was the first case alleging ovarian cancer as a result
 of genital exposure to Old JJCI's cosmetic talc-based products. The jury found for the plaintiff,


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 but awarded no damages. By the end of 2015, there were over 1,300 ovarian cancer lawsuits filed
 against Old JJCI and J&J.

         In February 2016, the first St. Louis, Missouri ovarian cancer case, Fox, went to trial. The
 jury awarded the plaintiff $72 million dollars. While ultimately overturned on appeal, the verdict
 sparked interest on the part of plaintiff lawyers. Five more cases were tried in that venue over the
 next year and a half, resulting in plaintiff verdicts totaling more than $235 million dollars (in
 addition to a defense verdict and a mistrial). All of those verdicts subsequently were reversed on
 appeal.

         New filings alleging that JOHNSON'S® Baby Powder caused mesothelioma also
 dramatically increased. At the time of the Fox trial, there were only six mesothelioma cases
 naming Old JJCI or J&J as a defendant and alleging JOHNSON'S® Baby Powder as a cause of the
 plaintiff's disease. Within two months of the Fox trial, that number had increased to 23
 mesothelioma cases. By the beginning of 2017, more than 100 mesothelioma cases had been filed
 naming Old JJCI or J&J as a defendant. The number of mesothelioma cases steadily grew in the
 years that followed.

         (d)      Costs and Burdens of Cosmetic Talc Litigation

        Although JOHNSON'S® Baby Powder has been safely used by hundreds of millions of
 people worldwide for over 125 years, on May 19, 2020, Old JJCI announced it would permanently
 discontinue its line of talc-based JOHNSON'S® Baby Powder in the U.S. and Canada. The
 decision was based on business considerations, including lack of sales due, to Old JJCI's belief, to
 misinformation about the safety of Old JJCI's talc-based JOHNSON'S® Baby Powder.

         Prior to the filing of the 2021 Chapter 11 Case, roughly 1,300 ovarian cancer and over 250
 mesothelioma cases were dismissed without payment, and Old JJCI achieved 16 key defense
 verdicts, including in four trials in 2021 alone. Old JJCI also succeeded in obtaining reversals of
 many plaintiff verdicts on appeal. Despite these results, Old JJCI was also subject to a number of
 plaintiff verdicts involving unpredictable and wildly divergent compensatory and punitive
 damages awards.

          Notably, all of the ovarian cancer plaintiff verdicts to date have been reversed on appeal
 with the exception of Ingham. Although the verdict in Ingham was reversed in part and reduced,
 the total damages award was still $2.243 billion. The St. Louis, Missouri trial court had permitted
 the consolidation of 22 ovarian cancer plaintiffs, 17 of whom were non-residents, for a single trial.
 The jury found defendants Old JJCI and J&J liable for every claim. The jury awarded
 compensatory damages in the aggregate amount of $550 million and punitive damages in the
 aggregate amount $4.1 billion. On appeal, the punitive damages award was later reduced to $1.6
 billion.

         Prior to the commencement of the 2021 Chapter 11 Case, Old JJCI incurred nearly $1
 billion in defending personal injury lawsuits relating to alleged talc exposure, nearly all of which
 was spent in only the last five years prior to the 2021 Chapter 11 Case. In the months prior to the
 filing of the 2021 Chapter 11 Case, Old JJCI was paying anywhere from $10 million to $20 million




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 in defense costs on a monthly basis. In addition to these costs, Old JJCI paid approximately $3.5
 billion in indemnity costs in connection with settlements and verdicts.

        Cosmetic talc litigation against the Debtor was anticipated to continue for decades more
 and grow, as were the extraordinary costs of defending and resolving tens of thousands of expected
 claims. Beyond the sudden influx of ovarian cancer claims, plaintiffs were also filing
 mesothelioma claims, alleging in the case of mesothelioma claims that Old JJCI's cosmetic talc
 products contained asbestos, which the Debtor disputes. Plaintiff experts estimate that the latency
 period for mesothelioma can be as long as 60 years and have begun to allege extended latency
 periods for ovarian cancer allegedly caused by asbestos exposure. As a result, even though Old
 JJCI stopped selling its talc-based JOHNSON'S® Baby Powder in North America in 2020,
 individuals who develop mesothelioma in 2080 and beyond could sue the Debtor, potentially
 drawing out the litigation to the end of this century.

         At the time of the filing of the 2021 Chapter 11 Case on October 14, 2021, there were
 approximately 40,000 ovarian cancer cases pending against the Debtor, including approximately
 36,000 cases pending in the MDL Proceeding and more than 3,800 cases in multiple state court
 jurisdictions across the country. As of the filing of the 2021 Chapter 11 Case, Old JJCI had been
 served with over 12,300 ovarian cancer complaints in just the first ten and a half months of 2021.

        In addition to the ovarian claims, more than 470 mesothelioma cases were pending against
 the Debtor as of the filing of the 2021 Chapter 11 Case. These claims, like the ovarian cancer
 claims, spanned the U.S. with cases pending in New Jersey, California, Illinois, Missouri, New
 York, and Ohio.

       As of April 4, 2023, the Petition Date, based on information available to the Debtor, the
 number of claims against the Debtor had increased substantially.

         Additional information regarding the cosmetic talc litigation and related costs and burdens
 can be found in the 2021 Informational Brief.

 4.2     The MDL Proceeding

         On October 4, 2016, the U.S. Judicial Panel on Multidistrict Litigation (the "MDL Panel")
 ordered that pending and future personal injury or wrongful death actions in federal courts alleging
 that plaintiffs or their decedents developed ovarian cancer from the use of JOHNSON'S® Baby
 Powder and Shower to Shower body powder be transferred and centralized in the U.S. District
 Court for the District of New Jersey, Trenton Division (the "MDL Proceeding"). In addition to
 individual actions pending in federal district courts around the country, two consumer class actions
 alleging that JOHNSON'S® Baby Powder and Shower to Shower body powder products were
 marketed for use without disclosure of talc's alleged carcinogenic properties were included in the
 MDL Proceeding.

        The MDL Panel assigned U.S. District Judge Freda Wolfson as presiding judge for the
 MDL Proceeding. Judge Wolfson designated U.S. Magistrate Judge Lois Goodman to assist her
 in the MDL Proceeding. The cases were consolidated to (a) reduce or eliminate duplicative
 discovery, (b) prevent inconsistent pretrial rulings on discovery and privilege issues, (c) prevent
 inconsistent rulings on Daubert motion practice, and (d) conserve the resources of the parties, their


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 counsel, and the federal judiciary in these actions. Additionally, there are common factual issues
 in these cases related to the alleged risk of cancer posed by talc and talc-based body powders,
 whether the defendants knew or should have known of this alleged risk, and whether defendants
 provided adequate instructions and warnings with respect to these products. As of the filing of the
 2021 Chapter 11 Case, approximately 36,000 actions were pending in the MDL Proceeding.

         After creation of the MDL Proceeding and its assignment to Judge Wolfson, she ordered a
 hearing at which all parties could present their summary views of the medical and scientific issues
 related to the MDL Proceeding, as well as evidence as to whether talc-based body powder products
 could cause or contribute to ovarian cancer. That hearing was held on January 26, 2017. Judge
 Wolfson subsequently ordered full briefing by the parties on the threshold Daubert issue of
 whether reliable and sufficient scientific and medical evidence exists on the issue of causation.
 Judge Wolfson set an evidentiary hearing on that issue that ran from July 22 to July 31, 2019, with
 plaintiffs presenting five witnesses and J&J presenting three witnesses. At the conclusion of the
 hearing, the Judge requested final Daubert briefing from all parties which was submitted on
 October 7, 2019. On April 27, 2020, Judge Wolfson rendered her Daubert decision on the opinions
 offered by these witnesses, granting in part and denying in part J&J's motion to exclude opinions
 of plaintiffs' five witnesses and denying plaintiffs' motion to exclude the opinions of J&J's three
 experts. See In re Johnson & Johnson Talcum Powder Products Mktg., Sales Practices and
 Products Litig., MDL No. 2738, Civil Action No. 16-2638 (FLW) (D.N.J. April 27, 2020).

        Following Judge Wolfson's retirement in January 2023, on January 31, 2023, the MDL
 Proceeding was reassigned to Judge Michael Shipp.

 4.3     The Canadian Actions

         As of the filing of the 2021 Chapter 11 Case, in addition to the thousands of talc claims
 pending in the United States, Old JJCI, J&J, Johnson & Johnson Inc. ("J&J Canada"), a federal
 corporation incorporated under the laws of Canada, and Bausch were named defendants in one
 certified class action, three proposed class actions, and one individual action in four Canadian
 provinces (Alberta, British Columbia, Ontario and Quebec). The certified class action and the
 proposed class actions commenced in Alberta, British Columbia, Ontario, and Quebec are brought
 on behalf of classes (or proposed classes) of Canadian individuals who allege injury or damages
 arising from the use or purchase of talc-containing products manufactured, marketed, and/or sold
 by Old JJCI, J&J, J&J Canada, or Bausch. The individual action was commenced in British
 Columbia by an individual who likewise alleges injury arising from the use of talc-containing
 products manufactured or sold by Old JJCI, J&J, or J&J Canada.

         Although subject to a stay of proceedings arising from the recognition of the 2021
 Chapter 11 Case in Canada, in December 2021, 12 additional Ontario-based Canadian claims were
 served in March 2022 and 26 additional British Columbia-based claims were filed in January and
 February 2023.

 4.4     The AG State Actions

        In the last several years, upon the request of certain state attorneys general, J&J, Old JJCI,
 or certain affiliates thereof provided information about the corporate family's sale of



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 talc-containing products, specifically JOHNSON'S® Baby Powder and Shower to Shower, to
 certain States. Prior to the filing of the 2021 Chapter 11 Case, two States, Mississippi and New
 Mexico, filed suit against J&J, Old JJCI, and certain other parties alleging that Old JJCI and J&J
 are liable for claims in connection with the sale, promotion, and marketing of talc-containing
 products, including making misrepresentations about the safety of the talc products sold by Old
 JJCI.

          The Mississippi suit, captioned State of Mississippi ex rel. Hood v. Johnson & Johnson, et
 al., No. 25CH1:14-cv-001207, pending in the Chancery Court of the First Judicial District of Hinds
 County, Mississippi, was initially filed on August 22, 2014, and alleges that J&J, Old JJCI, and
 certain other defendants violated the Mississippi Consumer Protection Act, Section 75-45-5, by
 failing to disclose alleged health risks associated with female consumers' use of talc contained in
 talc products. The Mississippi suit seeks damages, punitive damages, disgorgement, civil
 penalties, costs for prosecuting the action, and injunctive relief.

         The New Mexico suit, captioned State of New Mexico ex rel. Balderas v. Johnson &
 Johnson, et al., No. D-101-CV-2020-00013, pending in the First Judicial District Court for the
 County of Santa Fe, New Mexico, was initially filed on January 2, 2020, and alleges that J&J, Old
 JJCI, and certain other affiliated defendants are liable for (a) violation of the New Mexico Unfair
 Practices Act, NMSA 1978, Section 57-12-21; (b) violation of the New Mexico False Advertising
 Act, NMSA 1978, Section 57-15-1; (c) fraud and negligent misrepresentation; (d) negligence;
 (e) unjust enrichment; and (f) punitive damages. The claims in the New Mexico suit are based
 ultimately on the disputed allegation that talc products manufactured and/or distributed by the
 Debtor's predecessors or J&J were contaminated with asbestos or otherwise harmful. The New
 Mexico suit seeks damages, punitive damages, restitution, civil penalties, costs for prosecuting the
 action, and injunctive relief.

         Prior to the filing of the 2021 Chapter 11 Case, the attorneys general of other States had
 also initiated investigations in their respective States against Old JJCI and J&J related to the
 marketing, promotion, and sale of the talc products, all based on allegations of unfair business
 practices and consumer protection violations similar to those at issue in the Mississippi and New
 Mexico actions. Specifically, the attorneys general for the states of Arizona, North Carolina,
 Texas, and Washington issued civil investigative demands, and the Maryland attorney general
 issued an Administrative Subpoena for Consumer Protection.

 4.5     The Securities Action

         On February 8, 2018, a securities action was filed in the United States District Court for
 the District of New Jersey against certain non-debtor individuals and affiliates of the Debtor (the
 "Securities Action"). The central issue in the Securities Action is whether the defendants knew of,
 concealed, and made false or misleading statements regarding the allegation that Old JJCI's talc
 products contained asbestos or caused cancer. The defendants in the Securities Action maintain
 (as does the Debtor) that the talc products were safe and free from asbestos. Although the Debtor
 is not a defendant, there is substantial overlap between the claims in the Securities Action and the
 talc-related claims against the Debtor.




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 4.6     Insurance Coverage and Related Litigation

          The Debtor believes it has insurance coverage for talc-related liability. In particular, as
 described more fully above, the Debtor has access to certain primary and excess liability insurance
 policies that cover, among other things, defense and/or indemnity costs related to talc bodily injury
 claims, subject to the terms of the policies. In total, the limits of solvent primary and excess
 insurance policies issued by third-party insurers that potentially cover the Debtor's talc-related
 liabilities are in excess of $1.95 billion. The policies that cover the Debtor were issued to J&J as
 the named insured. The policies cover the period when Old JJCI was operated as a business unit
 of J&J, as well as the period when Old JJCI was a subsidiary of J&J.

         Prior to the 2021 Chapter 11 Case, J&J and Old JJCI tendered claims to the third-party
 insurers. To date, none of those insurers has acknowledged its coverage obligations, defended J&J
 or Old JJCI, paid any costs of defense, or indemnified J&J or Old JJCI for settlements or
 judgments. Instead, the third-party insurers have asserted coverage defenses. As more fully
 described above, since May 2019, this insurance coverage has been the subject of litigation.

 4.7     Retailers and Third Party Indemnities

         Old JJCI had relationships with various retailers who sold Old JJCI's talc-containing
 products (the "Retailers"). Old JJCI agreed to indemnify the Retailers for claims related to the sale
 of Old JJCI's talc-containing products, and these contractual indemnities were allocated to the
 Debtor in the 2021 Corporate Restructuring. In addition, to the extent a Retailer is held liable for
 a claim arising out of the products manufactured and/or sold by Old JJCI, and not by independent
 actions of the Retailers, certain state laws could require the Debtor to indemnify the Retailers for
 these liabilities.

          Old JJCI would periodically accept from Retailers tenders of talc-related claims related to
 the sale of its products. When a Retailer was sued on a claim related to Old JJCI's talc-containing
 products, the Retailer would notify Old JJCI by submitting a tender request. Old JJCI would then
 determine whether to accept the Retailer's tender of its defense and indemnify the Retailer pursuant
 to a tender agreement (each, a "Tender Agreement"). Since the commencement of the talc-related
 litigation, Old JJCI has indemnified and agreed to assume the defense of nearly 790 talc-related
 claims against the Retailers pursuant to Tender Agreements.

          Old JJCI also agreed to indemnify certain other transaction counterparties for liability
 arising from talc-containing products sold by Old JJCI. For example, in 2005, Old JJCI entered
 into an asset purchase agreement with Pharma Tech Industries, Inc. ("PTI" and subsequently PTI
 Royston, LLC) pursuant to which Old JJCI sold a manufacturing plant (where various products,
 including certain talc-containing products were bottled) to PTI, which continued to operate the
 facility and manufacture certain talc products until early 2020. In connection with the asset sale,
 Old JJCI and PTI entered into a manufacturing and supply agreement, which was subsequently
 amended and restated. Under the manufacturing and supply agreement, Old JJCI agreed to
 indemnify, and has indemnified, PTI and its affiliates for certain claims related to talc products.
 Further, pursuant to an indemnification agreement, Old JJCI agreed to indemnify Valeant (now
 Bausch) and its affiliates (including Bausch Health Americas, Inc. f/k/a Valeant Pharmaceuticals
 International and Bausch Health US, LLC f/k/a Valeant Pharmaceuticals North America LLC f/k/a



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 Valeant Pharmaceuticals North America) for personal injury and products liability actions arising
 from alleged exposure to Shower to Shower products and for certain other regulatory actions
 arising out of the manufacture, use, or sale of Shower to Shower products, as set forth more fully
 in the agreement. The claims against PTI and Valeant (now Bausch) are generally identical to the
 claims asserted against Old JJCI.

 4.8     Chapter 11 Filings by Talc Suppliers

          In February 2019, Old JJCI's talc supplier, Imerys Talc America, Inc. and two of its
 affiliates, Imerys Talc Vermont, Inc. and Imerys Talc Canada, Inc. (collectively, "Imerys") filed
 voluntary petitions under chapter 11 of the Bankruptcy Code in the United States Bankruptcy
 Court for the District of Delaware (the "Imerys Bankruptcy"). Imerys has potential liability for
 personal injury claims arising from exposure to talc it sold to customers, including Old JJCI. In
 its bankruptcy case, Imerys has contended that it has claims against Old JJCI and J&J for
 indemnification and joint insurance proceeds, claims alleged to be in the billions of dollars. Old
 JJCI and J&J had settlement discussions with Imerys and other parties to permanently resolve talc
 claims against them. Those discussions ended in May 2021 with no resolution.

         In July 2021, Imerys Talc America, Inc. and Imerys Talc Vermont, Inc. filed an adversary
 proceeding against Old JJCI and J&J in the Imerys Bankruptcy seeking declaratory judgments
 with respect to certain indemnity agreements with Imerys. The Debtor and J&J thereafter filed a
 motion to dismiss the adversary proceeding. In October 2021, the Debtor filed a notice of
 bankruptcy filing and stay of proceedings clarifying that the automatic stay arising upon the filing
 of the 2021 Chapter 11 Case applied to this adversary proceeding. No further activity has taken
 place in this adversary proceeding since the filing of the 2021 Chapter 11 Case.

        In May 2020, Imerys, its parent Imerys S.A., the tort claimants' committee and the future
 claimants' representative (collectively, the "Imerys Plan Proponents") filed a plan of reorganization
 and a related disclosure statement. The Imerys Plan Proponents subsequently filed numerous
 amendments to the plan and disclosure statement. A hearing on the Imerys Plan Proponent's
 disclosure statement was held in January 2021, and the court entered an order approving the
 disclosure statement, permitting Imerys to proceed with soliciting votes on the plan.

         In March 2021, Old JJCI and J&J voted to reject the plan and opted out of the consensual
 releases in the plan. In April 2021, the Imerys Plan Proponents announced that the plan had
 received the requisite number of accepting votes to confirm the plan. Old JJCI and J&J challenged
 certain portions of the vote based on certain improprieties and sought to disqualify those votes. In
 October 2021, the Imerys bankruptcy court issued a ruling deeming thousands of votes withdrawn.
 In October 2021, Imerys cancelled the confirmation hearing on the plan. The Imerys bankruptcy
 remains pending.

         Cyprus Mines Corporation and its parent company (together, "Cyprus"), which had owned
 certain Imerys talc mines, filed in the Imerys Bankruptcy an adversary proceeding against Old
 JJCI, J&J, Imerys Talc America, Inc., and Imerys Talc Vermont, Inc. seeking a declaration of
 indemnity under certain contractual agreements. Old JJCI and J&J denied that any indemnification
 was owed, and filed a motion to dismiss the adversary complaints. In February 2021, Cyprus
 Mines Corporation filed its own voluntary petition for relief under chapter 11 of the Bankruptcy



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 Code in the United States Bankruptcy Court for the District of Delaware and filed a disclosure
 statement and plan of reorganization. The Cyprus plan contemplates a settlement with Imerys and
 talc claimants where Cyprus would make a monetary contribution to a trust established under the
 Imerys plan in exchange for an injunction against talc claims asserted against it and certain
 protected parties. Cyprus has not yet sought approval of its disclosure statement and plan. In
 October 2021, the Debtor filed a notice of bankruptcy filing and stay of proceedings clarifying that
 the automatic stay arising upon the filing of the 2021 Chapter 11 Case applied to the Cyprus
 adversary proceeding. The Cyprus chapter 11 case remains pending and no further activity has
 taken place in the Cyprus adversary proceeding since the filing of the 2021 Chapter 11 Case.

 4.9     The Decision to File the 2021 Chapter 11 Case

          After consideration of the cost, burden, uncertainty, and anticipated duration of the
 cosmetic talc litigation, the Debtor determined that the filing of the 2021 Chapter 11 Case was
 prudent and necessary. The Debtor further concluded that chapter 11 was the only alternative for
 equitably and permanently resolving all current and future talc-related claims against it. As
 described above, Old JJCI had been the subject of a virtual tidal wave of claims during the prior
 five years and the significant number of claims that were being filed against it were anticipated to
 continue unabated, if not increase, for decades more. In addition, the lottery-like results of the
 litigation created substantial uncertainty and were inhibiting Old JJCI's ability to fully focus on its
 business operations.

                                            ARTICLE V.

                       EVENTS DURING THE 2021 CHAPTER 11 CASE

         The following is a general description of the major events that occurred during the course
 of the 2021 Chapter 11 Case.

 5.1     Commencement of the 2021 Chapter 11 Case in North Carolina

        On October 14, 2021, the Debtor commenced the 2021 Chapter 11 Case by filing a
 voluntary petition for relief under chapter 11 of the Bankruptcy Code in the bankruptcy court for
 the Western District of North Carolina (the "NC Bankruptcy Court").

 5.2     Qualified Settlement Fund Motion

         On October 14, 2021, the Debtor filed a motion in the NC Bankruptcy Court seeking
 approval of the establishment and funding of a North Carolina trust, which would be funded, in
 part, by a $2 billion advance from J&J and New JJCI, that would constitute a "qualified settlement
 fund" to resolve or satisfy current and future talc-related claims asserted against or related to the
 Debtor [Dkt. 8]. A hearing on this motion was adjourned to May 22, 2023 [Dkts. 793, 1798, 2159,
 2860, 3196, 3435, 3834].




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 5.3     Commencement of the 2021 Chapter 11 Case in North Carolina – Preliminary Injunction,
         Automatic Stay, and Motion to Show Cause

         On October 21, 2021, the Debtor filed an adversary complaint, No. 21-03032 [Adv. Dkt. 1],
 commencing an adversary proceeding and also filed a preliminary injunction motion (the "PI
 Motion") seeking (i) a declaration that the automatic stay applied to prohibit the commencement
 or continuation of certain actions against Old JJCI, various non-debtor affiliates including New
 JJCI, the Retailers, and insurance entities who have issued insurance policies to which the Debtor
 had access for coverage for talc-related liabilities (together, the "PI Protected Parties") while the
 2021 Chapter 11 Case remains pending; and (ii) a preliminary injunction under section 105(a) of
 the Bankruptcy Code to enjoin the commencement or prosecution of actions outside of the Chapter
 11 Case on account of the same talc claims that exist against the Debtor in the 2021 Chapter 11
 Case (the "Adversary Proceeding"). Such relief was necessary because, among other things,
 following the 2021 Corporate Restructuring and the commencement of the 2021 Chapter 11 Case,
 Talc Personal Injury Claimants immediately challenged the application of the automatic stay and
 threatened to pursue their talc claims against the PI Protected Parties.

          On October 26, 2021, the NC Bankruptcy Court entered a temporary restraining order
 [Adv. Dkt. 28] prohibiting and enjoining talc claims against the Debtor and Old JJCI and
 scheduling a further hearing on the PI Motion for November 4 and 5, 2021. Thereafter, counsel
 to certain objectors conducted discovery and deposed five witnesses between October 27, 2021
 and November 3, 2021. The parties then presented evidence at a two-day hearing before the NC
 Bankruptcy Court (the "NC PI Hearing"). Based on the factual record developed during the NC
 PI Hearing, on November 10, 2021 Judge Whitley of the NC Bankruptcy Court issued oral findings
 of fact and conclusions of law in respect of the PI Motion. Judge Whitley ruled that talc-related
 litigation against the PI Protected Parties was automatically stayed and should be enjoined for 60
 days. As discussed below, after the 2021 Chapter 11 Case was transferred to New Jersey, the
 Bankruptcy Court made additional rulings related to the PI Motion.

 5.4     Appointment of the Original Talc Claimant Committee

         On October 15, 2021, the Bankruptcy Administrator for the Western District of North
 Carolina (the "Bankruptcy Administrator") filed a notice of solicitation of parties interested in
 serving on an Official Committee of Talc Claimants for the Chapter 11 Case [Dkt. 38]. After
 reviewing over fifty responses to the notice, on October 28, 2021, the Bankruptcy Administrator
 filed a motion seeking appointment of an eleven member committee [Dkt. 227]. At the November
 4, 2021 hearing, the Bankruptcy Administrator noted that, while she considered whether to propose
 two talc claimants' committees, one for ovarian cancer claims and one for mesothelioma claims,
 she decided that such a proposal was unwarranted, because "ultimately, I could find no statutory
 or case law to support creating separate committees based on disease type nor any earlier cases
 where two such committees or anything close to that were appointed." 7

      On November 8, 2021, the NC Bankruptcy Court entered an order appointing the Official
 Committee of Talc Claimants in the Chapter 11 Case (the "TCC").


 7
         See LTL Management, LLC, No. 21-3089, November 4, 2021 Hr'g Tr. at 56:9-24.



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 5.5     Transfer of the 2021 Chapter 11 Case to New Jersey

         On October 25, 2021, the Bankruptcy Administrator filed a motion to transfer the 2021
 Chapter 11 Case to the District of New Jersey on grounds that such a transfer was both in the
 interest of justice and for the convenience of the various constituencies in the case [Dkt. 205].
 Following the First Day Hearing, on October 26, 2021, the Court also ordered the Debtor to appear
 and show cause why the case should not be transferred to another judicial district where venue is
 proper [Dkt. 208]. On November 16, 2021, following arguments presented by various parties,
 including the Debtor, the Bankruptcy Administrator, and counsel for certain Talc Personal Injury
 Claimants, the NC Bankruptcy Court entered an order [Dkt. 416] transferring the 2021 Chapter 11
 Case and the Adversary Proceeding to the District of New Jersey, which referred the 2021 Chapter
 11 Case and the Adversary Proceeding to the Bankruptcy Court for the District of New Jersey.

 5.6     Canadian Recognition of the 2021 Chapter 11 Case

         The 2021 Chapter 11 Case was recognized in Canada in a proceeding commenced before
 the Ontario Superior Court of Justice (Commercial List) (the "Canadian Court") pursuant to the
 Companies' Creditors Arrangement Act, R.S.C. 1985, c. C-36 (as amended, the "CCAA").
 Recognition of the 2021 Chapter 11 Case was sought to provide for a stay of proceedings against
 the Debtor, to keep Canadian stakeholders informed regarding the 2021 Chapter 11 Case, and to
 provide a venue to seek recognition of orders issued in the 2021 Chapter 11 Case to facilitate a
 global resolution of talc-related claims against the Debtor. Recognition of the 2021 Chapter 11
 Case was sought and obtained from the Canadian Court on December 17, 2021.

         The orders issued by the Canadian Court on December 17, 2021 and March 7, 2022, among
 other things, (i) recognized the 2021 Chapter 11 Case as a "foreign main proceeding" under the
 CCAA; (ii) stayed all existing proceedings against the Debtor in Canada; (iii) appointed Ernst &
 Young Inc. ("E&Y") as information officer (the "Information Officer") to report to the Canadian
 Court, creditors, and other stakeholders in Canada on the status of the 2021 Chapter 11 Case; and
 (iv) recognized the Bankruptcy Court's preliminary injunction order.

 5.7     The U.S. Trustee's Appointment of Two Talc Committees

        Following the 2021 Chapter 11 Case's transfer to the Bankruptcy Court, on December 23,
 2021, Andrew R. Vara, the United States Trustee for Region 3 (the "U.S. Trustee") filed a notice
 [Dkt 965] (the "Notice of Appointment") purporting to reconstitute and amend the TCC by
 appointing the Official Committee of Talc Claimants I, which was to represent Ovarian Cancer
 claimants ("TCC I"), and the Official Committee of Talc Claimants II, which was to represent
 Mesothelioma Claimants ("TCC II").

         On January 3, 2022, the Debtor filed a motion seeking an order determining that the U.S.
 Trustee's Notice of Appointment was invalid and reinstating the TCC appointed by the NC
 Bankruptcy Court [Dkt. 1047]. 8 In its motion, the Debtor argued that the U.S. Trustee lacked the
 authority to unilaterally alter the Bankruptcy Administrator's order appointing the TCC. Instead,


 8       Arnold & Itkin, LLP, also filed a motion seeking entry of an order vacating the U.S. Trustee's
         appointment of TCC II.



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 because the TCC was a committee created by court order, the Debtor argued that such authority
 properly resided solely with the Court. Finally, the Debtor noted that creating two official talc
 committees according to disease type (ovarian cancer versus mesothelioma) was devoid of
 precedent and a separate committee for mesothelioma claims was not necessary where
 mesothelioma claims comprised only 1% of the talc claims asserted against the Debtor. Following
 arguments on January 19, 2022, the Court struck the U.S. Trustee's Notice of Appointment on
 grounds that the U.S. Trustee's Notice of Appointment is inconsistent with the Bankruptcy
 Administrator's order appointing the TCC, and thereby violated the law of the case doctrine [Dkts.
 1212, 1273]. The Court also ordered that TCC I and TCC II be disbanded on March 9, 2022, and
 ordered the reinstatement of the TCC (with its original members) that had been originally approved
 by the NC Bankruptcy Court as of March 9, 2022. On March 8, 2022, the Court issued a bench
 order extending the existence of both TCC I and TCC II through and including April 12, 2022.
 TCC I and TCC II were formally disbanded on April 12, 2022 and reverted back to the TCC
 originally appointed by the Bankruptcy Administrator.

 5.8     Appointment of the FCR

        In January 2022, the Bankruptcy Court filed the Case Management Order Setting Selection
 Protocol for Future Talc Claims Representative [Dkt. 1048, as Amended, Dkt. 1135] ( the "FCR
 Protocol") governing the nomination and appointment of a legal representative for future talc
 claimants in the Debtor's 2021 Chapter 11 Case (the "FCR"). Pursuant to the FCR Protocol, the
 Debtor, TCC I, and TCC II submitted nominees for appointment as FCR to the Court. The
 Bankruptcy Court also proposed its own nominees for consideration in accordance with the FCR
 Protocol. In total, the eight nominees for FCR were: Marina Corodemus, Randi S. Ellis, Mark
 Falk, Eric D. Green, Joseph W. Grier, III, Gary J. Russo, Lawrence F. Stengel, and R. Scott
 Williams [Dkt. 1436, as Amended, Dkt. 1452]. Each of the Debtor, TCC I, and TCC II ultimately
 consented to the appointment of nominee Randi S. Ellis as FCR and on March 18, 2022 the
 Bankruptcy Court entered an order appointing her as FCR in the 2021 Chapter 11 Case
 [Dkt. 1786].

 5.9     Retention of Professionals

          In the 2021 Chapter 11 Case, the Debtor retained: (i) Jones Day, as the Debtor's bankruptcy
 co-counsel; (ii) Wollmuth Maher & Deutsch LLP, as the Debtor's bankruptcy co-counsel;
 (iii) Blake, Cassels & Graydon LLP as Canadian counsel to the Debtor; (iv) AlixPartners, LLP, as
 financial advisor to the Debtor; (v) Bates White, LLC, as talc consultants and expert for the Debtor;
 (vi) King & Spalding LLP, as special counsel to the Debtor; (vii) Epiq Corporate Restructuring,
 LLC, as claims, noticing, and solicitation agent; (viii) McCarter & English, LLP, as special
 insurance counsel for the Debtor; (ix) Skadden, Arps, Slate, Meagher & Flom LLP ("Skadden"),
 as special counsel to the Debtor; (x) Weil, Gotshal & Manges LLP as special counsel to the Debtor;
 and (xi) Shook, Hardy & Bacon, L.L.P., as special counsel to the Debtor. The Bankruptcy Court
 has also authorized the Debtor to engage other law firms and professionals in the ordinary course
 of business.

        Various parties appealed the Debtor's retention of Jones Day and Skadden, which were
 procedurally consolidated, to the District Court of New Jersey. On May 31, 2022, the District




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 Court entered an order staying the briefing on these appeals pending the Third Circuit Court of
 Appeal's ruling on the PI Motion and dismissal motions.

         In the 2021 Chapter 11 Case, the TCC retained: (i) Genova Burns LLC as local counsel to
 the TCC; (ii) Bailey Glassler LLP as co-counsel to the TCC; (iii) Otterbourg, P.C. as co-counsel
 to the TCC; (iv) Brown Rudnick LLP as co-counsel to the TCC; (v) Parkins Lee & Rubio LLP as
 co-counsel to the TCC; (vi) Massey & Gail LLP as co-counsel to the TCC; (vii) Miller Thomson
 LLP as Canadian Counsel to the TCC; (viii) Mololamken LLP as special appellate litigation
 counsel to the TCC; (ix) Houlihan Lokey as investment banker to the TCC; and (x) Anderson Kill
 P.C. as special insurance counsel to the TCC.

        In the 2021 Chapter 11 Case, the FCR retained: (i) Walsh Pizzi O'Reilly Falanga LLP as
 counsel for the FCR and (ii) Berkeley Research Group, LLC, as talc claim liability consultants.

 5.10    The New Jersey Preliminary Injunction and Dismissal Trial

        On December 1, 2021, the TCC filed a motion to dismiss the Debtor's 2021 Chapter 11
 Case with prejudice pursuant to section 1112(b) of the Bankruptcy Code on grounds that the case
 was not filed in good faith [Dkt. 632]. On December 9, 2021, Arnold & Itkin LLP also filed a
 motion [Dkt. 766] seeking dismissal of the Debtor's case on similar grounds. Two law firms
 representing talc claimants also filed joinders to the dismissal motions [Dkts. 1003, 1092]. The
 Debtor filed opposition to these dismissal motions, arguing that, among other things, filing for
 bankruptcy to equitably resolve mass tort claims qualifies as a valid bankruptcy purpose
 [Dkt. 956]. Replies and sur-replies were filed by the Debtor and movants [Dkts. 1354, 1357, 1358,
 1444, 1457].

          Following the NC PI Hearing, on November 10, 2021 Judge Whitley ruled that talc-related
 litigation against the PI Protected Parties was automatically stayed and should be enjoined for 60
 days. However, Judge Whitley made clear that this order was without prejudice and was not
 intended to bind a subsequent presiding court. Following the transfer of the 2021 Chapter 11 Case
 to the Bankruptcy Court for the District of New Jersey, on November 17, 2021, the Bankruptcy
 Court assumed exclusive jurisdiction of the Adversary Proceeding and the underlying 2021
 bankruptcy case. While initially, argument on the extension of the preliminary injunction was
 scheduled to be heard on January 11, 2022, three days before the 60-day expiration date for the
 preliminary injunction, in light of an identity of issues and evidence with the pending motions to
 dismiss, the Bankruptcy Court adjourned the hearing date on the Preliminary Injunction to coincide
 with the scheduled date for arguments on the motions to dismiss. On January 15, 2022, the
 Bankruptcy Court entered a bridge order [Dkt. 157] extending the Preliminary Injunction entered
 by the NC Bankruptcy Court to February 28, 2022.

        On February 14, 2022, the Court commenced a five-day trial, which included multiple fact
 and expert witnesses, to address the dismissal motions and the related PI Motion in the pending
 Adversary Proceeding.

        On February 25, 2022, the Court denied the dismissal motions, noting that filing a chapter
 11 case with the expressed aim of addressing the present and future liabilities associated with
 ongoing global personal injury claims to preserve corporate value is unquestionably a proper



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 purpose under the Bankruptcy Code and, further, the prospect of continued, costly talc-related
 litigation pointed to the need for bankruptcy consideration [Dkts. 1572, 1603].

         Also on February, 25, 2022, the Court granted the PI Motion, held that the automatic stay
 applied to Talc Personal Injury Claims, and also enjoined the commencement or continued
 prosecution of talc-related claims against the PI Protected Parties [Adv. Dkts. 184, 187]. In its
 ruling the Court noted that it would revisit continuation of the automatic stay and preliminary
 injunction on June 29, 2022, and similar periods thereafter.

         After the entry of these orders denying dismissal and granting the PI Motion, various
 parties filed notices of appeal, as well as motions for certification of direct appeal to the Third
 Circuit. 9 On April 4, 2022, the Court entered an order certifying direct appeal of the orders to the
 Third Circuit [Dkt. 1955; Adv. Dkt. 231]. The Third Circuit granted the petitions for direct appeal
 on May 11, 2022 and granted the appellants' motion to consolidate their appeals and to expedite
 the case. The parties briefed the issues and argued the matters before the Third Circuit on
 September 19, 2022.

        Via an oral ruling on July 28, 2022, the Bankruptcy Court declined to set another date to
 consider the extension of the Preliminary Injunction or automatic stay until after the estimation
 process and appellate process concluded.

          The Third Circuit decision on the dismissal motions and PI Motion are further discussed
 below.

 5.11     The Insurance Lift Stay Motions

         In February 2022, various insurers filed motions seeking an order confirming that the
 automatic stay does not apply to certain insurance actions pending in New Jersey state court or, in
 the alternative, granting relief from the automatic stay to allow these insurance coverage actions
 to proceed [Dkt. 1488, 1491] (the "Insurance Lift Stay Motions"). Both the Debtor and TCC I
 objected to the Insurance Lift Stay Motions on various grounds, including the fact that the
 insurance policies are estate property and, therefore, are subject to the automatic stay [Dkts. 1738-
 39]. On July 28, 2022 the Bankruptcy Court granted limited relief to the insurers to allow for
 continued third-party discovery, but otherwise declined to lift the automatic stay.

 5.12     Mediation

         On March 18, 2022, after determining that mediation may produce a mutually agreeable
 resolution of all or some of the issues and claims in the 2021 Chapter 11 Case, the Court entered
 an Order Establishing Mediation Protocol [Dkt. 1780] (the "Mediation Protocol") referring the
 Debtor and its affiliates, TCC I, TCC II, and the FCR to mediation. Pursuant to the Mediation
 Protocol, the Hon. Joel Schneider (Ret.) and Gary Russo were appointed co-mediators and
 authorized to mediate a comprehensive resolution of issues in the case, including, without
 limitation, a chapter 11 plan and all matters related to the estimation and plan treatment of personal
 injury claims against the estate related to talc or talc-containing products. Confidential mediation

 9        See Dkts. 1651, 1653, 1654, 1709, 1713, 1720, 1747, 1803; Adv. Dkts. 189-191, 201, 205, 206,
          210.



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 efforts began after entry of the Mediation Protocol and are ongoing. On May 16, 2022, various
 insurers, class action plaintiffs, and Canadian representatives were also referred to mediation [Dkt.
 2300].

         On May 27, 2022, the Debtor and its affiliates, along with the ad hoc committee of states
 holding consumer protection claims, was referred to mediation [Dkt. 2370]. The Hon. Donald H.
 Steckroth (Ret.) was appointed as co-mediator and authorized to mediate a comprehensive
 resolution of, among other things, issues related to the estimation and plan treatment of consumer
 protection claims held by the states [Dkt. 2370].

         By order of the Bankruptcy Court dated March 23, 2023, the appointment of each of the
 mediators was terminated. Despite the efforts of the mediators and the various constituents, at the
 time of the termination of their appointment, no agreement had yet been reached on the terms of a
 plan to consensually resolve the 2021 Chapter 11 Case.

 5.13    Estimation

         During this same time period, and primarily for the purpose of facilitating the parties'
 mediation efforts, the Debtor proposed a process to estimate the aggregate value of the talc claims
 asserted against it [Dkt. 2473]. Various parties, including the TCC, opposed estimation [Dkts.
 2715, 2717, 2722, 2723]. On July 28, 2022, the Court authorized an estimation, ruling that "the
 need for transparency and to preserve the integrity of the bankruptcy process and the system
 requires a reasonable effort to estimate the debtor's aggregate liability for both present and future
 claims for both ovarian and meso[thelioma] diseases." See July 28, 2022 Hr'g Tr., 4:13-17
 (No. 21-3089).

         In its July 28, 2022 ruling, the Bankruptcy Court also indicated that it would appoint an
 expert (the "Court Expert") under Rule 706 of the Federal Rules of Evidence to prepare and file a
 report containing his or her opinions on the estimation of the current and future talc claims. On
 August 15, 2022, the Bankruptcy Court entered an order appointing Kenneth R. Feinberg, Esq. as
 the Court Expert [Dkt. 2881].

         Following his appointment, the Court Expert gathered information from claimants, the
 Debtor and J&J, engaged in discussions with the TCC, the FCR and the Debtor and J&J, and
 retained counsel and an economic consulting firm. By order of the Bankruptcy Court dated March
 23, 2023, the appointment of the Court Expert was terminated. The Court Expert did not file a
 report in the 2021 Chapter 11 Case.

 5.14    Exclusivity

         On February 7, 2022, the Debtor obtained its first extension of the periods during which it
 may exclusively propose and solicit acceptances of a chapter 11 plan beyond the initial 120-day
 and 180-day periods for plan proposal and solicitation set forth in section 1121 of the Bankruptcy
 Code (the "Exclusivity Periods") [Dkt. 1405]. The TCC objected to the Debtor's second request
 to extend the Exclusivity Periods for an additional 60 days [Dkt. 2095], arguing that terminating
 exclusivity to allow the TCC to file its own plan was the best way to move this case towards a
 prompt resolution [Dkt. 2181]. The Court entered an order on May 9, 2022 extending the
 Exclusivity Periods through September 9, 2022 [Dkt. 2267]. On July 15, 2022, the TCC filed a


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 motion to terminate the Exclusivity Periods to allow the TCC to file and prosecute a chapter 11
 plan [Dkt. 2721]. On August 2, 2022, the Debtor filed its third request to extend the Exclusivity
 Periods [Dkt. 2813]. The Court adjourned the hearing on the Debtor's third request to extend the
 Exclusivity Periods and the TCC's motion to terminate the Exclusivity Periods in order to allow
 time for the Court Expert to complete and file a report [Dkt. 2870]. The Court ultimately adjourned
 the hearing to March 20, 2023 and extended the Debtor's exclusive right to file a plan through
 April 14, 2023, provided that, if the Debtor filed a plan prior to April 14, 2023, the TCC had 15
 days to file a motion seeking authority to permit the TCC to file a competing plan [Dkts. 2870,
 3208, 3378, 3570, 3688, 3843].

 5.15    Securities Action Injunction and Appeal

         On March 7, 2022, the Debtor commenced the Securities Action, by initiating an adversary
 proceeding [Adv. No. 22-01073; Adv. Dkts. 1-2] against San Diego County Employees Retirement
 Association ("SDCERA") and filed a motion seeking injunctive relief preliminarily enjoining the
 prosecution of a securities class action pending in the United States District Court for the District
 of New Jersey against certain non-debtor individuals and affiliates of the Debtor. See Hall v.
 Johnson & Johnson, No. 3:18-cv-01833 (D.N.J.). The plaintiffs in the Securities Action are
 individuals who purchased J&J stock during the period from February 22, 2013, through December
 13, 2018. SDCERA is the lead plaintiff for that putative plaintiff class. The Debtor argued that
 injunctive relief was necessary because the Securities Action involved issues related to the safety
 of its cosmetic talc products, which were inextricably intertwined with the Talc Personal Injury
 Claims being resolved in the 2021 Chapter 11 Case. On May 9, 2022, the Court held that the
 defendants were prohibited and enjoined from pursuing discovery from or enforcing discovery
 orders against certain non-debtor individuals and affiliates of the debtor that were third party
 defendants in the Securities Action, along with their officers directors, employees, or agents [Adv.
 Dkts. 52, 55]. The Court held that it would periodically revisit continuation of the automatic stay
 and preliminary injunction approximately every 120 days. On May 12, 2022, SDCERA appealed
 the Bankruptcy Court's ruling to New Jersey District Court [Adv. Dkt. 57]. On April 11, 2023,
 following the Third Circuit's ruling dismissing the 2021 Chapter 11 Case, the New Jersey District
 Court granting the parties' request to dismiss the appeal [Adv. Dkt. 69].

 5.16    Attorney General Matters

        On or about March 15, 2022, the 41 states and the District of Columbia formed an ad hoc
 committee (the "Ad Hoc Committee") and retained bankruptcy counsel to represent it in this
 Chapter 11 Case in connection with consumer protection claims alleged or asserted by the
 members of the Ad Hoc Committee against the Debtor. To facilitate a settlement of the Ad Hoc
 Committee members' consumer protection claims in an efficient and effective manner, the Debtor
 negotiated the terms of a reimbursement agreement with the Ad Hoc Committee (the
 "Reimbursement Agreement"), whereby the Debtor will pay up to $750,000 of the reasonable and
 documented out of pocket expenses of members of the Ad Hoc Committee and its counsel from
 March 10, 2022 through the termination of the Reimbursement Agreement [Dkt. 2338]. On June
 24, 2022, the Court entered an order authorizing the Debtor to enter into the Reimbursement
 Agreement [Dkt. 2585].




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         On July 14, 2022, the Debtor initiated an adversary proceeding and sought an order
 temporarily enjoining the continued prosecution of the New Mexico State Action and the
 Mississippi State Action on grounds that these state actions rely on the same underlying allegations
 and evidence relied upon by Talc Personal Injury Claimants, and allowing these actions to continue
 would allow a key issue in the 2021 Chapter 11 Case to be adjudicated outside of the Bankruptcy
 Court and undermine ongoing mediation efforts [Adv. No. 22-01231; Adv. Dkts. 1-2]. The State
 of New Mexico, State of Mississippi, the TCC, and various other parties filed objections to the
 Debtor's injunction request [Adv. Dkts. 18, 21-22], and the Debtor filed its reply on August 19,
 2022 [Adv. Dkt. 24]. On October 4, 2022, the Bankruptcy Court ruled that the automatic stay
 extended to protect J&J and other parties from the continued prosecution of the New Mexico State
 Action and the Mississippi State Action [Adv. Dkt. 31]. To the extent the automatic stay was not
 an independent basis for such extension, the Bankruptcy Court also held that a preliminary
 injunction under section 105(a) of the Bankruptcy Code enjoining such actions was appropriate.
 In its opinion, the Bankruptcy Court noted that it would revisit continuation of the automatic stay
 in December 2022.

         On November 1, 2022, the State of New Mexico and State of Mississippi appealed the
 order granting the automatic stay and preliminary injunction to the District Court of New Jersey
 [Adv. Dkt. 34] and also filed a motion seeking direct certification of the appeal to the Third Circuit
 [Adv. Dkt. 37]. The Debtor objected to the motion for certification of appeal [Adv. Dkt. 47]. On
 December 1, 2022, the Bankruptcy Court entered an order certifying the direct appeal of its
 automatic stay and preliminary injunction order to the Third Circuit [Adv. Dkt. 54]. The State of
 New Mexico and State of Mississippi filed their appeal petition on December 21, 2022. On March
 22, 2023, following the Third Circuit's ruling dismissing the 2021 Chapter 11 Case, the Third
 Circuit dismissed the petition as moot.

 5.17    The Third Circuit's Ruling

          On January 30, 2023, a panel of the Third Circuit issued an opinion directing this Court to
 dismiss the 2021 Chapter 11 Case. See In re LTL Mgmt., LLC, 58 F.4th 738 (3d Cir. 2023) as
 amended by 64 F.4th 84 (3d Cir. 2023) (the "Third Circuit Panel Opinion"). While the Third
 Circuit recognized that the Debtor "inherited massive liabilities" and faced "thousands" of future
 claims, it evaluated the Debtor's ability to "call on assets to fund them." Third Cir. Panel Op. at
 94, 109. The Third Circuit found the Debtor held "reliable" funding rights from "highly
 creditworthy counterparties:" Holdco and its "cash-flowing brands" and, "[m]ost important,"
 "LTL's direct access to J&J's exceptionally strong balance sheet." Id. at 106. Given those rights,
 the Third Circuit found the Debtor "highly solvent," with "access to cash to meet comfortably its
 liabilities as they came due for the foreseeable future." Id. at 108. The Third Circuit panel
 acknowledged the "apparent irony" that, by providing the funding backstop to place beyond
 dispute the Debtor's ability to fund a chapter 11 plan, J&J had made the Debtor too financially able
 for chapter 11. Id. at 110-11; see id. at 111 ("Put another way, the bigger a backstop a parent
 company provides a subsidiary, the less fit that subsidiary is to file."). Additionally, the Third
 Circuit concluded that its decision to dismiss the 2021 Chapter 11 Case rendered moot the appeals
 of the Bankruptcy Court's order granting the PI Motion. Id. at 112.

         On February 13, 2023, the Debtor filed a petition for rehearing and rehearing en banc with
 the Third Circuit. See In re LTL Mgmt. LLC, No. 22-2003 [Dkt. 153] (3d Cir. Feb. 13, 2023). On


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 March 22, 2023, the Third Circuit entered an order denying the Debtor's petition for rehearing.
 That same day, the Debtor filed a motion seeking a stay of the Third Circuit's mandate pending
 appeal to the United States Supreme Court. The Third Circuit entered an order denying the stay
 motion on March 31, 2023, and, on the same day, issued its mandate directing this Court to dismiss
 the 2021 Chapter 11 Case. This Court subsequently entered an order dismissing the 2021 Chapter
 11 Case on April 4, 2023 [Dkt. 3938].

                                           ARTICLE VI.

                         EVENTS DURING THE CHAPTER 11 CASE

         In view of the substantial support of talc claimants, Holdco, and J&J, for both a bankruptcy
 filing and the material terms of a plan, and taking into account the excessive cost, burden,
 uncertainty and anticipated decades-long duration of the cosmetic talc litigation (as described
 above), the Debtor determined that the filing of a second chapter 11 case in this Court was prudent,
 necessary and in the best interests of all constituents. The Debtor believes, as do Holdco and J&J,
 that chapter 11 proceedings present the only method through which the Debtor and talc claimants
 can fully, equitably and permanently resolve all current and future talc-related claims.

        The following is a general description of the major events occurring during the course of
 this Chapter 11 Case.

 6.1     Commencement of the Chapter 11 Case

          When the Third Circuit declined to stay its mandate to dismiss the 2021 Chapter 11 Case,
 the Debtor entered into new financing arrangements and filed for bankruptcy a second time to seek
 confirmation of a plan containing the terms agreed to in the Plan Support Agreements. Given the
 substantial support for the terms of a plan reflected in the Plan Support Agreements, the Debtor
 determined that there was no reason to delay refiling. In particular, on April 4, 2023, the Petition
 Date, the Debtor commenced this Chapter 11 Case by filing a voluntary petition for relief under
 chapter 11 of the Bankruptcy Code in the bankruptcy court for the District of New Jersey. Since
 the filing of the Chapter 11 Case, the Debtor has continued to manage its affairs as debtor-in-
 possession pursuant to sections 1107 and 1108 of the Bankruptcy Code.

         On the Petition Date, the Debtor filed motions seeking typical "first-day" relief in chapter
 11 cases (the "First Day Motions"). The Debtor's stated purpose of the First Day Motions was to
 establish procedures for the smooth and efficient administration of this Chapter 11 Case and further
 the Debtor's ability to achieve a successful reorganization that would fairly and equitable resolve
 the Debtor's liability for Talc Personal Injury Claims.

         The First Day Motions sought to: (i) obtain authorization for the continued use of the
 Debtor's bank account; (ii) appoint a foreign representative authorized to act on behalf of the
 Debtor's estate in any Canadian judicial or other proceedings; (iii) appoint a claims, noticing and
 ballot agent; and (iv) seek authority to file and provide the U.S. Trustee with a list of law firms
 with the most significant representations to facilitate evaluation of members for the TCC. A
 description of the First Day Motions is set forth in the First Day Declaration.




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 6.2     The Preliminary Injunction

          On the Petition Date, the Debtor filed an adversary complaint, No. 23-01092 [Adv. Dkt.
 1], commencing an adversary proceeding and also filed a preliminary injunction motion (the "PI
 Motion") seeking (i) a declaration that the automatic stay applies to prohibit the commencement
 or continuation of certain actions against Old JJCI, various non-debtor affiliates including Holdco,
 the Retailers, and insurance entities who have issued insurance policies to which the Debtor has
 access for coverage for talc-related liabilities while this Chapter 11 Case remains pending; and
 (ii) a preliminary injunction under section 105(a) of the Bankruptcy Code to enjoin the
 commencement or prosecution of actions outside of the Chapter 11 Case on account of the same
 talc claims that exist against the Debtor in the Chapter 11 Case (the "Adversary Proceeding").

          Such relief was necessary because, without the requested declaration or injunction, Talc
 Personal Injury Claimants would be permitted to litigate, in other forums, the exact same talc
 claims that are being asserted against the Debtor in the Chapter 11 Case. Permitting the litigation
 of Talc Personal Injury Claims to continue or commence against the protected parties while the
 Debtor simultaneously works to reorganize by resolving the same claims in its Chapter 11 Case
 pursuant to the Bankruptcy Code would (a) defeat the purpose of the Debtor's bankruptcy case, (b)
 result in irreparable harm to the Debtor's estate, (c) undermine and circumvent the purposes and
 spirit of the automatic stay, and (d) divert the Debtor from its reorganization efforts. Such litigation
 would also undermine a central aim of the plan terms that have been agreed to by thousands of
 claimants, which is to treat all similarly situated claimants in an equivalent manner.

         Certain parties, including the U.S. Trustee, filed objections to the preliminary injunction
 motion and also filed motions seeking to lift the automatic stay to allow their claims to go forward
 in the tort system against the Debtor and non-debtor affiliates [Dkts. 71, 73, 208, 213].

         On April 20, 2023, the Bankruptcy Court authorized a 60-day modified preliminary
 injunction that enjoined the commencement or continuation of trials against certain non-debtor
 parties, including Holdco and J&J (the "Modified PI"). This Modified PI did not prevent the
 continuation or commencement of discovery or other pre-trial matters, and did not prevent the
 filing of complaints related to Talc Personal Injury Claims in the tort system. The Bankruptcy
 Court held that it would revisit continuation of the Modified PI at the May 22, 2023 omnibus
 hearing.

        On April 21, 2023, the TCC appealed the Modified PI to the District of New Jersey
 [Adv. Dkt. 83].

         On April 21, 2023, the TCC filed a motion for certification of direct appeal of the Modified
 PI to the Third Circuit [Adv. Dkt. 84]. On April 24, 2023, an ad hoc group of mesothelioma
 claimants and Paul Crouch filed motions for certification of direct appeal of the Modified PI to the
 Third Circuit [Adv. Dkts. 88, 89]. On May 8, 2023, the Debtor filed an objection to the motions
 for certification. [Adv. Dkt. 123]. On May 15, 2023, the Bankruptcy Court entered an order
 denying the certification motions. [Adv. Dkt. 133].




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         On May 3, 2023, the Bankruptcy Court made an additional modification to the Modified
 PI, authorizing counsel to Anthony Hernandez Valadez to proceed to trial on his asbestos personal
 injury action against the Debtor and certain non-debtor affiliates in California.

 6.3     Canadian Recognition of the Chapter 11 Case

         On April 13, 2023, the Chapter 11 Case was recognized in Canada in a proceeding
 commenced before the Canadian Court. Recognition of the Chapter 11 Case was sought to provide
 for a stay of proceedings against the Debtor, to keep Canadian stakeholders informed regarding
 the Chapter 11 Case, and to provide a venue to seek recognition of orders issued in the Chapter 11
 Case to facilitate a global resolution of talc-related claims against the Debtor.

         Orders issued by the Canadian Court on April 13, 2023 and May 1, 2023, among other
 things: (i) recognized the Chapter 11 Case as a "foreign main proceeding," (ii) stayed all existing
 proceedings against the Debtor in Canada; (iii) appointed E&Y as Information Officer to report to
 the Canadian Court, creditors, and other stakeholders in Canada on the status of the Chapter 11
 Case; and (iv) recognized the Bankruptcy Court's Modified PI.

 6.4     Appointment of the TCC

        On April 14, 2023, the U.S. Trustee appointed 11 creditors to the TCC [Dkt. 162]. The
 individuals comprising the TCC are (listed with the law firm representing each member):

                   Committee Member                          Law Firm / Attorney
          Rebecca Love                             Ashcraft & Gerel, LLP

          Tonya Whetsel                            Karst von Oiste LLP

          William A. Henry                         Levin Papantonio Rafferty

          Patricia Cook                            Weitz & Luxenberg, P.C.

          Alishia Landrum                          Beasley Allen Law Firm

          Blue Cross Blue Shield of                Hill Carter Franco Cole & Black, PC
          Massachusetts
          Kristie Doyle                            Kazan, McClain, Satterley &
                                                   Greenwood PLC
          Randy Derouen                            Levy Konigsberg LLP

          April Fair                               Robinson Calcagnie, Inc.

          Brandi Carl                              Golomb Spirt Grunfeld

          Sue Sommer-Kresse                        Motley Rice, LLC




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 6.5     Appointment of the FCR

         On April 10, 2023, the Debtor filed a motion to appoint Randi S. Ellis as the FCR to protect
 the rights of future talc claimants in this Chapter 11 Case [Dkt. 87]. Ms. Ellis was previously
 appointed to serve as the FCR in the 2021 Chapter 11 Case. The TCC, certain claimants, and the
 U.S. Trustee filed objections to the appointment of Ms. Ellis as FCR [Dkts. 311, 318, 320-21], and
 on April 28, 2023, the Debtor filed an omnibus reply in support of the FCR motion [Dkt. 355].
 The Bankruptcy Court held a hearing on the Debtor's FCR motion on May 3, 2023, and on May 9,
 2023, the Bankruptcy Court appointed Ms. Ellis as FCR.

 6.6     Retention of Professionals

         In the Chapter 11 Case, the Debtor filed motions to retain: (i) Jones Day, as the Debtor's
 bankruptcy co-counsel; (ii) Wollmuth Maher & Deutsch LLP, as the Debtor's bankruptcy
 co-counsel; (iii) Blake, Cassels & Graydon LLP as Canadian counsel to the Debtor;
 (iv) AlixPartners, LLP, as financial advisor to the Debtor; (v) Bates White, LLC, as talc consultants
 and expert for the Debtor; (vi) King & Spalding LLP, as special counsel to the Debtor; (vii) Epiq
 Corporate Restructuring, LLC, as claims, noticing, and solicitation agent; (viii) McCarter &
 English, LLP, as special insurance counsel for the Debtor; (ix) Skadden as special counsel to the
 Debtor; (x) Weil, Gotshal & Manges LLP as special counsel to the Debtor; (xi) Shook, Hardy &
 Bacon, L.L.P., as special counsel to the Debtor; and (xii) Orrick, Herrington & Sutcliffe LLP as
 special talc litigation appellate counsel to the Debtor.

        In the Chapter 11 Case, the TCC filed motions to retain: (i) Genova Burns LLC as local
 counsel to the TCC; (ii) Otterbourg, P.C. as co-counsel to the TCC; (iii) Brown Rudnick LLP as
 co-counsel to the TCC; and (iv) Massey & Gail LLP as co-counsel to the TCC.

 6.7     Approval of the J&J Support Agreement

        The J&J Support Agreement requires the approval of the Bankruptcy Court. The Debtor
 intends to file a motion seeking approval of the J&J Support Agreement in due course.

 6.8     Mediation

         On April 10, 2023, the Debtor filed a motion to appoint the Hon. Joel Schneider (Ret.) and
 Gary Russo as co-mediators to mediate all issues in the Chapter 11 Case [Dkt. 107]. The Hon.
 Joel Schneider and Mr. Russo were previously appointed to serve as co-mediators in the 2021
 Chapter 11 Case. At the April 20, 2023 hearing, the Bankruptcy Court indicated that it would
 appoint a mediator and directed the Debtor and the TCC to confidentially submit up to three
 mediation candidates to the Bankruptcy Court. As a result, the Debtor withdrew as moot its motion
 to appoint co-mediators. At a hearing on May 3, 2023, the Bankruptcy Court stated that it intended
 to appoint Gary Russo and Eric Green as co-mediators. On May 8, 2023, the Bankruptcy Court
 entered an order appoint Mr. Russo and Mr. Green as co-mediators and establishing procedures
 for the mediation [Dkt. 459].




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 6.9     Motions to Dismiss

         On April 24, 2023, the TCC filed a motion to dismiss the Chapter 11 Case [Dkt. 286]. On
 April 27, 2023, an ad hoc group of mesothelioma claimants filed a joinder to the TCC's motion to
 dismiss [Dkt. 335]. On April 28, 2023, an ad hoc committee of states holding consumer protection
 claims filed a motion to dismiss the Chapter 11 Case [Dkt. 350]. On May 1, 2023, the U.S. Trustee
 filed a motion to dismiss [Dkt. 379]. On May 10, 2023, New Mexico and Mississippi filed a
 motion to dismiss the Chapter 11 Case [Dkt. 480]. Counsel for various additional claimants also
 filed motions to dismiss, and joinders in support of motions to dismiss, the Chapter 11 Case [Dkts.
 346, 352, 358, 384, 473]. These motions to dismiss are scheduled for a [four]-day hearing
 commencing on ______, 2023.

 6.10    The Writ of Mandamus

        On May 1, 2023, the TCC filed a petition for a writ of mandamus with the Third Circuit,
 requesting that the Third Circuit determine whether (i) the Debtor's second bankruptcy filing
 complied with the Third Circuit's good faith and financial distress requirements, as articulated in
 the Third Circuit Panel Opinion, and (ii) the Bankruptcy Court applied the correct standard when
 granting the Modified PI [Dkt. 387]. On May 9, 2023, the Third Circuit denied the writ of
 mandamus [No. 23-1826, Dkt. 13].

 6.11    Motion to Suspend the Chapter 11 Case

        On May 4, 2023, the TCC filed a motion to suspend the Chapter 11 Case in its entirety
 other than (i) permitting the prosecution of the TCC's motion to dismiss, (ii) permitting the
 prosecution of the TCC's motion for derivative standing to file a complaint related to certain estate
 causes of action and (iii) allowing for the continued compliance with the Court's direction to
 re-evaluate the Modified PI [Dkt. 414]. The Bankruptcy Court will consider this motion at a
 hearing scheduled for May 16, 2023.

 6.12    Motion for Derivative Standing

          On May 11, 2023, the TCC filed a motion seeking leave, standing, and authority to
 commence, prosecute and, if appropriate, settle any causes of action that could be asserted against
 the Debtor's parent and affiliates, and the Debtor's directors and officers, including but not limited
 to those arising out of the (i) termination of the 2021 Funding Agreement and entry into the 2023
 Funding Agreement and J&J Support Agreement, (ii) the 2021 Corporate Restructuring, and
 (iii) the Consumer Business Transfer [Dkt. 489].




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                                          ARTICLE VII.

                              THE PLAN OF REORGANIZATION

         The confirmation of a plan of reorganization is the principal objective of a chapter 11 case.
 A plan of reorganization sets forth the means for treating claims against, and equity interests in, a
 debtor. Confirmation of a plan of reorganization by a bankruptcy court makes it binding on the
 debtor, any person or entity acquiring property under the plan, and any creditor of, or equity
 interest holder in, the debtor, whether or not such creditor or equity interest holder has accepted
 the plan or received or retains any property under the plan. Subject to certain limited exceptions
 and other than as provided in a plan itself or in a confirmation order, a confirmation order
 discharges the debtor from any debt that arose prior to the date of confirmation of the plan of
 reorganization.

        This Article of this Disclosure Statement summarizes certain relevant provisions of the
 Plan. This Article is intentionally not a recitation of the entirety of the Plan, a copy of which is
 attached hereto as Exhibit A.

         For additional information regarding the Plan not discussed in this Article, please refer to
 the following select Plan provisions:

                                     Topic                                         Plan Provision
  Treatment of Executory Contracts and Unexpired Leases                          Article V

  Distributions Under the Plan on Account of Non-Talc Claims                     Article VI

  Resolution of Disputed Claims Other than Talc Personal Injury Claims           Article VII

  Disallowed Claims                                                              Section 11.6

  No Successor Liability                                                         Section 11.7

  Corporate Indemnities                                                          Section 11.8

  Jurisdiction of Bankruptcy Court                                               Article XII

  Reservation of Rights                                                          Section 12.4
  Miscellaneous Provisions                                                       Article XIII


      THE FOLLOWING SUMMARY HIGHLIGHTS CERTAIN OF THE SUBSTANTIVE
 PROVISIONS OF THE PLAN, AND IS NOT, NOR IS IT INTENDED TO BE, A COMPLETE
 DESCRIPTION OR A SUBSTITUTE FOR A FULL AND COMPLETE REVIEW OF THE
 PLAN. THE DEBTOR URGES ALL HOLDERS OF CLAIMS OR EQUITY INTERESTS TO
 READ AND STUDY CAREFULLY THE PLAN, A COPY OF WHICH IS ATTACHED AS
 EXHIBIT A TO THIS DISCLOSURE STATEMENT.




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 7.1     Treatment of Administrative Claims, Fee Claims, and Priority Tax Claims

         (a)      Administrative Claims

                  (1)    Allowed Administrative Claims

         Holders of Allowed Administrative Claims (other than Fee Claims, which are governed by
 Section 2.2 of the Plan, and Cure Amount Claims, which are governed by Section 5.4 of the Plan)
 shall receive Cash equal to the unpaid portion of such Allowed Administrative Claims on the
 Distribution Date, in full satisfaction, settlement, release, and discharge of and in exchange for
 such Claims, or such other amounts and on such other terms as may be agreed to by the holders of
 such Claims and the Debtor or the Reorganized Debtor, as the case may be; provided, however,
 that (a) Allowed Administrative Claims representing liabilities incurred on or after the Petition
 Date in the ordinary course of business by the Debtor shall be paid by the Debtor or the
 Reorganized Debtor, as the case may be, in accordance with the terms and conditions of the
 particular transactions and agreements relating to such liabilities without any further action by the
 holders of such Claims or further approval of the Bankruptcy Court and (b) holders of such
 Administrative Claims shall not be required to comply with the requirements set forth in Section
 2.1.2 of the Plan.

                  (2)    Administrative Claims Bar Date

         Except as otherwise provided in Article II of the Plan, requests for payment of
 Administrative Claims (other than Fee Claims and Cure Amount Claims) must be filed and served
 on the Reorganized Debtor pursuant to the procedures specified in the Confirmation Order no later
 than sixty (60) days after the Effective Date. Holders of Administrative Claims that are required
 to, but do not, file and serve a request for payment of such Administrative Claims by the
 Administrative Claims Bar Date shall be forever barred, estopped, and enjoined from asserting
 such Administrative Claims against, as applicable, the Debtor or the Reorganized Debtor, or their
 property, and such Administrative Claims shall be deemed discharged as of the Effective Date.
 Objections to such requests, if any, must be filed and served on the Reorganized Debtor and the
 requesting party, as applicable, no later than ninety (90) days after the Effective Date, unless
 otherwise authorized by the Bankruptcy Rules or Bankruptcy Court. Notwithstanding the
 foregoing, no request for payment of an Administrative Claim need be filed with respect to an
 Administrative Claim previously Allowed by Final Order, including all Administrative Claims
 expressly Allowed under the Plan.

                  (3)    Disputed Administrative Claims

         If a Disputed Administrative Claim is thereafter Allowed in whole or in part, the Disbursing
 Agent shall (at such time as determined to be practicable by the Reorganized Debtor) distribute to
 the holder of such Administrative Claim, the Cash that such holder would have received on account
 of such Claim if such Administrative Claim had been an Allowed Administrative Claim on the
 Effective Date.

         (b)      Fee Claims




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         All final fee requests for compensation or reimbursement of Fee Claims pursuant to
 sections 327, 328, 329, 330, 331, 503(b), or 1103 of the Bankruptcy Code for services rendered to
 the Debtor, the TCC, the AHC of Supporting Counsel, or the FCR, all Fee Claims of members of
 the TCC for reimbursement of expenses, and all requests or Claims under section 503(b)(4) of the
 Bankruptcy Code, must be filed and served on the Reorganized Debtor and other parties required
 to be served by the Compensation Procedures Order no later than forty-five (45) days after the
 Effective Date, unless otherwise ordered by the Bankruptcy Court; provided, however, that AHC
 of Supporting Counsel shall be deemed to have substantially contributed to the Chapter 11 Case
 and shall not be required to make any further showing under section 503(b)(3)(D) of the
 Bankruptcy Code. Any objections to a final Fee Claim or any requests or claims under section
 503(b)(4) of the Bankruptcy Code must be filed no later than twenty (20) days after the filing of
 such Claim. The terms of the Compensation Procedures Order shall govern the allowance and
 payment of any final Fee Claims submitted in accordance with Section 2.2 of the Plan. The Fee
 Examiner appointed under the Fee Examiner Order shall continue to act in this appointed capacity
 unless and until all final Fee Claims have been approved by order of the Bankruptcy Court, and
 the Reorganized Debtor shall be responsible for the payment of the fees and expenses incurred by
 the Fee Examiner in rendering services after the Effective Date.

         The amount of the Fee Claims owing to the Professionals on and after the Effective Date
 shall be paid by the Reorganized Debtor in Cash to such Professionals as soon as reasonably
 practicable after such Claims are Allowed by a Bankruptcy Court order. Upon the Effective Date,
 any requirement that Professionals and Ordinary Course Professionals of the Reorganized Debtor
 comply with sections 327 through 331 and 1103 of the Bankruptcy Code, the Compensation
 Procedures Order, the Fee Examiner Order, or the Ordinary Course Professionals Order in seeking
 retention or compensation for services rendered after such date will terminate, and the Reorganized
 Debtor may employ and pay any Professional or Ordinary Course Professional in the ordinary
 course of business without any further notice to or action, order or approval of the Bankruptcy
 Court.

         (c)      Payment of Statutory Fees

         All fees payable under section 1930 of title 28 of the United States Code, as determined at
 the Confirmation Hearing by the Bankruptcy Court or the District Court, as applicable, shall be
 paid on or before the Effective Date. The Reorganized Debtor shall pay all such fees that arise
 after the Effective Date, but before the closing of the Chapter 11 Case, and shall comply with all
 applicable statutory reporting requirements.

         (d)      Allowed Priority Tax Claims

         On the Distribution Date, holders of Allowed Priority Tax Claims shall receive Cash equal
 to the amount of such Allowed Priority Tax Claims, plus Postpetition Interest, if any, in full
 satisfaction, settlement, release, and discharge of and in exchange for such Claims unless the
 holder of such Claim agrees to an alternative treatment. Notwithstanding the provisions of Section
 2.4 of the Plan, any Claim on account of any penalty arising with respect to or in connection with
 an Allowed Priority Tax Claim that does not compensate the holder for actual pecuniary loss shall
 be treated as a Class 3 Claim, and the holder (other than as the holder of a Class 3 Claim) may not
 assess or attempt to collect such penalty from the Reorganized Debtor or its property.



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 7.2     Treatment of Classified Claims and Equity Interests of the Debtor

         The classification and treatment of Claims against and Equity Interests in the Debtor are
 set forth in detail in Article III of the Plan.

         (a)      Class 1 – Priority Non-Tax Claims

                  (1)    Classification: Class 1 consists of all Priority Non-Tax Claims against the
                         Debtor.

                  (2)    Treatment: On the Distribution Date, each holder of an Allowed Class 1
                         Priority Non-Tax Claim shall receive Cash equal to the Allowed Amount of
                         such Priority Non-Tax Claim plus Postpetition Interest thereon, unless the
                         holder of such Claim, agrees to less favorable treatment.

                  (3)    Voting: Class 1 is Unimpaired and each holder of an Allowed Claim in
                         Class 1 is presumed to accept the Plan pursuant to section 1126(f) of the
                         Bankruptcy Code. No holder of an Allowed Claim in Class 1 is entitled to
                         vote to accept or reject the Plan.

         (b)      Class 2 – Secured Claims

                  (1)    Classification: Class 2 consists of all Secured Claims against the Debtor.

                  (2)    Treatment: On the Distribution Date, unless otherwise agreed to by the
                         holder of an Allowed Secured Claim in Class 2 and the Debtor or
                         Reorganized Debtor, each holder of an Allowed Class 2 Claim, at the option
                         of the Debtor or Reorganized Debtor, shall either (i) be paid in full in Cash,
                         plus Postpetition Interest thereon, or (ii) have its Allowed Class 2 Claim
                         Reinstated. Any Allowed Deficiency Claim of a holder of an Allowed
                         Secured Claim shall be entitled to treatment as an Allowed Class 3 Claim.

                  (3)    Voting: Class 2 is Unimpaired and each holder of an Allowed Claim in
                         Class 2 is presumed to accept the Plan pursuant to section 1126(f) of the
                         Bankruptcy Code. No holder of an Allowed Claim in Class 2 is entitled to
                         vote to accept or reject the Plan.

         (c)      Class 3 – Unsecured Claims

                  (1)    Classification: Class 3 consists of all Unsecured Claims against the Debtor.

                  (2)    Treatment: Each holder of an Allowed Unsecured Claim against the Debtor
                         shall be paid the Allowed Amount of its Unsecured Claim on the
                         Distribution Date. Such payment shall be (i) in full, in Cash, plus
                         Postpetition Interest, or (ii) upon such other less favorable terms as may be
                         mutually agreed upon between the holder of such Unsecured Claim and the
                         Debtor or Reorganized Debtor.




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                  (3)    Voting: Class 3 is Unimpaired and each holder of an Allowed Claim in
                         Class 3 is presumed to accept the Plan pursuant to section 1126(f) of the
                         Bankruptcy Code. No holder of an Allowed Claim in Class 3 is entitled to
                         vote to accept or reject the Plan.

         (d)      Class 4 – Talc Personal Injury Claims

                  (1)    Classification: Class 4 consists of all Talc Personal Injury Claims.

                  (2)    Treatment: On the Effective Date, liability for all Talc Personal Injury
                         Claims shall be channeled to and assumed by the Talc Personal Injury Trust
                         without further act or deed and shall be resolved in accordance with the Talc
                         Personal Injury Trust Documents. Pursuant to the Plan and Trust
                         Distribution Procedures, each holder of a Talc Personal Injury Claim shall
                         have its Claim permanently channeled to the Talc Personal Injury Trust, and
                         such Claim shall thereafter be resolved in accordance with the Talc Personal
                         Injury Trust Documents.

                  (3)    Voting: Class 4 is Impaired and each holder of a Talc Personal Injury Claim
                         in Class 4 is entitled to vote to accept or reject the Plan.

         (e)      Class 5 – Intercompany Claims

                  (1)    Classification: Class 5 consists of all Intercompany Claims.

                  (2)    Treatment: On the Effective Date, each Allowed Claim in Class 5 shall be
                         Reinstated.

                  (3)    Voting: Class 5 is Unimpaired and each holder of an Allowed Claim in
                         Class 5 is conclusively deemed to have accepted the Plan pursuant to section
                         1126(f) of the Bankruptcy Code. No holder of a Claim in Class 5 is entitled
                         to accept or reject the Plan.

         (f)      Class 6 – Equity Interests of the Debtor

                  (1)    Classification: Class 6 consists of all Equity Interests of the Debtor.

                  (2)    Treatment: On the Effective Date, Equity Interests of the Debtor shall be
                         Reinstated, and the holder of such Interests shall retain such Interests,
                         subject to the Talc PI Pledge.

                  (3)    Voting: Class 6 is Impaired and each holder of an Equity Interest of the
                         Debtor in Class 6 is entitled to vote to accept or reject the Plan.

 7.3     Conditions Precedent to the Confirmation of the Plan

         Confirmation of the Plan shall not occur unless each of the following conditions has been
 satisfied or waived pursuant to Section 8.3 of the Plan:



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         (a)      The Bankruptcy Court shall have entered an order, acceptable in form and
                  substance to the Debtor, J&J, and the AHC of Supporting Counsel approving the
                  Disclosure Statement as containing adequate information within the meaning of
                  section 1125 of the Bankruptcy Code.

         (b)      Class 4 shall have voted in requisite numbers and amounts in favor of the Plan as
                  required by sections 524(g), 1126, and 1129 of the Bankruptcy Code.

         (c)      The Plan and the Plan Supplement, including any schedules, documents,
                  supplements, and exhibits thereto, shall be in form and substance acceptable to the
                  Debtor, J&J, and the AHC of Supporting Counsel and shall be consistent with (i)
                  section 524(g) of the Bankruptcy Code, as applicable, and (ii) the other provisions
                  of the Plan.

         (d)      The Confirmation Order shall:

                  (1)    have been entered by the Bankruptcy Court and the District Court acting
                         jointly, or by the District Court affirming an order entered separately by the
                         Bankruptcy Court;

                  (2)    be reasonably acceptable in form and substance to the Debtor, J&J, and the
                         AHC of Supporting Counsel; and

                  (3)    provide for the Injunctions in form and substance acceptable to the Debtor,
                         J&J, and the AHC of Supporting Counsel.

         (e)      The Bankruptcy Court and the District Court acting jointly or the Bankruptcy Court
                  acting separately but affirmed by the District Court shall have made the following
                  findings, each of which shall be contained in the Confirmation Order:

                  (1)    The Channeling Injunction and the Insurance Entity Injunction are to be
                         implemented in connection with the Plan and the Talc Personal Injury Trust.

                  (2)    (A) As of the Effective Date, the Talc Personal Injury Trust shall assume all
                         liability and responsibility, financial and otherwise, for all Talc Personal
                         Injury Claims and (B) subject to the delivery, transfer, or assignment, as
                         applicable, to the Talc Personal Injury Trust of the Cash Contributions, Talc
                         PI Note, Talc Pledge Agreement, Imerys/Cyprus Related Rights, and Talc
                         Insurance Assets pursuant to Section 4.9 of the Plan, from and after the
                         Effective Date, no Protected Party (other than any Imerys/Cyprus Party, if
                         the Imerys/Cyrus Parties are Protected Parties, for claims based on, arising
                         out of, or in any way relating to the Imerys/Cyprus Related Rights, as
                         applicable) shall have any liability or responsibility, financial or otherwise,
                         for any Talc Personal Injury Claims.

                  (3)    As of the Petition Date, the Debtor had been named as a defendant in
                         personal injury or wrongful death actions seeking recovery for damages



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                         allegedly caused by the presence of, or exposure to, asbestos or
                         asbestos-containing products.

                  (4)    The Talc Personal Injury Trust shall be funded in whole or in part by
                         securities of the Reorganized Debtor and by the obligation of the
                         Reorganized Debtor to make future payments.

                  (5)    The Talc Personal Injury Trust, by the exercise of rights granted under the
                         Plan, would be entitled to own, if specified contingencies occur, a majority
                         of the voting shares of the Reorganized Debtor.

                  (6)    The Talc Personal Injury Trust shall use its assets or income to pay Talc
                         Personal Injury Claims, including Talc Personal Injury Demands.

                  (7)    As to Talc Personal Injury Demands:

                         (i)     The Debtor is likely to be subject to substantial future Talc Personal
                                 Injury Demands for payment arising out of the same or similar
                                 conduct or events that gave rise to the Talc Personal Injury Claims
                                 that are addressed by the Channeling Injunction and the Insurance
                                 Entity Injunction.

                         (ii)    The actual amounts, numbers, and timing of future Talc Personal
                                 Injury Demands cannot be determined.

                         (iii)   Pursuit of Talc Personal Injury Demands outside the procedures
                                 prescribed by the Plan and the Plan Documents, including the Trust
                                 Distribution Procedures, is likely to threaten the Plans purpose to
                                 deal equitably with Talc Personal Injury Claims and Talc Personal
                                 Injury Demands.

                  (8)    The terms of the Channeling Injunction and the Insurance Entity Injunction,
                         including any provisions barring actions against third parties pursuant to
                         section 524(g)(4)(A) of the Bankruptcy Code, are set out in the Plan and in
                         the Disclosure Statement.

                  (9)    The Plan establishes a separate class of the claimants whose claims are to
                         be addressed by the Talc Personal Injury Trust which class has voted, by at
                         least 75% of those voting, in favor of the Plan.

                  (10)   Pursuant to court orders or otherwise, the Talc Personal Injury Trust shall
                         operate through mechanisms, such as structured, periodic, or supplemental
                         payments, pro rata distributions, matrices, or periodic review of estimates
                         of the numbers and values of Talc Personal Injury Claims, or other
                         comparable mechanisms, that provide reasonable assurance that the Talc
                         Personal Injury Trust shall value, and be in a financial position to pay, Talc
                         Personal Injury Claims, including Talc Personal Injury Demands, that
                         involve similar claims in substantially the same manner.


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                  (11)   Each Protected Party is:

                         (i)    identifiable from the terms of the Channeling Injunction and the
                                Insurance Entity Injunction by name or as part of an identifiable
                                group and is or may be alleged to be directly or indirectly liable for
                                the conduct of, claims against, or demands on the Debtor to the
                                extent that such alleged liability arises by reason of one or more of
                                the following:

                                (a)     such Person's ownership of a financial interest in the Debtor
                                        or the Reorganized Debtor, a past or present affiliate of the
                                        Debtor or the Reorganized Debtor, or a predecessor in
                                        interest of the Debtor or the Reorganized Debtor (including
                                        Old JJCI);

                                (b)     such Person's involvement in the management of the Debtor
                                        or the Reorganized Debtor or a predecessor in interest of the
                                        Debtor or the Reorganized Debtor (including Old JJCI);

                                (c)     such Person's service as an officer, director, manager, or
                                        employee of the Debtor or the Reorganized Debtor, a past or
                                        present affiliate of the Debtor or the Reorganized Debtor, a
                                        predecessor in interest of the Debtor or the Reorganized
                                        Debtor (including Old JJCI), or a Person that owns or at any
                                        time has owned a financial interest in the Debtor or the
                                        Reorganized Debtor, a past or present affiliate of the Debtor
                                        or the Reorganized Debtor or a predecessor in interest of the
                                        Debtor or the Reorganized Debtor (including Old JJCI);

                                (d)     such Person's provision of insurance to the Debtor or the
                                        Reorganized Debtor, a past or present affiliate of the Debtor
                                        or the Reorganized Debtor, a predecessor in interest of the
                                        Debtor or the Reorganized Debtor (including Old JJCI), or a
                                        Person that owns or at any time has owned a financial
                                        interest in the Debtor or the Reorganized Debtor, a past or
                                        present affiliate of the Debtor or the Reorganized Debtor, or
                                        a predecessor in interest of the Debtor or the Reorganized
                                        Debtor (including Old JJCI); or

                                (e)     such Person's involvement in a transaction changing the
                                        corporate structure, or in a loan or other financial transaction
                                        affecting the financial condition, of the Debtor or the
                                        Reorganized Debtor, a past or present affiliate of the Debtor
                                        or the Reorganized Debtor, a predecessor in interest of the
                                        Debtor or the Reorganized Debtor (including Old JJCI), or
                                        any Person that owns or at any time has owned a financial
                                        interest in the Debtor or the Reorganized Debtor, a past or



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                                        present affiliate of the Debtor or the Reorganized Debtor, or
                                        a predecessor in interest of the Debtor or the Reorganized
                                        Debtor (including Old JJCI), including (I) involvement in
                                        providing financing (debt or equity) or advice to a Person
                                        involved in such a transaction or (II) acquiring or selling a
                                        financial interest in any Person as part of such transaction;
                                        and/or

                         (ii)   otherwise entitled to the Channeling Injunction pursuant to section
                                105(a) of the Bankruptcy Code.

                  (12)   The FCR was appointed as part of the proceedings leading to issuance of
                         the Channeling Injunction and the Insurance Entity Injunction for the
                         purpose of protecting the rights of all Persons, whether known or unknown,
                         that might subsequently assert, directly or indirectly, against the Debtor a
                         Talc Personal Injury Demand that is addressed in the Channeling Injunction
                         and the Insurance Entity Injunction and channeled to the Talc Personal
                         Injury Trust.

                  (13)   Identifying each Protected Party (by name or as part of an identifiable
                         group, as applicable) in the Channeling Injunction and the Insurance Entity
                         Injunction is fair and equitable with respect to individuals that might assert
                         Talc Personal Injury Demands against each such Protected Party, in light of
                         the benefits provided, or to be provided, to the Talc Personal Injury Trust
                         by or on behalf of any such Protected Party.

                  (14)   The Plan and the Plan Documents comply with section 524(g) of the
                         Bankruptcy Code in all respects, and the Talc Personal Injury Trust
                         Documents are fully consistent with the Plan.

                  (15)   The Plan, including the Channeling Injunction and the Insurance Entity
                         Injunction, and the other Plan Documents are a fair, equitable, and
                         reasonable resolution of the liability of the Debtor for the Talc Personal
                         Injury Claims, including Talc Personal Injury Demands.

                  (16)   The FCR has adequately and completely fulfilled her duties,
                         responsibilities, and obligations as the representative for any and all persons
                         who may assert Talc Personal Injury Demands in the future, but who are
                         currently unknown, in accordance with section 524(g) of the Bankruptcy
                         Code.

                  (17)   Adequate and sufficient notice of the Plan and the Confirmation Hearing,
                         as well as all deadlines for objecting to the Plan, has been given to: (A) all
                         known creditors and holders of Interests; (B) parties that requested notice
                         in accordance with Bankruptcy Rule 2002 (including the TCC and the
                         FCR); (C) all parties to Unexpired Leases and Executory Contracts with the
                         Debtor; (D) all taxing authorities listed on the Debtor's Schedules or in the



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                         Debtor's Claims database; (E) the Department of the Treasury by service
                         upon the District Director of the IRS; (F) state attorneys general and state
                         departments of revenue for states in which the Debtor has conducted
                         business; and (G) the Securities and Exchange Commission; in each case,
                         (I) in accordance with the solicitation procedures governing such service
                         and (II) in substantial compliance with Bankruptcy Rules 2002(b), 3017,
                         and 3020(b). Such transmittal and service were adequate and sufficient to
                         bind, among other parties, each holder of a Talc Personal Injury Claim, and
                         each party represented by the FCR, and no other or further notice is or shall
                         be required.

                  (18)   Each holder of a Talc Personal Injury Claim and each party represented by
                         the TCC or the FCR has been afforded due process based on the notice
                         referenced in clause (17) above, the appointment of the TCC and the FCR,
                         and the Plan's compliance with section 524(g) of the Bankruptcy Code.

                  (19)   The Bankruptcy Code authorizes the transfer and assignment of the
                         Imerys/Cyprus Related Rights by the Reorganized Debtor to the Talc
                         Personal Injury Trust pursuant to Section 4.9.4 of the Plan, and from and
                         after the transfer and assignment of the Imerys/Cyprus Related Rights by
                         the Reorganized Debtor to the Talc Personal Injury Trust, no Imerys/Cyprus
                         Party may assert under any Imerys/Cyprus Agreement or otherwise (i) any
                         defense that the Plan or any other Plan Document does not comply with the
                         Bankruptcy Code or (ii) any defense that the transfer and assignment of the
                         Imerys/Cyprus Related Rights by the Reorganized Debtor to the Talc
                         Personal Injury Trust pursuant to Section 4.9.3 of the Plan, or any other
                         action contemplated by Section 4.9.3 of the Plan, is prohibited by any
                         Imerys/Cyprus Agreement or by applicable non-bankruptcy law.

                  (20)   The Bankruptcy Code authorizes the transfer and assignment of the Talc
                         Insurance Assets by the Reorganized Debtor to the Talc Personal Injury
                         Trust pursuant to Section 4.9.4 of the Plan, and from and after the transfer
                         and assignment of the Talc Insurance Assets to the Talc Personal Injury
                         Trust pursuant to Section 4.9.4 of the Plan, no Talc Insurance Company may
                         assert under any Talc Insurance Policy or Talc Insurance Settlement
                         Agreement (i) any defense that the Plan or any other Plan Document does
                         not comply with the Bankruptcy Code or (ii) any defense that the transfer
                         and assignment of the Talc Insurance Assets by the Reorganized Debtor to
                         the Talc Personal Injury Trust pursuant to Section 4.9.4 of the Plan, or any
                         other action contemplated by Section 4.9.4 of the Plan, is prohibited by any
                         Talc Insurance Policy or Talc Insurance Settlement Agreement or by
                         applicable non-bankruptcy law.

                  (21)   Neither the Plan nor any other Plan Document, including the Trust
                         Distribution Procedures, creates any obligation under Case Management
                         Order No. 7(A) entered by the United States District Court for the District
                         of New Jersey in the multidistrict litigation In re: Johnson & Johnson


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                         Talcum Powder Products Marketing, Sales Practices and Products
                         Liability Litigation, Civil Action No. 3:16-md-02738, that would require
                         the Reorganized Debtor or the Talc Personal Injury Trust to withhold any
                         amounts from payments made by it under the Plan or any other Plan
                         Document, including the Trust Distribution Procedures, in respect of Talc
                         Personal Injury Claims to account for any common benefit assessments
                         thereunder or to make any payment to the common benefit fund account
                         established pursuant thereto.

         (f)      The Bankruptcy Court and the District Court, as required, shall have entered an
                  order approving the Channeling Injunction and the Insurance Entity Injunction,
                  which order may be included in the Confirmation Order and which order shall be
                  in form and substance acceptable to the Debtor, J&J, and the AHC of Supporting
                  Counsel.

 7.4     Conditions Precedent to the Effective Date of the Plan

        Notwithstanding any other provision of the Plan or the Confirmation Order, the Effective
 Date of the Plan shall occur on the first Business Day on which each of the following conditions
 has been satisfied or waived pursuant to Section 8.3 of the Plan:

         (a)      The Confirmation Order in form and substance reasonably acceptable to the Debtor,
                  J&J, and the AHC of Supporting Counsel shall have been entered by the
                  Bankruptcy Court and the District Court acting jointly or by the District Court
                  affirming an order entered separately by the Bankruptcy Court, and shall have
                  become a Final Order.

         (b)      An order shall have been entered by the Bankruptcy Court and the District Court
                  acting jointly or by the District Court affirming an order entered separately by the
                  Bankruptcy Court approving the Channeling Injunction and the Insurance Entity
                  Injunction and authorizing the Debtor and the Reorganized Debtor to implement
                  the Plan, which order may be included in the Confirmation Order and which order
                  shall be in form and substance acceptable to the Debtor, J&J, and the AHC of
                  Supporting Counsel.

         (c)      The Confirmation Order, the Channeling Injunction, and the Insurance Entity
                  Injunction shall be in full force and effect, and no order shall be in effect staying or
                  enjoining the implementation or enforcement of the Plan, the Confirmation Order,
                  the Channeling Injunction, or the Insurance Entity Injunction.

         (d)      No request for revocation of the Confirmation Order under section 1144 of the
                  Bankruptcy Code shall be pending.

         (e)      The Talc Personal Injury Trust Defenses, initial Cash Contribution, Talc PI Note,
                  Talc PI Pledge Agreement, Imerys/Cyprus Related Rights, and Trust Insurance
                  Assets shall, simultaneously with the occurrence of the Effective Date or as
                  otherwise provided herein, be delivered, transferred, and assigned, as applicable, to
                  the Talc Personal Injury Trust in accordance with Article IV of the Plan.


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         (f)      The Talc Personal Injury Trust Agreement (and related documents), and the other
                  applicable Plan Documents (including those attached to the Plan Supplement)
                  necessary or appropriate to implement the Plan shall have been executed, delivered,
                  and, where applicable, filed with the appropriate governmental units in form and
                  substance acceptable to the Debtor, J&J, and the AHC of Supporting Counsel, and
                  shall be fully enforceable in accordance with their terms.

         (g)       The fees of the United States Trustee then owing by the Debtor shall have been
                  paid in full.

         (h)      The Canadian Court shall have entered an order in the Canadian Proceeding
                  recognizing the Confirmation Order in its entirety and ordering the Confirmation
                  Order and the Plan to be implemented and effective in Canada in accordance with
                  their terms.

         The Effective Date shall occur as of 12:01 a.m., prevailing Eastern Time, on the date that
 the Debtor or Reorganized Debtor files a notice with the Bankruptcy Court stating that the
 Effective Date has occurred because each of the conditions to the Effective Date has been satisfied
 or waived in accordance with the Plan.

 7.5     Waiver of Conditions Precedent

         Pursuant to Section 8.3 of the Plan, to the greatest extent permitted by law, each of the
 conditions precedent in Article VIII of the Plan may be waived or modified, in whole or in part,
 by the Debtor (with the consent of (a) in the event such waiver or modification affects the rights
 of J&J expressly contained herein, J&J and (b) in the event such waiver or modification affects
 the rights of the AHC of Supporting Counsel expressly contained herein, the AHC of Supporting
 Counsel). Any waiver or modification of a condition precedent under Section 8.3 of the Plan may
 be effected at any time, without notice, without leave or order of the Bankruptcy Court or District
 Court, and without any other formal action. Confirmation and the Effective Date shall occur
 irrespective of whether any Claims allowance process or related litigation has been completed.

 7.6     Notice of Effective Date

         Pursuant to Section 8.4 of the Plan, the Debtor shall file with the Bankruptcy Court a notice
 of the occurrence of the Effective Date within five (5) Business Days thereafter, which notice shall
 confirm that the conditions described in Sections 8.1 and 8.2 of the Plan have been satisfied or
 waived.

 7.7     Effect of Nonoccurrence of Conditions Precedent to the Effective Date of the Plan

          If any of the conditions precedent to the Effective Date of the Plan set forth in Section 8.2
 of the Plan has not been satisfied or duly waived in accordance with Section 8.3 of the Plan, then,
 upon motion by the Debtor made before the time that each of such conditions precedent has been
 satisfied or duly waived and upon notice to such parties in interest as the Bankruptcy Court may
 direct, the Confirmation Order shall be vacated by the Bankruptcy Court; provided, however, that,
 notwithstanding the filing of such motion, the Confirmation Order may not be vacated if each of
 the conditions precedent set forth in Section 8.2 of the Plan is either satisfied or duly waived before


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 the Bankruptcy Court enters an order granting such motion. If the Confirmation Order is vacated
 pursuant to Section 8.5 of the Plan: (a) the Plan shall be null and void in all respects, including
 with respect to the discharge of Claims; and (b) nothing contained in the Plan shall (i) constitute a
 waiver or release of any Claims by or against, or any Interest in, the Debtor or (ii) prejudice in any
 manner the rights, including any claims or defenses, of the Debtor or any other Person.

 7.8     Means for Implementation of the Plan

         (a)      General

         On or after the Confirmation Date, the Debtor shall be empowered and authorized to take
 or cause to be taken, prior to the Effective Date, all actions necessary or appropriate to achieve the
 Effective Date and enable the Reorganized Debtor to implement effectively the provisions of the
 Plan, the Talc Personal Injury Trust Documents, and the Confirmation Order, including the
 creation of the Talc Personal Injury Trust and the preparations for the delivery, transfer, and
 assignment of assets to the Talc Personal Injury Trust pursuant to Article IV of the Plan.

         (b)      Operations of the Debtor Prior to the Effective Date

         The Debtor shall continue to operate as debtor and debtor-in-possession through and until
 the Effective Date.

         (c)      Articles of Organization and Operating Agreement

        From and after the Effective Date, the Reorganized Debtor shall be governed pursuant to
 the Amended Charter Documents. The Amended Articles of Organization and the Amended
 Operating Agreement shall contain such provisions as are necessary to satisfy the provisions of
 the Plan and, to the extent necessary to prohibit the issuance of non-voting equity securities as
 required by section 1123(a)(6) of the Bankruptcy Code, subject to further amendment of the
 Amended Charter Documents after the Effective Date, as permitted by applicable law.

         (d)      Corporate Action

         On the Effective Date, the matters under the Plan involving or requiring corporate action
 of the Debtor or Reorganized Debtor, including actions requiring a vote of the board of managers
 and execution of all documentation incident to the Plan, shall be deemed to have been authorized
 by the Confirmation Order and to have occurred and be in effect from and after the Effective Date
 without any further action by the Bankruptcy Court or the officers or managers of the Debtor or
 Reorganized Debtor.

         (e)      Authority of Officers

        Each officer of the Debtor and the Reorganized Debtor shall be authorized and empowered
 to execute, deliver, file, or record such contracts, instruments, releases, and other agreements and
 documents and take such other actions as may be necessary or appropriate to effect and implement
 the provisions of the Plan. The secretary or any assistant secretary of the Debtor or the
 Reorganized Debtor shall be authorized to certify or attest to any of the actions taken pursuant to
 Section 9.5 of the Plan.


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         (f)      Post-Effective Date Governance, Continued Existence of the Reorganized Debtor

                  (1)    General. The Reorganized Debtor shall continue its existence as a separate
                         entity after the Effective Date, with all the powers thereof, pursuant to the
                         applicable law in the jurisdiction in which the Reorganized Debtor is formed
                         and pursuant to the Amended Charter Documents and any other formation
                         documents in effect following the Effective Date, and such documents are
                         deemed to be adopted pursuant to the Plan and require no further action or
                         approval.

                  (2)    Officers and Managers. On the Effective Date, the officers and managers of
                         the Reorganized Debtor shall consist of the individuals that will be
                         identified in Exhibit O of the Plan.

                  (3)    Property and Operations. On the Effective Date, all property of the Debtor's
                         Estate other than the assets delivered, transferred, or assigned to the Talc
                         Personal Injury Trust pursuant to Article IV of the Plan, including any
                         property acquired by the Debtor or the Reorganized Debtor pursuant to the
                         Plan, shall vest in the Reorganized Debtor, free and clear of all Claims,
                         interests, liens, other Encumbrances, and liabilities of any kind. On and
                         after the Effective Date, the Reorganized Debtor may operate its business
                         and may use, acquire, or dispose of property and compromise or settle any
                         claims, interests, or Retained Rights of Action, without supervision or
                         approval by the Bankruptcy Court, or notice to any other Person, and free
                         of any restrictions of the Bankruptcy Code or Bankruptcy Rules.

         (g)      Arrangements of the Reorganized Debtor with Managers, Officers, and Employees

        As of the Effective Date, the Reorganized Debtor shall be authorized to: (a) maintain,
 amend, or revise existing indemnification and other arrangements with its active and retired
 managers and officers, subject to the terms and conditions of any such agreement, or enter into
 new indemnification and other arrangements with its active and retired managers and officers; and
 (b) maintain, amend, cancel, or revise the Secondment Agreement or enter into new employee
 secondment arrangements with its Affiliates; all as determined by the board of managers of the
 Reorganized Debtor.

         (h)      Good Faith Compromise and Settlement

         The Plan, the other Plan Documents, and the Confirmation Order constitute a good faith
 compromise and settlement of Claims and controversies based on the unique circumstances of this
 Chapter 11 Case, and none of the foregoing documents, the Disclosure Statement, or any other
 papers filed in furtherance of Plan Confirmation, nor any drafts of such documents, may be offered
 into evidence or deemed as an admission in any context whatsoever beyond the purposes of the
 Plan, in any other litigation or proceeding, except as necessary, and as admissible in such context,
 to enforce their terms before the Bankruptcy Court or any other court of competent jurisdiction.




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         (i)      Resolution of Talc Personal Injury Claims

         Talc Personal Injury Claims shall be channeled to and resolved by the Talc Personal Injury
 Trust in accordance with the Talc Personal Injury Trust Documents, subject to: (a) the right of
 any Talc Insurance Company to raise any valid Talc Insurer Coverage Defense in response to any
 claim, cause of action, or right asserted by the Talc Personal Injury Trust (acting through the
 Reorganized Debtor, as its agent and subrogee having the exclusive right to right (i) to pursue and
 resolve any Talc In-Place Insurance Coverage, (ii) to pursue and resolve any Talc Insurance
 Action, (iii) to pursue and obtain any Talc Insurance Recoveries, and (iv) to negotiate and enter
 into any Talc Insurance Settlement Agreement, pursuant to the Cooperation Agreement) in respect
 of any Talc Insurance Assets; and (b) the right of any Imerys/Cyprus Party to raise any valid
 Imerys/Cyprus Defense in response to any claim, cause of action, or right asserted by the Talc
 Personal Injury Trust in respect of any Imerys/Cyprus Related Rights.

         (j)      Cash for Cash Contributions, Distributions, and Other Payments Pursuant to the
                  Plan

         All Cash for the payment of Cash Contributions, Distributions, and other Cash payments
 to be made by the Reorganized Debtor pursuant to the Plan and the Talc Personal Injury Trust
 Documents shall be funded by the Reorganized Debtor. All Cash necessary for the Reorganized
 Debtor to fund the payment of such Cash Contributions, Distributions, and other Cash payments
 pursuant to the Plan and the Talc Personal Injury Trust Documents shall be obtained through (a) the
 Reorganized Debtor's Cash balances or, (b) the Funding Agreement and, if such funding is not
 provided to the Reorganized Debtor under the Funding Agreement as required pursuant thereto,
 the Support Agreement, or (c) such other means of financing or funding as determined by the board
 of managers of the Reorganized Debtor. On the Effective Date, J&J and Holdco shall execute and
 deliver to the Talc Personal Injury Trust the Cash Contributions Parent Guarantee as provided in
 Section 4.9.1(c) of the Plan. For the avoidance of doubt, nothing contained in Section 9.10 of the
 Plan shall in any way affect the obligations of J&J and Holdco under the Cash Contributions Parent
 Guarantee.

         (k)      Modification of the Plan

         To the extent permissible under section 1127 of the Bankruptcy Code, any proposed
 amendments to or modifications of the Plan under section 1127 of the Bankruptcy Code or as
 otherwise permitted by law will be submitted by the Debtor, without additional disclosure pursuant
 to section 1125 of the Bankruptcy Code at any time prior to substantial consummation of the Plan,
 unless section 1127 of the Bankruptcy Code requires additional disclosure. To the extent
 permissible under section 1127(b) of the Bankruptcy Code, following substantial consummation
 of the Plan, the Reorganized Debtor may remedy any defects or omissions or reconcile any
 inconsistencies in the Plan Documents for the purpose of implementing the Plan in such manner
 as may be necessary or appropriate to carry out the purposes and intent of the Plan. From and after
 the Effective Date, any holder of a Claim or Interest that has accepted the Plan shall be deemed to
 have accepted the Plan as amended, modified, or supplemented pursuant to Section 9.11 of the
 Plan, unless the Bankruptcy Court rules otherwise.




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         (l)      Revocation or Withdrawal of the Plan

         The Debtor reserves the right to revoke and withdraw the Plan at any time before its
 substantial consummation. If the Debtor revokes or withdraws the Plan, the Plan shall be deemed
 null and void and nothing contained herein shall be deemed to constitute a waiver or release of any
 Claims by or against the Debtor, or any other Person, or to prejudice in any manner the rights of
 the Debtor, or such Person in any further proceedings involving the Debtor until the occurrence of
 the Effective Date. For the avoidance of doubt, unless and until the Plan is confirmed and the
 Effective Date occurs, the Plan will have no force or effect.

         (m)      Certain Technical Modifications

         Prior to the Effective Date, the Debtor may make appropriate technical adjustments and
 modifications to the Plan without further order or approval of the Bankruptcy Court, to the extent
 permissible under section 1127 of the Bankruptcy Code; provided, however, that such technical
 adjustments and modifications do not adversely affect in a material way the rights or protections
 of the Protected Parties or the treatment of holders of Claims or Interests under the Plan.

 7.9     Effect of Confirmation

         (a)      Preservation of Rights of Action by the Debtor and Reorganized Debtor

                  (1)    Retained Rights of Action. The Reorganized Debtor shall retain and may
                         enforce, prosecute or settle, and shall have the sole right to enforce,
                         prosecute or settle, the Retained Rights of Action. The Reorganized Debtor
                         or its successors may pursue or resolve such Retained Rights of Action, as
                         appropriate in accordance with the best interests of the Reorganized Debtor
                         or its successors holding such Retained Rights of Action. The Reorganized
                         Debtor's rights under Section 10.1.1 of the Plan shall be preserved
                         notwithstanding the occurrence of the Effective Date.

                  (2)    Reservation of Rights. No Person may rely on the absence of a specific
                         reference in the Plan, the Plan Supplement, or the Disclosure Statement to
                         any Retained Rights of Action against them as any indication that the
                         Reorganized Debtor will not pursue the Retained Rights of Action. The
                         Reorganized Debtor expressly reserves all rights to prosecute any and all
                         Retained Rights of Action. Unless any of the Retained Rights of Action
                         against a Person are expressly waived, relinquished, exculpated, released,
                         compromised, or settled in the Plan or a Bankruptcy Court order, the
                         Reorganized Debtor expressly reserves all such Retained Rights of Action
                         for later adjudication, and, therefore, no preclusion doctrine, including the
                         doctrines of res judicata, collateral estoppel, issue preclusion, claim
                         preclusion, estoppel (judicial, equitable, or otherwise), or laches, shall apply
                         to such Retained Rights of Action as a consequence of the Confirmation of
                         the Plan.

                  (3)    Retained Defenses. Without limiting the generality of the foregoing, upon
                         the Effective Date, except as expressly provided in Article IV of the Plan


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                         with respect to Talc Personal Injury Trust Defenses, Imerys/Cyprus Related
                         Rights, and Talc Insurance Assets, the Reorganized Debtor shall retain and
                         enforce all defenses and counterclaims to all Claims that were or could have
                         been asserted against the Debtor or its Estate, including setoff, recoupment,
                         and any rights under section 502(d) of the Bankruptcy Code.

                  (4)    No Approval Required. On or after the Effective Date, subject to Article IV
                         of the Plan with respect to Talc Personal Injury Trust Defenses,
                         Imerys/Cyprus Related Rights, and Talc Insurance Assets, the Reorganized
                         Debtor may pursue, settle, or withdraw, without Bankruptcy Court
                         approval, claims, rights, or causes of action as it determines in accordance
                         with its best interests.

         (b)      Imerys/Cyprus Related Rights

        The provisions of Section 10.2 of the Plan shall apply to all Persons (including the
 Imerys/Cyprus Parties).

                  (1)    Preservation of Imerys/Cyprus Related Rights. All Imerys/Cyprus Related
                         Rights, and all claims, causes of action, and rights in respect thereof, shall
                         be preserved notwithstanding anything to the contrary contained in the Plan
                         or the Confirmation Order. For the avoidance of doubt, nothing in the Plan
                         or the Confirmation Order shall discharge, settle, release, enjoin, or
                         otherwise impair any claim against any Imerys/Cyprus Party based on,
                         arising out of, or in any way relating to the Imerys/Cyprus Related Rights.

                  (2)    Actions in Respect of Imerys/Cyprus Related Rights From and After the
                         Effective Date.

                         (i)     Upon the transfer and assignment of the Imerys/Cyprus Related
                                 Rights by the Reorganized Debtor to the Talc Personal Injury Trust
                                 pursuant to Section 4.9.3 of the Plan on the Effective Date, the
                                 Imerys/Cyprus Related Rights shall exclusively vest in the Talc
                                 Personal Injury Trust in accordance with section 1123(a)(5)(B) of the
                                 Bankruptcy Code;

                         (ii)    From and after the transfer and assignment of the Imerys/Cyprus
                                 Related Rights by the Reorganized Debtor to the Talc Personal
                                 Injury Trust pursuant to Section 4.9.3 of the Plan on the Effective
                                 Date, the Talc Personal Injury Trust shall retain the Imerys/Cyprus
                                 Related Rights, and all claims, causes of action, and rights in respect
                                 thereof, as the appointed estate representative in accordance with
                                 section 1123(b)(3)(B) of the Bankruptcy Court; and

                         (iii)   From and after the transfer and assignment of the Imerys/Cyprus
                                 Related Rights by the Reorganized Debtor to the Talc Personal
                                 Injury Trust pursuant to Section 4.9.3 of the Plan on the Effective



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                               Date, the Talc Personal Injury Trust shall have the exclusive right to
                               pursue and resolve the Imerys/Cyprus Related Rights.

                  (3)   No Impairment of Rights or Obligations of Imerys/Cyprus Parties.

                        (i)    Nothing contained in the Plan, the Plan Documents, or the
                               Confirmation Order, including any provision that purports to be
                               preemptory or supervening, shall in any way operate to, or have the
                               effect of, impairing, altering, supplementing, changing, expanding,
                               decreasing, or modifying the rights or obligations of any
                               Imerys/Cyprus Party or the Debtor arising out of or under any
                               Imerys/Cyprus Agreement. For all issues relating to indemnity
                               rights of the Debtor, including the venue and choice-of-law rules for
                               resolving disputes relating thereto, the provisions, terms, conditions,
                               and limitations of the Imerys/Cyprus Agreements shall control. For
                               the avoidance of doubt, nothing contained in the Plan, the Plan
                               Documents, or the Confirmation Order shall operate to require any
                               Imerys/Cyprus Party to indemnify or pay the liability of any other
                               Protected Party that it would not have been required to pay in the
                               absence of the Plan, or to impose any requirement for an
                               Imerys/Cyprus Party to mount the defense of any claim, indemnify
                               any claim, or otherwise undertake any action that an Imerys/Cyprus
                               Party would not have been required to take in the absence of the
                               Plan.

                        (ii)   The Plan, the Plan Documents, the Confirmation Order, and all
                               proceedings, determinations, and findings in, of, or by the
                               Bankruptcy Court are neutral with respect to, and have no effect on,
                               the rights, defenses, and obligations of the Debtor, the
                               Imerys/Cyprus Parties, and the Talc Personal Injury Trust under the
                               Imerys/Cyprus Agreements. Nothing in the Chapter 11 Case shall
                               be construed otherwise or be used as evidence to support or suggest
                               a construction to the contrary.

                  (4)   Plan Binding on Imerys/Cyprus Parties. The Plan, the Plan Documents, and
                        the Confirmation Order shall be binding on the Imerys/Cyprus Parties;
                        provided, however, that, except as provided in Section 10.2.5 of the Plan,
                        none of (a) the Bankruptcy Court's approval of the Plan or the Plan
                        Documents, (b) the Confirmation Order or any findings and conclusions
                        entered with respect to Confirmation, nor (c) any estimation or valuation of
                        Talc Personal Injury Claims, either individually or in the aggregate
                        (including any agreement as to the valuation of Talc Personal Injury Claims)
                        in the Chapter 11 Case shall, with respect to the Imerys/Cyprus Parties,
                        constitute a trial or hearing on the merits or an adjudication, judgment,
                        finding, conclusion, or other determination, or be used as evidence of or
                        suggestion regarding the rights and obligations of any of them under any
                        Imerys/Cyprus Agreement.


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                  (5)    Issues Actually Litigated by Imerys/Cyprus Parties. Nothing in Section 10.2
                         of the Plan is intended or shall be construed to preclude otherwise applicable
                         principles of res judicata or collateral estoppel from being applied against
                         the Imerys/Cyprus Parties with respect to any issue that is actually litigated
                         by any of them as part of its objections, if any, to Confirmation of the Plan
                         or as part of any contested matter or adversary proceeding filed by any
                         Imerys/Cyprus Party in conjunction with or related to Confirmation of the
                         Plan; provided, however, that any Plan objection that an Imerys/Cyprus
                         Party withdraws prior to the conclusion of the Confirmation Hearing (or a
                         finding that an Imerys/Cyprus Party lacks standing to litigate or is otherwise
                         unable to or chooses not to litigate at or before the Confirmation Hearing)
                         shall be deemed not to have been actually litigated. The resolution of any
                         related objection raised by other parties and any related findings or
                         determinations (other than those contemplated by Section 8.1(e)(xix) of the
                         Plan) shall not be offered for evidentiary purposes nor be binding on any
                         Imerys/Cyprus Party in any way or otherwise prejudice, impair, or affect
                         (under principles of preclusion, waiver, estoppel, or otherwise) an
                         Imerys/Cyprus Party's legal, equitable, or contractual rights or obligations.
                         No Imerys/Cyprus Party shall be bound, prejudiced, impaired, or affected
                         (under principles of preclusion, waiver, estoppel, or otherwise) by the fact
                         that an Imerys/Cyprus Party withdrew, chose to withdraw, or did not press
                         any objection or argument before or after Confirmation.

         (c)      Talc Insurance Assets

        The provisions of Section 10.3 of the Plan shall apply to all Persons (including all Talc
 Insurance Companies).

                  (1)    Preservation of Talc Insurance Assets. Except as otherwise provided in
                         Section 11.2.1 of the Plan, all Talc Insurance Assets, and all claims, causes
                         of action, and rights in respect thereof, shall be preserved notwithstanding
                         anything to the contrary contained in the Plan or the Confirmation Order.
                         For the avoidance of doubt, except as otherwise provided in Section 11.2.1
                         of the Plan, nothing in the Plan or the Confirmation Order shall discharge,
                         settle, release, enjoin, or otherwise impair any claim against any Talc
                         Insurance Company based on, arising out of, or in any way relating to the
                         Talc Insurance Assets.

                  (2)    Actions in Respect of Talc Insurance Assets From and After the Effective
                         Date.

                         (i)    Upon the transfer and assignment of the Talc Insurance Assets by
                                the Reorganized Debtor to the Talc Personal Injury Trust pursuant
                                to Section 4.9.4 of the Plan on the Effective Date, subject to the
                                provisions of Section 4.9.4 of the Plan and the Cooperation
                                Agreement, the Talc Insurance Assets shall exclusively vest in the




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                                Talc Personal Injury Trust in accordance with section 1123(a)(5)(B)
                                of the Bankruptcy Code;

                        (ii)    From and after the transfer and assignment of the Talc Insurance
                                Assets by the Reorganized Debtor to the Talc Personal Injury Trust
                                pursuant to Section 4.9.4 of the Plan on the Effective Date, subject
                                to the provisions of Section 4.9.4 of the Plan and the Cooperation
                                Agreement, the Talc Personal Injury Trust shall retain the Talc
                                Insurance Assets, and all claims, causes of action, and rights in
                                respect thereof, as the appointed estate representative in accordance
                                with section 1123(b)(3)(B) of the Bankruptcy Court; and

                        (iii)   From and after the transfer and assignment of the Talc Insurance
                                Assets by the Reorganized Debtor to the Talc Personal Injury Trust
                                pursuant to Section 4.9.4 of the Plan on the Effective Date, pursuant
                                to the provisions of Section 4.9.4 of the Plan and the Cooperation
                                Agreement, (i) the Reorganized Debtor, as the agent for and
                                subrogee of the Talc Personal Injury Trust, shall have the exclusive
                                right (A) to pursue and resolve any Talc In-Place Insurance
                                Coverage, (B) to pursue and resolve any Talc Insurance Action, (C)
                                to pursue and obtain any Talc Insurance Recoveries, and (D) to
                                negotiate and enter into any Talc Insurance Settlement Agreement
                                and (ii) any of the following received by the Talc Personal Injury
                                Trust shall be delivered to, and retained by, the Reorganized Debtor:
                                (A) all proceeds of Talc In-Place Insurance Coverage; (B) all
                                proceeds or benefits of any Talc Insurance Action; and (C) all
                                amounts payable pursuant to any Talc Insurance Settlement
                                Agreement. For the avoidance of doubt, nothing in the Plan, the
                                Plan Documents, or the Confirmation Order shall impair or
                                otherwise affect any rights that any LTL Corporate Party may have
                                under any Talc Insurance Policy or Talc Insurance Settlement
                                Agreement.

                  (3)   No Impairment of Rights or Obligations of Talc Insurance Companies.

                        (i)     Except as provided in any Talc Insurance Settlement Agreement or
                                in Section 11.2.1 or Section 11.3.1 of the Plan, nothing contained in
                                the Plan, the Plan Documents, or the Confirmation Order, including
                                any provision that purports to be preemptory or supervening, shall
                                in any way operate to, or have the effect of, impairing, altering,
                                supplementing, changing, expanding, decreasing, or modifying the
                                rights or obligations of any Talc Insurance Company or the Debtor
                                arising out of or under any Talc Insurance Policy. For all issues
                                relating to insurance coverage, the provisions, terms, conditions, and
                                limitations of the Talc Insurance Policies or Talc Insurance
                                Settlement Agreements shall control. For the avoidance of doubt,
                                nothing contained in the Plan, the Plan Documents, or the


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                               Confirmation Order shall operate to require any Talc Insurance
                               Company to indemnify or pay the liability of any Protected Party
                               that it would not have been required to pay in the absence of the
                               Plan.

                        (ii)   The Plan, the Plan Documents, the Confirmation Order, and all
                               proceedings, determinations, and findings in, of, or by the
                               Bankruptcy Court are neutral with respect to, and have no effect on,
                               the rights, defenses, and obligations of the Debtor, the Talc
                               Insurance Companies, and the Talc Personal Injury Trust under the
                               Talc Insurance Policies. Nothing in the Chapter 11 Case shall be
                               construed otherwise or be used as evidence to support or suggest a
                               construction to the contrary.

                  (4)   Plan Binding on Talc Insurance Companies. The Plan, the Plan Documents,
                        and the Confirmation Order shall be binding on the Talc Insurance
                        Companies; provided, however, that, except as provided in Section 10.3.6
                        of the Plan, none of (a) the Bankruptcy Court's approval of the Plan or the
                        Plan Documents, (b) the Confirmation Order or any findings and
                        conclusions entered with respect to Confirmation, nor (c) any estimation or
                        valuation of Talc Personal Injury Claims, either individually or in the
                        aggregate (including any agreement as to the valuation of Talc Personal
                        Injury Claims) in the Chapter 11 Case shall, with respect to any Talc
                        Insurance Company, constitute a trial or hearing on the merits or an
                        adjudication, judgment, finding, conclusion, or other determination, or be
                        used as evidence of or suggestion regarding the rights and obligations of
                        any Talc Insurance Company under any Talc Insurance Policy.

                  (5)   Plan Protections of Settling Talc Insurance Companies. No provision of the
                        Plan, other than those provisions contained in the applicable Injunctions set
                        forth in Article XI of the Plan, shall be interpreted to affect or limit the
                        protections afforded to any Settling Talc Insurance Company by the
                        Channeling Injunction or the Insurance Entity Injunction.

                  (6)   Issues Actually Litigated by the Talc Insurance Companies. Nothing in
                        Section 10.3 of the Plan is intended or shall be construed to preclude
                        otherwise applicable principles of res judicata or collateral estoppel from
                        being applied against any Talc Insurance Company with respect to any issue
                        that is actually litigated by such Talc Insurance Company as part of its
                        objections, if any, to Confirmation of the Plan or as part of any contested
                        matter or adversary proceeding filed by such Talc Insurance Company in
                        conjunction with or related to Confirmation of the Plan; provided, however,
                        that any Plan objection that a Talc Insurance Company withdraws prior to
                        the conclusion of the Confirmation Hearing (or a finding that a Talc
                        Insurance Company lacks standing to litigate or is otherwise unable to or
                        chooses not to litigate at or before the Confirmation Hearing) shall be
                        deemed not to have been actually litigated. The resolution of any related


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                         objection raised by other parties and any related findings or determinations
                         (other than those contemplated by Section 8.1(e)(xx) of the Plan) shall not
                         be offered for evidentiary purposes nor be binding on any Talc Insurance
                         Company in any way or otherwise prejudice, impair, or affect (under
                         principles of preclusion, waiver, estoppel, or otherwise) a Talc Insurance
                         Company's legal, equitable, or contractual rights or obligations. No Talc
                         Insurance Company shall be bound, prejudiced, impaired, or affected (under
                         principles of preclusion, waiver, estoppel, or otherwise) by the fact that a
                         Talc Insurance Company withdrew, chose to withdraw, or did not press any
                         objection or argument before or after Confirmation.

         (d)      Preservation of Rights of Action by the Talc Personal Injury Trust

          As of the Effective Date, the Talc Personal Injury Trust shall be empowered to initiate,
 prosecute, defend, settle, maintain, administer, preserve, pursue, and resolve all legal actions and
 other proceedings related to any asset, liability, or responsibility of the Talc Personal Injury Trust,
 including Talc Personal Injury Claims and Talc Personal Injury Trust Defenses. Without limiting
 the foregoing, on and after the Effective Date, the Talc Personal Injury Trust shall be empowered
 to initiate, prosecute, defend, settle, maintain, administer, preserve, pursue, and resolve all such
 actions in the name of either the Debtor or the Reorganized Debtor, if deemed necessary or
 appropriate by the Talc Personal Injury Trust. The Talc Personal Injury Trust shall be responsible
 for the payment of all damages, awards, judgments, settlements, expenses, costs, fees, and other
 charges incurred subsequent to the Effective Date arising out of or in any way relating to any such
 legal action or other proceeding. Section 10.4 of the Plan shall not apply to legal actions and other
 proceedings related to the Imerys/Cyprus Related Rights, which shall be pursued, resolved, and
 settled in accordance with the provisions of Section 4.9.3 and Section 10.2 of the Plan, or the Talc
 Insurance Assets, which shall be pursued, resolved, and settled in accordance with the provisions
 of Section 4.9.4 of the Plan, Section 10.3 of the Plan, and the Cooperation Agreement.

         (e)      Terms of Injunctions and Automatic Stay

                  (1)    General. All of the injunctions and/or automatic stays provided for in or in
                         connection with the Chapter 11 Case, whether pursuant to sections 105, 362,
                         or any other provision of the Bankruptcy Code, Bankruptcy Rules, or other
                         applicable law in existence immediately prior to the Confirmation Date,
                         shall remain in full force and effect until the Injunctions become effective
                         pursuant to a Final Order, and shall continue to remain in full force and
                         effect thereafter as and to the extent provided by the Plan, the Confirmation
                         Order, or by their own terms. In addition, on and after Confirmation, the
                         Debtor may seek such further orders as the Debtor deems necessary or
                         appropriate to preserve the status quo during the time between the
                         Confirmation Date and the Effective Date.

                  (2)    Effectiveness. Each of the Injunctions contained in the Plan or the
                         Confirmation Order shall become effective on the Effective Date and shall
                         continue in effect at all times thereafter unless otherwise provided by the
                         Plan or the Confirmation Order.



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         (f)      The FCR and the TCC

                  (1)    General. The FCR and the TCC shall continue in their official capacities
                         until the Effective Date. The Debtor shall pay the reasonable fees and
                         expenses incurred by the FCR and the TCC through the Effective Date, in
                         accordance with the Compensation Procedures Order, the Fee Examiner
                         Order, and the terms of the Plan, including Section 2.2.

                  (2)    Dissolution. On the Effective Date, the TCC shall dissolve and the members
                         of such committee shall be released and discharged from all duties and
                         obligations arising from or related to the Chapter 11 Case. Similarly, on the
                         Effective Date, the FCR shall be deemed released and discharged from all
                         duties and obligations from or related to the Chapter 11 Case. The
                         Professionals retained by the TCC and the members thereof or by the FCR
                         shall not be entitled to assert any Fee Claim for any services rendered or
                         expenses incurred after the Effective Date, except for services rendered and
                         expenses incurred in connection with any applications for allowance of
                         compensation and reimbursement of expenses pending on the Effective
                         Date or filed and served after the Effective Date pursuant to Section 2.2 of
                         the Plan.

         (g)      No Effect on United States Trustee

        Nothing in Section 10 of the Plan shall limit or otherwise affect the rights of the United
 States Trustee under section 502 of the Bankruptcy Code or otherwise to object to Claims or
 requests for allowance of Fee Claims and other Administrative Claims.

         (h)      Binding Effect

         Subject to Section 10.2 and Section 10.3 of the Plan, the Plan, the Plan Documents, and
 the Confirmation Order shall be binding on the Debtor, the Reorganized Debtor, the Talc Personal
 Injury Trust, any and all holders of Claims against or Interests in the Debtor (regardless of whether
 such Claim or Interest is Impaired and regardless of whether such holder voted to accept the Plan),
 and any and all other Persons that are affected in any manner by the Plan.

 7.10    Discharge, Settlement, Releases, Injunctions, and Exculpation

         The discharge, settlement, release, injunction, and exculpation provisions are set forth in
 Article XI of the Plan, and a summary of such provisions is provided below.

         (a)      Discharge and Injunctions

                  (1)    Discharge of Claims Against the Debtor

         As of the Effective Date, Confirmation of the Plan shall afford the Debtor a discharge to
 the fullest extent permitted by Bankruptcy Code sections 524 and 1141(d)(1).




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                  (2)    Discharge Injunction

         From and after the Effective Date, to the maximum extent permitted under applicable
 law, all Persons that hold, have held, or may hold a Claim, demand, or other debt or liability
 that is discharged are permanently enjoined from taking any of the following actions on
 account of, or on the basis of, such discharged Claims, demands, debts, or liabilities:
 (i) commencing or continuing any action or other proceeding of any kind against the Debtor,
 the Reorganized Debtor, or their respective property; (ii) enforcing, attaching, collecting, or
 recovering by any manner or means of any judgment, award, decree, or order against the
 Debtor, the Reorganized Debtor, or their respective property; (iii) creating, perfecting, or
 enforcing any lien or other Encumbrance of any kind against the Debtor, the Reorganized
 Debtor, or their respective property; and (iv) commencing or continuing any judicial or
 administrative proceeding, in any forum and in any place in the world, that does not comply
 with or is inconsistent with the provisions of the Plan or the Confirmation Order. The
 foregoing injunction shall extend to the successors of the Debtor (including the Reorganized
 Debtor) and their respective properties and interests in property. The discharge provided in
 Section 11.1.2 of the Plan shall void any judgment obtained against the Debtor at any time,
 to the extent that such judgment relates to a discharged Claim or demand.

         (b)      Settlement of Certain Estate Claims

                  (1)    Settlement of Certain Claims Against Certain Released Parties

         Pursuant to Bankruptcy Rule 9019 and in consideration for the Distributions and
 other benefits provided under the Plan, any and all claims against the Reorganized Debtor,
 the LTL Corporate Parties, and the respective Representatives of the Debtor, the
 Reorganized Debtor, and the LTL Corporate Parties that are or would have been property
 of the Estate or could have been brought by the Estate, including Recovery Actions and any
 claims based upon a legal or equitable theory of liability in the nature of veil piercing, alter
 ego, successor liability, vicarious liability, fraudulent transfer, malpractice, breach of
 fiduciary duty, waste, fraud, or conspiracy, except for Intercompany Claims, shall be deemed
 settled, released, and extinguished. The entry of the Confirmation Order shall constitute the
 Bankruptcy Court's approval, as of the Effective Date, of the compromise or settlement of
 all such claims and the Bankruptcy Court's finding that such compromise or settlement is in
 the best interest of the Debtor, the Reorganized Debtor, and the holders of Claims and
 Interests and is fair, equitable, and reasonable. For the avoidance of doubt, nothing
 contained in Section 11.2.1 of the Plan shall release or affect the obligations of any Person to
 be performed from and after the Effective Date under the Funding Agreement or the
 Support Agreement.

                  (2)    Settlement of Certain Claims Against Holders of Talc Personal Injury
                         Claims

        Pursuant to Bankruptcy Rule 9019 and in consideration for the releases and other
 benefits provided under the Plan, any and all claims against the holders of Talc Personal
 Injury Claims who received payments in respect of their claims from the Debtor or any of
 its predecessors, or from any Affiliate of the Debtor or any of its predecessors, prior to the



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 Petition Date, and their professionals (but only with respect to their representation of or
 work for such holders in connection with such payments), that are or would have been
 property of any of the Estate or could have been brought by the Estate or any Protected
 Party, including Recovery Actions, and any claims based upon a legal or equitable theory of
 liability, in each case arising out of, based upon, or resulting from payments to holders of
 Talc Personal Injury Claims from the Debtor or any of its predecessors, or from any Affiliate
 of the Debtor or any of its predecessors, prior to the Petition Date, shall be deemed settled,
 released, and extinguished. The entry of the Confirmation Order shall constitute the
 Bankruptcy Court's approval, as of the Effective Date, of the compromise or settlement of
 all such claims and the Bankruptcy Court's finding that such compromise or settlement is in
 the best interest of the Debtor, the Reorganized Debtor, and the holders of Claims and
 Interests and is fair, equitable, and reasonable.

         (c)      Releases

                  (1)   Releases by the Debtor and Its Estate

        As of the Effective Date, for good and valuable consideration (including services
 provided before and during the Chapter 11 Case to facilitate the implementation of the Talc
 Personal Injury Trust), the adequacy of which is hereby confirmed, the Reorganized Debtor,
 the LTL Corporate Parties, and the respective Representatives of the Debtor, the
 Reorganized Debtor, and the LTL Corporate Parties shall be deemed conclusively,
 absolutely, unconditionally, irrevocably, and forever released, to the maximum extent
 permitted by law, as such law may be extended subsequent to the Effective Date, by the
 Debtor and the Estate from any and all claims, counterclaims, disputes, obligations, suits,
 judgments, damages, demands, debts, rights, causes of action, liens, remedies, losses,
 contributions, indemnities, costs, liabilities, fees (including attorneys' fees) and expenses
 whatsoever, including any derivative claims, asserted or assertable on behalf of the Debtor
 or the Estate (including any Recovery Actions), whether liquidated or unliquidated, fixed or
 contingent, matured or unmatured, known or unknown, foreseen or unforeseen, asserted or
 unasserted, accrued or unaccrued, existing or hereinafter arising, whether in law or equity,
 whether sounding in tort or contract, whether arising under federal or state statutory or
 common law, or any other applicable international, foreign, or domestic law, rule, statute,
 regulation, treaty, right, duty, requirement, or otherwise, that the Debtor or the Estate would
 have been legally entitled to assert in its own right, or on behalf of the holder of any Claim
 or Interest or other Person, based on, arising out of, or in any way relating to, in whole or in
 part, the Debtor (as it existed prior to or after the Petition Date), the 2021 Corporate
 Restructuring, the 2021 Chapter 11 Case, the Prepetition Funding Agreement Modifications,
 the Estate, the Chapter 11 Case, the purchase, sale, or rescission of the purchase or sale of
 any security of the Debtor, the subject matter of, or the transactions or events giving rise to,
 any Claim or Interest that is treated in the Plan, the business or contractual arrangements
 or interactions (including the exercise of any common law or contractual rights of setoff or
 recoupment at any time on or prior to the Effective Date) between the Debtor, on the one
 hand, and the Reorganized Debtor, any LTL Corporate Party, or any Representative of the
 Debtor, the Reorganized Debtor, or any LTL Corporate Party, on the other hand, the
 restructuring of any Claim or Interest before or during the Chapter 11 Case, the Disclosure
 Statement, the Plan, and related agreements, instruments, and other documents, and the


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 negotiation, formulation, preparation, or implementation of, the solicitation of votes with
 respect to, the Plan, or any other related act or omission. Notwithstanding the foregoing,
 claims or causes of action against the Reorganized Debtor, any LTL Corporate Party, or any
 Representative of the Debtor, the Reorganized Debtor, or any LTL Corporate Party arising
 out of or relating to any act or omission of such Person prior to the Effective Date that is
 determined by Final Order of the Bankruptcy Court or any other court of competent
 jurisdiction to have constituted a criminal act, actual fraud, gross negligence, or willful
 misconduct, including findings after the Effective Date, are not released pursuant to Section
 11.3.1 of the Plan. For the avoidance of doubt, nothing contained in Section 11.3.1 of the
 Plan shall release or otherwise affect the obligations of any Person to be performed from and
 after the Effective Date under the Funding Agreement, the Support Agreement, the Cash
 Contributions Parent Guarantee, or any other Plan Document to which it is a party. The
 Reorganized Debtor, and any other entity that continues the Debtor's business after the
 Effective Date, shall be bound, to the same extent the Debtor and the Estate are bound, by
 the releases set forth in Section 11.3.1 of the Plan.

                  (2)   Releases by Holders of Claims

         As of the Effective Date, for good and valuable consideration, the adequacy of which
 is hereby confirmed, including the service of the Released Parties before and during the
 Chapter 11 Case to facilitate the implementation of the Talc Personal Injury Trust, the
 Released Parties shall be deemed conclusively, absolutely, unconditionally, irrevocably, and
 forever released, to the maximum extent permitted by law, as such law may be extended
 subsequent to the Effective Date, by the Releasing Claim Holders from any and all Claims,
 counterclaims, disputes, obligations, suits, judgments, damages, demands, debts, rights,
 causes of action, liens, remedies, losses, contributions, indemnities, costs, liabilities, fees
 (including attorneys' fees), and expenses whatsoever, including any derivative claims,
 asserted or assertable on behalf of the Debtor or the Estate (including any Recovery Actions),
 whether liquidated or unliquidated, fixed or contingent, matured or unmatured, known or
 unknown, foreseen or unforeseen, asserted or unasserted, accrued or unaccrued, existing or
 hereinafter arising, whether in law or equity, whether sounding in tort or contract, whether
 arising under federal or state statutory or common law, or any other applicable
 international, foreign, or domestic law, rule, statute, regulation, treaty, right, duty,
 requirement or otherwise, that such holders or their estates, Affiliates, heirs, executors,
 administrators, successors, assigns, managers, accountants, attorneys, representatives,
 consultants, agents, and any other Persons or parties claiming under or through them would
 have been legally entitled to assert in their own right (whether individually or collectively),
 or on behalf of the holder of any Claim or Interest or other Person, based on, arising out of,
 or in any way relating to, in whole or in part, the Debtor (as it existed prior to or after the
 Petition Date), the 2021 Corporate Restructuring, the 2021 Chapter 11 Case, the Prepetition
 Funding Agreement Modifications, the Estate, the Chapter 11 Case, the purchase, sale, or
 rescission of the purchase or sale of any security of the Debtor, the subject matter of, or the
 transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
 business or contractual arrangements or interactions (including the exercise of any common
 law or contractual rights of setoff or recoupment at any time on or prior to the Effective
 Date) between the Debtor, on the one hand, and any other Released Party, on the other hand,
 the restructuring of any Claim or Interest before or during the Chapter 11 Case, the


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 Disclosure Statement, the Plan, and related agreements, instruments, and other documents,
 and the negotiation, formulation, preparation, or implementation thereof, the solicitation of
 votes with respect to the Plan, or any other related act or omission. Notwithstanding the
 foregoing, claims or causes of action against a Released Party arising out of or relating to
 any act or omission of such Released Party prior to the Effective Date that is determined by
 Final Order of the Bankruptcy Court or any other court of competent jurisdiction to have
 constituted a criminal act, actual fraud, gross negligence, or willful misconduct, including
 findings after the Effective Date, are not released pursuant to Section 11.3.2 of the Plan. For
 the avoidance of doubt, nothing contained in Section 11.3.2 of the Plan shall release or
 otherwise affect the obligations of any Person to be performed from and after the Effective
 Date under the Funding Agreement, the Support Agreement, or the Cash Contributions
 Parent Guarantee or any other Plan Document to which it is a party.

                  (3)   Injunction Related to Releases

        The Confirmation Order shall permanently enjoin the commencement or prosecution
 by any Person, whether directly, derivatively, or otherwise, of any claims, commitments,
 obligations, suits, judgments, damages, demands, debts, causes of action, and liabilities
 released pursuant to Section 11.3 of the Plan.

         (d)      Channeling Injunction and Insurance Entity Injunction

         In order to supplement the injunctive effect of the Discharge Injunction, and pursuant
 to sections 524(g) and 105(a) of the Bankruptcy Code, the Confirmation Order shall provide
 for the following permanent injunctions to take effect as of the Effective Date.

                  (1)   Channeling Injunction

                        (i)    To preserve and promote the settlements contemplated by and
                               provided for in the Plan and pursuant to the exercise of the
                               equitable jurisdiction and power of the Bankruptcy Court and
                               the District Court under sections 524(g) and 105(a) of the
                               Bankruptcy Code, notwithstanding anything to the contrary
                               contained in the Plan, (i) the sole recourse of any holder of a Talc
                               Personal Injury Claim against a Protected Party (on account of
                               such Talc Personal Injury Claim) shall be to and against the
                               Talc Personal Injury Trust pursuant to the Talc Personal Injury
                               Trust Documents and (ii) such holder shall have no right
                               whatsoever at any time to assert its Talc Personal Injury Claim
                               against any Protected Party or any property or interest in
                               property of any Protected Party. On and after the Effective
                               Date, all holders of Talc Personal Injury Claims shall be
                               permanently and forever stayed, restrained, barred, and
                               enjoined from taking any action for the purpose of, directly or
                               indirectly or derivatively, collecting, recovering, or receiving
                               payment, satisfaction, or recovery of, on, or with respect to any
                               Talc Personal Injury Claim against a Protected Party other than



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                           from the Talc Personal Injury Trust pursuant to the Talc
                           Personal Injury Trust Documents, including:

                           (A)    commencing, conducting, or continuing in any manner,
                                  directly, indirectly, or derivatively, any suit, action, or
                                  other proceeding of any kind (including a judicial,
                                  arbitration, administrative, or other proceeding) in any
                                  forum in any jurisdiction around the world against or
                                  affecting any Protected Party or any property or
                                  interests in property of any Protected Party;

                           (B)    enforcing, levying, attaching (including any prejudgment
                                  attachment), collecting, or otherwise recovering, by any
                                  manner or means, whether directly or indirectly, any
                                  judgment, award, decree, or order against any Protected
                                  Party or any property or interests in property of any
                                  Protected Party;

                           (C)    creating, perfecting, or otherwise enforcing in any
                                  manner, directly or indirectly, any lien of any kind
                                  against any Protected Party or any property or interests
                                  in property of any Protected Party;

                           (D)    asserting, implementing, or effectuating any setoff,
                                  recoupment, right of contribution, reimbursement,
                                  subrogation, or indemnification, or similar right of any
                                  kind, in any manner, directly or indirectly, against any
                                  obligation due to any Protected Party or against any
                                  property or interests in property of any Protected Party;
                                  and

                           (E)    taking any act in any manner, and in any place
                                  whatsoever, that does not conform to, or comply with, the
                                  provisions of the Plan, the Plan Documents, or the Talc
                                  Personal Injury Trust Documents or with regard to any
                                  matter that is within the scope of the matters designated
                                  by the Plan to be subject to resolution by the Talc
                                  Personal Injury Trust, except in conformity and
                                  compliance with the Talc Personal Injury Trust
                                  Documents.

                    (ii)   Notwithstanding anything to the contrary in Section 11.4.1(a) of
                           the Plan, this Channeling Injunction shall not impair:

                           (A)    the rights of holders of Talc Personal Injury Claims to
                                  assert such Talc Personal Injury Claims solely against




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                                   the Talc Personal Injury Trust in accordance with the
                                   Talc Personal Injury Trust Documents;

                            (B)     the rights of holders of Talc Personal Injury Claims to
                                   assert such claims against anyone other than a Protected
                                   Party;

                            (C)     the rights of all Persons to assert any Claim, debt,
                                   obligation, cause of action, or liability for payment of
                                   Talc Personal Injury Trust Expenses solely against the
                                   Talc Personal Injury Trust; or

                            (D)     the Talc Personal Injury Trust from enforcing its rights
                                   explicitly provided to it under the Plan and the Talc
                                   Personal Injury Trust Documents, including the
                                   Imerys/Cyrus Related Rights.

                    (iii)   There shall be no modification, dissolution, or termination of the
                            Channeling Injunction, which shall be a permanent injunction.

                    (iv)    Nothing in the Plan or the Talc Personal Injury Trust agreement
                            shall be construed in any way to limit the scope, enforceability,
                            or effectiveness of the Channeling Injunction issued in
                            connection with the Plan or the Talc Personal Injury Trust's
                            assumption of all liability with respect to Talc Personal Injury
                            Claims.

                    (v)     The Debtor's compliance with the formal requirements of
                            Bankruptcy Rule 3016(c) shall not constitute an admission that
                            the Plan provides for an injunction against conduct not
                            otherwise enjoined under the Bankruptcy Code.

                    (vi)    Any Protected Party may enforce the Channeling Injunction as
                            a defense to any Claim brought against such Protected Party
                            that is enjoined under the Plan as to such Protected Party and
                            may seek to enforce such injunction in a court of competent
                            jurisdiction.

                    (vii)   If a non-Settling Talc Insurance Company asserts that it has
                            Contribution Claims against a Settling Talc Insurance
                            Company, (i) such Contribution Claims may be asserted as a
                            defense or counterclaim against the Talc Personal Injury Trust
                            in any Talc Insurance Action involving such non-Settling Talc
                            Insurance Company, and the Talc Personal Injury Trust (acting
                            through the Reorganized Debtor, as its agent and subrogee
                            having the exclusive right to pursue and resolve any Talc
                            Insurance Action, pursuant to the Cooperation Agreement) may
                            assert the legal or equitable rights (if any) of the Settling Talc


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                               Insurance Company, and (ii) to the extent such Contribution
                               Claims are determined to be valid, the liability (if any) of such
                               non-Settling Talc Insurance Company to the Talc Personal
                               Injury Trust shall be reduced by the amount of such
                               Contribution Claims.

                  (2)   Insurance Entity Injunction

                        (i)    In order to protect and preserve the Talc Insurance Assets,
                               pursuant to the equitable jurisdiction and power of the
                               Bankruptcy Court, the Bankruptcy Court shall issue the
                               Insurance Entity Injunction; provided, however, that the
                               Insurance Entity Injunction is not issued for the benefit of any
                               Talc Insurance Company, and no Talc Insurance Company is a
                               third-party beneficiary of the Insurance Entity Injunction,
                               except as otherwise specifically provided in any Talc Insurance
                               Settlement Agreement.

                        (ii)   Subject to the provisions of Section 11.4.1 of the Plan and
                               Section 11.4.2 of the Plan, all Persons that have held or asserted,
                               that hold or assert, or that may in the future hold or assert any
                               claim, demand, or cause of action against any Talc Insurance
                               Company based on, arising out of, or in any way relating to any
                               Talc Personal Injury Claim, whenever and wherever arising or
                               asserted, whether in the United States of America or anywhere
                               else in the world, whether sounding in tort, contract, warranty,
                               or any other theory of law, equity, or admiralty, shall be stayed,
                               restrained, and enjoined from taking any action for the purpose
                               of directly or indirectly collecting, recovering, or receiving
                               payments, satisfaction, or recovery with respect to any such
                               claim, demand, or cause of action including:

                               (A)    commencing, conducting, or continuing, in any manner,
                                      directly or indirectly, any suit, action, or other
                                      proceeding of any kind (including a judicial, arbitration,
                                      administrative, or other proceeding) in any forum with
                                      respect to any such claim, demand, or cause of action
                                      against any Talc Insurance Company, or against the
                                      property of any Talc Insurance Company, with respect
                                      to any such claim, demand, or cause of action;

                               (B)     enforcing, levying, attaching, collecting, or otherwise
                                      recovering, by any means or in any manner, whether
                                      directly or indirectly, any judgment, award, decree, or
                                      other order against any Talc Insurance Company, or
                                      against the property of any Talc Insurance Company,




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                                     with respect to any such claim, demand, or cause of
                                     action;

                              (C)     creating, perfecting, or enforcing in any manner,
                                     directly or indirectly, any Encumbrance against any Talc
                                     Insurance Company, or the property of any Talc
                                     Insurance Company, with respect to any such claim,
                                     demand, or cause of action; and

                              (D)     asserting or accomplishing any setoff, right of
                                     subrogation, indemnity, contribution, or recoupment of
                                     any kind, directly or indirectly, against any obligation of
                                     any Talc Insurance Company, or against the property of
                                     any Talc Insurance Company, with respect to any such
                                     claim, demand, or cause of action;

 provided, however, that (A) the injunction set forth in Section 11.4.2(b) of the Plan shall not
 impair in any way (I) any actions pursued by the Talc Personal Injury Trust (acting through
 the Reorganized Debtor, as its agent and subrogee, pursuant to the Cooperation Agreement)
 against any Talc Insurance Company or (II) the rights of any co-insured of the Debtor (x)
 with respect to any Talc Insurance Policy or Talc Insurance Settlement Agreement against
 any Talc Insurance Company or (y) as specified under any Final Order of the Bankruptcy
 Court approving a Talc Insurance Settlement Agreement; and (B) the Talc Personal Injury
 Trust (acting through the Reorganized Debtor, as its agent and subrogee, pursuant to the
 Cooperation Agreement) shall have the sole and exclusive authority at any time to terminate,
 or reduce or limit the scope of, the injunction set forth in Section 11.4.2(b) of the Plan with
 respect to any Talc Insurance Company upon express written notice to such Talc Insurance
 Company, except that the Talc Personal Injury Trust (acting through the Reorganized
 Debtor, as its agent and subrogee, pursuant to the Cooperation Agreement) shall not have
 any authority to terminate, reduce, or limit the scope of the injunction herein with respect to
 any Settling Talc Insurance Company so long as, but only to the extent that, such Settling
 Talc Insurance Company complies fully with its obligations under any applicable Talc
 Insurance Settlement Agreement.

                      (iii)   Notwithstanding anything to the contrary above, this Insurance
                              Entity Injunction shall not enjoin:

                              (A)    the rights of all Persons to the treatment accorded them
                                     under the Plan, as applicable, including the rights of
                                     holders of Talc Personal Injury Claims to assert such
                                     Claims, as applicable, in accordance with the Talc
                                     Personal Injury Trust Documents;

                              (B)    the rights of all Persons to assert any claim, debt,
                                     obligation, cause of action, or liability for payment of
                                     Talc Personal Injury Trust Expenses solely against the
                                     Talc Personal Injury Trust;



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                                (C)   the rights of the Talc Personal Injury Trust (acting
                                      through the Reorganized Debtor, as its agent and
                                      subrogee, pursuant to the Cooperation Agreement) (i) to
                                      pursue and resolve any Talc In-Place Insurance
                                      Coverage, (ii) to pursue and resolve any Talc Insurance
                                      Action, (iii) to pursue and obtain any Talc Insurance
                                      Recoveries, and (iv) to negotiate and enter into any Talc
                                      Insurance Settlement Agreement; or

                                (D)   the rights of any Talc Insurance Company to assert any
                                      claim, debt, obligation, cause of action, or liability for
                                      payment against any other Talc Insurance Company that
                                      is not a Settling Talc Insurance Company, or as
                                      otherwise specifically provided in any Talc Insurance
                                      Settlement Agreement.

                        (iv)    For the avoidance of doubt, nothing in the Plan, the Plan
                                Documents, or the Confirmation Order shall impair or
                                otherwise affect any rights that any LTL Corporate Party may
                                have under any Talc Insurance Policy or Talc Insurance
                                Settlement Agreement.

         (e)      Exculpation

                  (1)   Exculpation of Certain Parties

         None of the Exculpated Parties shall have or incur any liability to any Person for any
 act or omission taken or to be taken, whether before, on, or after the Petition Date through
 and including the Effective Date in connection with, arising out of, or in any way relating to:
 (a) the 2021 Corporate Restructuring, the 2021 Chapter 11 Case, the Prepetition Funding
 Agreement Modifications, or the Chapter 11 Case; (b) the negotiation, formulation, and
 preparation of the Plan and the other Plan Documents, and any of the terms and/or
 settlements and compromises reflected in the Plan and the other Plan Documents, and the
 releases and Injunctions contained in the Plan; (c) the pursuit of Confirmation of the Plan;
 (d) the administration, consummation, and implementation of the Plan or the property to be
 distributed under the Plan or the Trust Distribution Procedures; or (e) the management or
 operation of the Debtor (except for any liability that results primarily from such Person's
 criminal acts, actual fraud, willful misconduct, or gross negligence as determined by a Final
 Order). In all respects, each and all of such Persons shall be entitled to rely upon the advice
 of counsel with respect to their duties and responsibilities under, or in connection with, the
 Chapter 11 Case, the Plan, the Plan Documents, and the administration of each of them.

                  (2)   Injunction Related to Exculpation

        The Confirmation Order shall permanently enjoin all Persons from taking any action
 against any Exculpated Party for the purpose of, directly or indirectly or derivatively,




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 receiving payment of, on, or with respect to any liability from which the Exculpated Parties
 are exculpated pursuant to Section 11.5 of the Plan.

                                          ARTICLE VIII.

           THE TALC PERSONAL INJURY TRUST AND TRUST DISTRIBUTION
                                PROCEDURES

 8.1     Overview

         (a)      Establishment

        On the Effective Date, the Talc Personal Injury Trust, and the Talc Personal Injury
 Governmental Action Claims Sub-Trust and the Talc Personal Injury Tort Claims Sub-Trust
 comprising the Talc Personal Injury Trust, will be created in accordance with the Plan Documents.
 The Talc Personal Injury Tort Claims Sub-Trust will be a "qualified settlement fund" within the
 meaning of the Treasury Regulations issued under Section 468B of the Internal Revenue Code.
 The Talc Trustees will segregate, and separately account for the use of, Talc Personal Injury
 Governmental Action Claims Sub-Trust Funds, on the one hand, and Talc Personal Injury Tort
 Claims Sub-Trust Funds, on the other hand.

         (b)      Purposes

         The purposes of the Talc Personal Injury Trust will be to assume all Talc Personal Injury
 Claims and, among other things: (a) to preserve, hold, manage, and maximize the assets of the
 Talc Personal Injury Trust; and (b) to direct the processing, liquidation, and payment of all
 compensable Talc Personal Injury Claims in accordance with the Talc Personal Injury Trust
 Documents. The Talc Personal Injury Trust will resolve Talc Personal Injury Claims in accordance
 with the Talc Personal Injury Trust Documents in such a way that holders of Talc Personal Injury
 Claims are treated fairly and equitably, and otherwise comply in all respects with the requirements
 of section 524(g)(2)(B)(i) of the Bankruptcy Code. In the event of a conflict between the terms or
 provisions of the Plan and the Talc Personal Injury Trust Documents, the terms of the Plan will
 control.

         (c)      Initial Talc Trustee

         There will be two initial Talc Trustees. The initial Talc Trustees of the Talc Personal Injury
 Trust will be [] and []. All successor Talc Trustees will be appointed in accordance with the
 terms of the Talc Personal Injury Trust Agreement. For purposes of performing his or her duties
 and fulfilling his or her obligations under the Talc Personal Injury Trust Agreement and the Plan,
 each Talc Trustee will be deemed to be (and the Confirmation Order will provide that it is) a "party
 in interest" within the meaning of section 1109(b) of the Bankruptcy Code. A Talc Trustee will
 be designated as the "administrator" of the Talc Personal Injury Trust Claims Sub-Trust as such
 term is used in Treasury Regulation Section 1.468B-2(k)(3).




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         (d)      Initial Talc Trust Advisory Committee and FCR

                  (1)    Initial Talc Trust Advisory Committee. The Talc Trust Advisory
                         Committee will be established pursuant to the Talc Personal Injury Trust
                         Agreement. The initial Talc Trust Advisory Committee Members will
                         include: [●]. Each of the Talc Trust Advisory Committee Members will
                         serve in accordance with the terms and conditions contained in the Talc
                         Personal Injury Trust Agreement. Successor Talc Trust Advisory
                         Committee Members will be appointed pursuant to the terms of the Talc
                         Personal Injury Trust Agreement. For purposes of performing his or her
                         duties and fulfilling his or her obligations under the Talc Personal Injury
                         Trust Agreement and the Plan, each Talc Trust Advisory Committee
                         Member will be deemed to be (and the Confirmation Order shall provide
                         that he or she is) a "party in interest" within the meaning of section 1109(b)
                         of the Bankruptcy Code.

                  (2)    Initial FCR. The Talc Personal Injury Trust Agreement will provide for the
                         continuation of an FCR to represent any and all persons who may assert
                         Talc Personal Injury Demands in the future, but who are currently unknown.
                         The initial FCR under the Talc Personal Injury Trust Agreement will be [●].
                         Any successor FCR under the Talc Personal Injury Trust will be appointed
                         in accordance with the terms of the Talc Personal Injury Trust Agreement.
                         For purposes of performing his or her duties and fulfilling his or her
                         obligations under the Talc Personal Injury Trust Agreement and the Plan,
                         the FCR under the Talc Personal Injury Trust will be deemed to be (and the
                         Confirmation Order will provide that he or she is) a "party in interest" within
                         the meaning of section 1109(b) of the Bankruptcy Code.

         (e)      Initial Talc Trust Administrators

                  (1)    Initial Talc Trust Claims Administrator. The initial Talc Trust Claims
                         Administrator of the Talc Personal Injury Trust will be [●]. All successor
                         Talc Trust Claims Administrators will be appointed in accordance with the
                         terms of the Talc Personal Injury Trust Agreement. For purposes of
                         performing his or her duties and fulfilling his or her obligations under the
                         Talc Personal Injury Trust Agreement and the Plan, the Talc Trust Claims
                         Administrator will be deemed to be (and the Confirmation Order will
                         provide that it is) a "party in interest" within the meaning of section 1109(b)
                         of the Bankruptcy Code.

                  (2)    Initial Talc Trust Liens Resolution Administrator. The initial Talc Trust
                         Liens Resolution Administrator of the Talc Personal Injury Trust will be
                         [●]. All successor Talc Trust Liens Resolution Administrators will be
                         appointed in accordance with the terms of the Talc Personal Injury Trust
                         Agreement. For purposes of performing its duties and fulfilling its
                         obligations under the Talc Personal Injury Trust Agreement and the Plan,
                         the Talc Trust Lien Resolution Administrator will be deemed to be (and the



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                         Confirmation Order will provide that it is) a "party in interest" within the
                         meaning of section 1109(b) of the Bankruptcy Code.

         (f)      Payment of Talc Personal Injury Expenses Prior to the Effective Date

          From and after the Confirmation Date until the earlier of (i) the Effective Date and (ii) such
 time as the Confirmation Order is vacated by the Bankruptcy Court, the Reorganized Debtor will
 pay all reasonable and documented Talc Personal Injury Trust Expenses. For the avoidance of
 doubt, Talc Personal Injury Trust Expenses do not include payments to holders of Talc Personal
 Injury Claims on account of such Claims. All Cash necessary for the Reorganized Debtor to fund
 such Talc Personal Injury Trust Expenses will be obtained through (i) the Debtor's Cash balances
 or (ii) the Funding Agreement.

         (g)      Trust Distribution Procedures

         On the Effective Date, the Talc Personal Injury Trust will implement the Trust Distribution
 Procedures in accordance with the terms of the Talc Personal Injury Trust Agreement. From and
 after the Effective Date, the Talc Trustees will have the authority to administer, amend,
 supplement, and modify the Trust Distribution Procedures solely in accordance with the terms
 thereof and of the Talc Personal Injury Trust Agreement.

         (h)      Assumption of Liability for Trust Personal Injury Claims

                  (1)    Assumption of Liability Generally. In consideration for the assets
                         delivered, transferred, and assigned to the Talc Personal Injury Trust
                         pursuant to Article IV of the Plan, and in furtherance of the purposes of the
                         Talc Personal Injury Trust and the Plan, on the Effective Date, and without
                         further action of any Person, subject to Section 4.8.4(a) of the Plan, the Talc
                         Personal Injury Trust will assume all liabilities, obligations, and
                         responsibilities of the Debtor and the other Protected Parties for all Talc
                         Personal Injury Claims, financial or otherwise, including Governmental
                         Action Claims, Indirect Talc Personal Injury Claims, Talc Personal Injury
                         Demands, and claims of any Imerys/Cyprus Party against the Debtor or any
                         Protected Party under any Imerys/Cyprus Agreement or applicable law.
                         This assumption will not affect (a) the application of the Discharge
                         Injunction and the Channeling Injunction to the Debtor; (b) any Talc
                         Insurance Company's obligation under any Talc Insurance Policy; or (c) the
                         Imerys/Cyprus Related Rights. From and after the Effective Date, the
                         Debtor, the Reorganized Debtor, and the other Protected Parties will have
                         no liability, obligation, or responsibility, financial or otherwise, for any Talc
                         Personal Injury Claim.

                  (2)    Defenses. Except as otherwise expressly provided in the Plan, the Talc
                         Personal Injury Trust Documents, and the Confirmation Order, upon the
                         assumption by the Talc Personal Injury Trust of liabilities, obligations, and
                         responsibilities for Talc Personal Injury Claims as contemplated by Section
                         4.8.1 of the Plan, subject to Section 4.8.4(b) of the Plan, the Talc Personal



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                         Injury Trust Defenses will be transferred to the Talc Personal Injury Trust.
                         The transfer of the Talc Personal Injury Trust Defenses to the Talc Personal
                         Injury Trust pursuant to Section 4.8.2 of the Plan will not impair, affect,
                         alter, or modify the right of any Person (including the Imerys/Cyprus
                         Parties), against whom the Talc Personal Injury Trust may exercise Talc
                         Personal Injury Trust Defenses to assert each and every defense or basis for
                         claim reduction such Person could have asserted against the Debtor prior to
                         the Effective Date, provided, however, for the avoidance of doubt, that no
                         such Person may assert, as a defense or basis for claim reduction, that the
                         Plan or any of the other Plan Documents does not comply with the
                         Bankruptcy Code or that the transfer of the Talc Personal Injury Trust
                         Defenses to the Talc Personal Injury Trust pursuant to Section 4.8.2 of the
                         Plan, or any other action contemplated by Section 4.8.2 of the Plan, is
                         prohibited by applicable non-bankruptcy law.

                  (3)    Enforcement of Defenses and Other Related Rights. Except as otherwise
                         expressly provided in the Plan, the Talc Personal Injury Trust Documents,
                         and the Confirmation Order, from and after the Effective Date the Talc
                         Personal Injury Trust will have control over the Talc Personal Injury Trust
                         Defenses and the Talc Personal Injury Trust will thereby become the estate
                         representative pursuant to section 1123(b)(3)(B) of the Bankruptcy Code
                         with the exclusive right to enforce each of the Talc Personal Injury Trust
                         Defenses. Subject to Section 4.8.4(c) of the Plan, the proceeds of the
                         recoveries on any of the Talc Personal Injury Trust Defenses will be
                         deposited in and become the property of the Talc Personal Injury Trust and
                         the Talc Personal Injury Trust will have the right to enforce the Plan and
                         any of the other Plan Documents (including the Cooperation Agreement)
                         according to their respective term. Notwithstanding the provisions of
                         Section 4.8.2 and Section 4.8.3 of the Plan, (a) the Talc Personal Injury
                         Trust will have no rights against the Reorganized Debtor or the other
                         Protected Parties except to enforce the Plan and the other Plan Documents,
                         (b) the Talc Personal Injury Trust Defenses transferred to the Talc Personal
                         Injury Trust will not include any claims fully and finally released, enjoined,
                         compromised, or settled pursuant to the Plan, and (c) for the avoidance of
                         doubt, the Talc Personal Injury Trust Defenses transferred to the Talc
                         Personal Injury Trust will not include any rights of the Debtor, the
                         Reorganized Debtor, or the other Protected Parties arising under the
                         Channeling Injunction or any of the other injunctions or releases, or the
                         discharge, granted under the Plan and the Confirmation Order.

         (i)      Effects of the Sub-Trusts

         For the avoidance of doubt, notwithstanding anything to the contrary contained in Article
 IV of the Plan:

                  (1)    under Section 4.8.1 of the Plan, (i) the Talc Personal Injury Governmental
                         Action Claims Sub-Trust will assume the liabilities, obligations, and


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                         responsibilities for all Governmental Action Claims and (ii) the Talc
                         Personal Injury Tort Claims Sub-Trust will assume all liabilities,
                         obligations, and responsibilities for all Talc Personal Injury Claims other
                         than Governmental Action Claims;

                  (2)    under Section 4.8.2 of the Plan, (i) the Talc Personal Injury Trust Defenses
                         regarding Governmental Action Claims will be transferred to the Talc
                         Personal Injury Governmental Action Claims Sub-Trust and (ii) the Talc
                         Personal Injury Trust Defenses regarding Talc Personal Injury Claims other
                         than Governmental Action Claims will be transferred to the Talc Personal
                         Injury Tort Claims Sub-Trust; and

                  (3)    under Section 4.8.3 of the Plan, (i) the proceeds of the recoveries on any of
                         the Talc Personal Injury Trust Defenses regarding Governmental Action
                         Claims will be deposited in and become the property of the Talc Personal
                         Injury Governmental Action Claims Sub-Trust and (ii) the proceeds of the
                         recoveries on any of the Talc Personal Injury Trust Defenses regarding Talc
                         Personal Injury Claims other than Governmental Action Claims will be
                         deposited in and become the property of the Talc Personal Injury Tort
                         Claims Sub-Trust.

         (j)      No Common Benefit Fund Obligation

         Notwithstanding anything to the contrary contained in the Plan, neither the Reorganized
 Debtor nor the Talc Personal Injury Trust will have any obligation under Case Management Order
 No. 7(A) entered by the United States District Court for the District of New Jersey in the
 multidistrict litigation In re: Johnson & Johnson Talcum Powder Products Marketing, Sales
 Practices and Products Liability Litigation, Civil Action No. 3:16-md-02738, to withhold any
 amounts from payments made by it under the Plan or any other Plan Document, including the Trust
 Distribution Procedures, in respect of Talc Personal Injury Claims to account for any common
 benefit assessments thereunder or to make any payment to the common benefit fund account
 established pursuant thereto.

         (k)      Contribution of Certain Assets

                  (1)    Cash Contributions. The Reorganized Debtor will deliver, or cause to be
                         delivered, to the Talc Personal Injury Governmental Action Claims
                         Sub-Trust and the Talc Personal Injury Tort Claims Sub-Trust the Cash
                         Contributions in accordance with Exhibit C of the Plan. All Cash
                         Contributions to be made by the Reorganized Debtor pursuant to the Plan
                         and the Talc Personal Injury Trust Documents will be funded by the
                         Reorganized Debtor. All Cash necessary for the Reorganized Debtor to
                         fund such Cash Contributions pursuant to the Plan and the Talc Personal
                         Injury Trust Documents will be obtained through (a) the Reorganized
                         Debtor's Cash balances, (b) the 2023 Funding Agreement and, if such
                         funding is not provided to the Reorganized Debtor under the 2023 Funding
                         Agreement as required pursuant thereto, the J&J Support Agreement, or



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                        (c) such other means of financing or funding as determined by the board of
                        managers of the Reorganized Debtor. On the Effective Date, J&J and
                        Holdco will execute and deliver to the Talc Personal Injury Trust the Cash
                        Contributions Parent Guarantee. For the avoidance of doubt, nothing
                        contained in Section 4.9.1 of the Plan will in any way affect the obligations
                        of J&J and Holdco under the Cash Contributions Parent Guarantee.

                  (2)   Talc PI Note and Related Talc PI Pledge.

                        (a)    On the Effective Date, (i) the Reorganized Debtor will execute and
                               deliver to the Talc Personal Injury Tort Claims Sub-Trust the Talc
                               PI Note and (ii) Holdco will execute and deliver to the Talc Personal
                               Injury Trust the Talc PI Pledge Agreement.

                        (b)    The Talc PI Note will: (i) bear no interest; (ii) mature on the first
                               anniversary of the Effective Date; (iii) be secured by the Talc PI
                               Pledge; and (iv) provide for payment in full of the principal amount
                               of the PI Talc Note on or before its maturity date.

                        (c)    A Reorganized Debtor Payment Event of Default will not provide a
                               basis for the Talc Personal Injury Trust or any other Person to
                               contend that a material breach of the Plan has occurred or that any
                               Protected Party is no longer entitled to the protections provided to
                               such Protected Party pursuant to the Plan, including the protections
                               of the Channeling Injunction and related indemnification by the Talc
                               Personal Injury Trust. If a Reorganized Debtor Payment Event of
                               Default occurs, the Talc Personal Injury Trust may, upon five (5)
                               days' written notice to the Reorganized Debtor and Holdco,
                               foreclose upon the Talc PI Pledge.

                  (3)   Imerys/Cyprus Related Rights

                        (a)    On the Effective Date, the Reorganized Debtor and J&J will (and
                               J&J will cause any other LTL Corporate Party that has
                               Imerys/Cyprus Related Rights to) transfer and assign to the Talc
                               Personal Injury Trust the Imerys/Cyprus Related Rights. The
                               transfer and assignment of the Imerys/Cyprus Related Rights to the
                               Talc Personal Injury Trust pursuant to Section 4.9.3 of the Plan will
                               not impair, alter, or modify the right of any Imerys/Cyprus Party
                               against whom the Talc Personal Injury Trust may exercise the
                               Imerys/Cyprus Related Rights to assert each and every defense or
                               basis for claim reduction such Person could have asserted against
                               the Debtor prior to the Effective Date; provided, however, for the
                               avoidance of doubt, that no such Person may assert, as a defense or
                               basis for claim reduction, that the Plan or any of the other Plan
                               Documents does not comply with the Bankruptcy Code or that the
                               transfer and assignment of the Imerys/Cyprus Related Rights to the



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                               Talc Personal Injury Trust pursuant to Section 4.9.3 of the Plan, or
                               any other action contemplated by Section 4.9.3 of the Plan, is
                               prohibited by applicable non-bankruptcy law.

                        (b)    The Talc Personal Injury Trust will have control over the
                               Imerys/Cyprus Related Rights and the Talc Personal Injury Trust
                               will thereby become the estate representative pursuant to section
                               1123(b)(3)(B) of the Bankruptcy Code with the exclusive right to
                               enforce the Imerys/Cyprus Related Rights. The proceeds of the
                               recoveries on any Imerys/Cyprus Related Rights will be deposited
                               in and become the property of the Talc Personal Injury Tort Claims
                               Sub-Trust.

                        (c)    Pursuant to the Cooperation Agreement: (i) the Reorganized
                               Debtor, J&J, and the Talc Trustees will cooperate and use their
                               respective commercially reasonably efforts to take, or cause to be
                               taken, all actions and to do, or cause to be done, all things that are
                               reasonably necessary or appropriate to effectuate the transfer and
                               assignment of the Imerys/Cyprus Related Rights to the Talc
                               Personal Injury Trust in accordance with Section 4.9.3 of the Plan;
                               and (ii) without limiting the generality of the foregoing clause (i),
                               the Reorganized Debtor and J&J will provide the Talc Personal
                               Injury Trust with copies of the Imerys/Cyprus Agreements and such
                               other information within the possession and control of the
                               Reorganized Debtor and J&J as the Reorganized Debtor and J&J
                               may determine to be necessary or appropriate in their respective sole
                               discretion. Pursuant to the Plan and the Confirmation Order, to the
                               extent the Reorganized Debtor or J&J provides to the Talc Personal
                               Injury Trust privileged information pursuant to the provisions of
                               Section 4.9.3 of the Plan or the Cooperation Agreement, such
                               provision of information will not result in the destruction or waiver
                               of any applicable privileges pertaining to such information.

                  (4)   Talc Insurance Assets

                        (a)    Subject to the provisions of Section 4.9.4 of the Plan and the
                               Cooperation Agreement, on the Effective Date, the Reorganized
                               Debtor will transfer and assign to the Talc Personal Injury Trust the
                               Talc Insurance Assets; provided, however, that, for the avoidance of
                               doubt, the Reorganized Debtor will not transfer and assign to the
                               Talc Personal Injury Trust, and will retain, (i) all proceeds of Talc
                               In-Place Insurance Coverage received by the Debtor on or prior to
                               the Effective Date, (ii) all proceeds or benefits of any Talc Insurance
                               Action received by the Debtor on or prior to the Effective Date, and
                               (iii) all amounts payable pursuant to any Talc Insurance Settlement
                               Agreement received by the Debtor on or prior to the Effective Date.




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                    (b)   From and after the Effective Date, in consideration of the
                          Reorganized Debtor's obligations under Section 4.9.1, Section 4.9.2,
                          and Section 4.9.3 of the Plan, (i) the Reorganized Debtor, as the
                          agent for and subrogee of the Talc Personal Injury Trust, will have
                          the exclusive right (A) to pursue and resolve any Talc In-Place
                          Insurance Coverage, (B) to pursue and resolve any Talc Insurance
                          Action, (C) to pursue and obtain any Talc Insurance Recoveries, and
                          (D) to negotiate and enter into any Talc Insurance Settlement
                          Agreement and (ii) any of the following received by the Talc
                          Personal Injury Trust will be delivered to, and retained by, the
                          Reorganized Debtor: (A) all proceeds of Talc In-Place Insurance
                          Coverage; (B) all proceeds or benefits of any Talc Insurance Action;
                          and (C) all amounts payable pursuant to any Talc Insurance
                          Settlement Agreement. Subject to the provisions of the Cooperation
                          Agreement, the Reorganized Debtors will pay, and bear sole
                          responsibility with respect to the payment of, all costs and expenses,
                          including attorneys fees and expenses and other out-of-pocket fees
                          and expenses, incurred by the Reorganized Debtor acting as agent
                          for and subrogee of the Talc Personal Injury Trust pursuant to
                          Section 4.9.4(b) of the Plan. For the avoidance of doubt, nothing in
                          the Plan, the Plan Documents, or the Confirmation Order will impair
                          or otherwise affect any rights that any LTL Corporate Party may
                          have under any Talc Insurance Policy or Talc Insurance Settlement
                          Agreement.

                    (c)   Pursuant to the Cooperation Agreement: (i) the Reorganized
                          Debtor, J&J, and the Talc Trustees will cooperate and use their
                          respective commercially reasonably efforts to take, or cause to be
                          taken, all actions and to do, or cause to be done, all things that are
                          reasonably necessary or appropriate to effectuate the transfer and
                          assignment of the Talc Insurance Assets to the Talc Personal Injury
                          Trust in accordance with Section 4.9.4 of the Plan; and (ii) without
                          limiting the generality of the foregoing clause (i), the Reorganized
                          Debtor and J&J will provide the Talc Personal Injury Trust with
                          copies of the Talc Insurance Policies and Talc Insurance Settlement
                          Agreements and such other information within the possession and
                          control of the Reorganized Debtor and J&J as the Reorganized
                          Debtor and J&J may determine to be necessary or appropriate in
                          their respective sole discretion. Pursuant to the Plan and the
                          Confirmation Order, to the extent the Reorganized Debtor or J&J
                          provides to the Talc Personal Injury Trust privileged information
                          pursuant to the provisions of Section 4.9.4 of the Plan or the
                          Cooperation Agreement, such provision of information will not
                          result in the destruction or waiver of any applicable privileges
                          pertaining to such information.




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                         (d)    If, notwithstanding the provisions of the Plan and Confirmation
                                Order, the transfer and assignment of any of the Talc Insurance
                                Assets is determined by any court of competent jurisdiction to be
                                invalid under, or to violate the provisions of, any Talc Insurance
                                Policy, then, notwithstanding anything to the contrary in the Plan,
                                solely with respect to such Talc Insurance Asset, (i) the Reorganized
                                Debtor will be deemed to have retained such Talc Insurance Asset
                                and (ii) each provision of the Plan that provides or contemplates that
                                the Talc Personal Injury Trust will act through the Reorganized
                                Debtor, or that the Reorganized Debtor will act, as the agent for and
                                subrogee of the Talc Personal Injury Trust with respect to such Talc
                                Insurance Asset will be deemed to instead provide or contemplate
                                that the Reorganized Debtor will act for the benefit of the Talc
                                Personal Injury Trust with respect to such Talc Insurance Asset. For
                                the avoidance of doubt, nothing in Section 4.9.4(d) of the Plan shall
                                affect clause (ii) of Section 4.9.4(b) of the Plan.

         (l)      Payment of Talc Personal Injury Trust Expenses From and After the Effective Date

         Subject to Section 4.6 of the Plan, the Talc Personal Injury Trust will pay all Talc Personal
 Injury Trust Expenses from the assets of the Talc Personal Injury Trust. The Talc Personal Injury
 Trust will bear sole responsibility with respect to the payment of the Talc Personal Injury Trust
 Expenses. Subject to Section 4.9.4(b) of the Plan and the provisions of the Cooperation
 Agreement, the Talc Personal Injury Trust will promptly pay all reasonable and documented Talc
 Personal Injury Trust Expenses incurred by the Reorganized Debtor or any Non-Debtor Affiliate
 for any and all liabilities, costs, or expenses as a result of taking action on behalf of or at the
 direction of the Talc Personal Injury Trust. The Talc Trustees will cause (a) all Talc Personal
 Injury Trust Expenses related to Governmental Action Claims to be paid using Talc Personal
 Injury Governmental Action Claims Sub-Trust Funds and (b) all Talc Personal Injury Trust
 Expenses related to Talc Personal Injury Claims other than Governmental Action Claims to be
 paid using Talc Personal Injury Tort Claims Sub-Trust Funds.

         (m)      Treatment of Remainder Assets

        To the extent there are any assets of the Talc Personal Injury Governmental Action Claims
 Sub-Trust remaining at such time as the Talc Personal Injury Governmental Action Claims
 Sub-Trust is dissolved, such remaining assets will be transferred to the Talc Personal Injury Tort
 Claims Sub-Trust. To the extent there are any assets of the Talc Personal Injury Tort Claims
 Sub-Trust remaining at such time as the Talc Personal Injury Tort Claims Sub-Trust is dissolved,
 such remaining assets will be transferred to a charity or charities for such charitable purposes as
 the Talc Trustee, in their reasonable discretion, shall determine.

         (n)      Dissolution

         The Talc Personal Injury Trust will be dissolved upon satisfaction of the purposes of the
 Talc Personal Injury Trust pursuant to the Talc Personal Injury Trust Documents. Upon
 dissolution of the Talc Personal Injury Trust, the Talc Trustees, the Talc Trust Advisory



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 Committee Members, the FCR under the Talc Personal Injury Trust Agreement, the Talc Trust
 Claim Administrator, and the Talc Trust Liens Resolution Administrator will be released and
 discharged from all further authority, duties, responsibilities, and obligations relating to and arising
 from and in connection with the Chapter 11 Case.

         (o)      Funds and Investment Guidelines

         All monies held in the Talc Personal Injury Trust, whether held in the Talc Personal Injury
 Governmental Action Claims Sub-Trust or the Talc Personal Injury Tort Claims Sub-Trust, will
 be invested, subject to the investment limitations and provisions enumerated in the Talc Personal
 Injury Trust Agreement.

         (p)      Compliance with QSF Regulations

         The Debtor and the Reorganized Debtor will take all actions required of them as
 "transferor," and the designated Talc Trustee will take all actions required of him or her as
 "administrator," with respect to the Talc Personal Injury Tort Claims Sub-Trust pursuant to
 Treasury Regulations promulgated under section 468B of the Internal Revenue Code. Pursuant to
 such Treasury Regulations, the Talc Trustees designated as "administrator" will be responsible for
 all tax reporting and withholding requirements in respect of distributions made from the Talc
 Personal Injury Tort Claims Sub-Trust. Any issue of interpretation of the Plan, the Talc Personal
 Injury Trust Agreement or other Talc Personal Injury Trust Documents, or the Confirmation Order
 will be resolved in favor of an interpretation that conforms to the requirements of section 468B of
 the Internal Revenue Code and the Treasury Regulations promulgated thereunder.

         (q)      Cooperation Agreement

         On the Effective Date, the Reorganized Debtor, J&J, and the Talc Personal Injury Trust
 will enter into the Cooperation Agreement. The parties to the Cooperation Agreement will be
 bound by the terms thereof. The provision of information by the Reorganized Debtor or J&J to
 the Talc Personal Injury Trust pursuant to the Cooperation Agreement will not result in the
 destruction or waiver of any applicable privileges pertaining to such information.

         (r)      Indemnification and Reimbursement of the Protected Parties

         From and after the Effective Date, the Talc Personal Injury Trust will indemnify, defend,
 and hold harmless, to the fullest extent permitted by applicable law, each of the Reorganized
 Debtor and the other Protected Parties (other than the Imerys/Cyprus Parties, if they are Protected
 Parties, for claims based on, arising out of, or in any way relating to the Imerys/Cyprus Related
 Rights) from and against any and all claims, demands, disputes, suits, damages, remedies, losses,
 awards, judgments, settlements, liabilities, expenses, costs, fees (including attorneys' fees), and
 other charges whatsoever suffered or incurred by it subsequent to the Effective Date arising out of
 or in any way relating to any Talc Personal Injury Claim. Without limiting the generality of the
 foregoing, from and after the Effective Date, the Talc Personal Injury Trust will promptly
 reimburse each Protected Party (other than the Imerys/Cyprus Parties, if they are Protected Parties,
 for claims based on, arising out of, or in any way relating to the Imerys/Cyprus Related Rights)
 for any and all out-of-pocket damages, remedies, losses, awards, judgments, liabilities, expenses,
 costs, fees (including attorneys' fees), and other charges whatsoever actually incurred by such


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 Protected Party subsequent to the Effective Date attributable to the defense of any Talc Personal
 Injury Claim in the event that the holder of such Talc Personal Injury Claim seeks to hold such
 Protected Party liable for such Talc Personal Injury Claim in violation of the Plan and the
 Channeling Injunction. For the avoidance of doubt, notwithstanding the foregoing, under Section
 4.16 of the Plan, (a) the Talc Personal Injury Governmental Action Claims Sub-Trust will
 indemnify, defend, and hold harmless such Persons from against such items arising out of or in
 any way relating to any Governmental Action Claim and (b) the Talc Personal Injury Tort Claim
 Sub-Trust will indemnify, defend, and hold harmless such Persons from and against any such items
 arising out of or in any way relating to any Talc Personal Injury Claim other than Governmental
 Action Claims.

         (s)      Exculpation of the Protected Parties

         None of the Protected Parties shall have or incur any liability to any Person for any act or
 omission taken or to be taken in connection with, arising out of, or in any way relating to the
 administration or operation of the Talc Personal Injury Trust, including (a) the management of the
 assets of the Talc Personal Injury Trust and (b) the processing, liquidation, and payment of Talc
 Personal Injury Claims in accordance with the Talc Personal Injury Trust Documents.

 8.2     The Trust Distribution Procedures

         The Trust Distribution Procedures, which are attached to the Plan as Exhibit M, set forth
 procedures for processing and paying Talc Personal Injury Claims. These procedures will be
 binding on the holders of all Talc Personal Injury Claims. The Trust Distribution Procedures
 provide, among other things, for the resolution of Talc Personal Injury Claims pursuant to the
 terms of the Talc Personal Injury Trust Agreement and the Talc Personal Injury Trust Distribution
 Procedures, and that resolution of a Talc Personal Injury Claim by the Talc Personal Injury Trust
 will result in satisfaction of such Claim against the Talc Personal Injury Trust in accordance with
 the Talc Personal Injury Trust Distribution Procedures.

         The Talc Trustees will implement and administer the Talc Personal Injury Trust pursuant
 to the Talc Personal Injury Trust Distribution Procedures. The goal of the Talc Personal Injury
 Trust Distribution Procedures is to provide fair, equitable, and substantially similar treatment for
 all Talc Personal Injury Claims channeled to the Talc Personal Injury Trust that may presently
 exist or may arise in the future. To that end, the Talc Personal Injury Trust Distribution Procedures
 set forth procedures for processing and, if valid, paying claims generally on an impartial, first-in-
 first-out basis, with the intention of enabling each holder of a valid Claim against the Talc Personal
 Injury Trust to receive a payment from the Talc Personal Injury Trust of the unpaid portion of the
 liquidated value of Talc Personal Injury Claims that is at a level proportionate to other similar
 claimants.

         The Talc Personal Injury Trust Distribution Procedures establish a schedule of different
 compensable cancers, all of which have presumptive medical and exposure requirements
 ("Medical/Exposure Criteria") and, based on the circumstances surrounding the claims, will be
 valued on the basis of an initial point value (the "Initial Point Values"), which is then subject to
 potential adjustment factors (the "Point Value Adjustment Factors") and caps on their liquidated
 values ("Maximum Values"). The Medical/Exposure Criteria, Initial Point Values, Point Value



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 Adjustment Factors, and Maximum Values have all been selected and derived with the intention
 of achieving a fair allocation of the Talc Personal Injury Trust funds as among claimants suffering
 from different disease processes in light of the best available information. The Talc Personal Injury
 Trust was established with the goal of achieving a point value of one dollar ($1) per point and the
 Debtor believes that the Initial Point Value will be between fifty cents ($0.50) and two dollars ($2)
 per point.

                                            ARTICLE IX.

                          CERTAIN FACTORS TO BE CONSIDERED

        Holders of Claims in Class 4 (Talc Personal Injury Claims) should read and consider
 carefully the factors set forth below, as well as the other information set forth in this
 Disclosure Statement and the Plan attached hereto as Exhibit A, including its attached
 exhibits and schedules, prior to voting to accept or reject the Plan. These factors should not,
 however, be regarded as constituting the only risks involved in connection with the Plan and
 its implementation.

 9.1     Risks Related to Confirmation of the Plan

         Section 1129 of the Bankruptcy Code requires, among other things, a showing that
 confirmation of the Plan will not be followed by liquidation or the need for further financial
 reorganization of the Debtor, that the Plan was filed in good faith, and that the value of distributions
 to dissenting holders of Claims may not be less than the value such holders would receive if the
 Debtor was liquidated under chapter 7 of the Bankruptcy Code. Although the Debtor believes that
 the Plan will meet these tests, there can be no assurance that the Bankruptcy Court will reach the
 same conclusion.

         The Bankruptcy Code also requires that a Plan must provide the same treatment for each
 claim or interest in a particular class, unless a holder agrees to a less favorable treatment of its
 particular claim or interest. The Debtor believes that it has complied with the requirements of the
 Bankruptcy Code by its classification and treatment of various holders of Claims and Equity
 Interests under the Plan. However, if a member of a Class objects to its treatment or if the
 Bankruptcy Court finds that the Plan does not comply with the requirements of the Bankruptcy
 Code, confirmation of the Plan could be delayed or prevented.

         The Plan provides for a number of specific conditions precedent to confirmation of the
 Plan, including conditions related to section 524(g) of the Bankruptcy Code and the provision for,
 and implementation of, the Channeling Injunction. While the Debtor believes that the Plan and
 the Channeling Injunction provided for therein comply with the requirements of the Bankruptcy
 Code as necessary to allow for the satisfaction of all such conditions, including conditions related
 to section 524(g) of the Bankruptcy Code and the provision for, and implementation of, the
 Channeling Injunction, objections to confirmation of the Plan asserting the failure of the Plan and
 the Channeling Injunction to comply with such requirements may be asserted. If the Bankruptcy
 Court finds that the Channeling Injunction or any other provision of the Plan does not comply with
 the requirements of the Bankruptcy Code and, as a result, conditions precedent to confirmation of
 the Plan are not satisfied, confirmation of the Plan could be delayed or prevented.



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         In addition, holders of Talc Personal Injury Claims will have the opportunity to vote to
 accept or reject the Plan. If sufficient votes are not received to enable the Bankruptcy Court to
 confirm the Plan pursuant to the Bankruptcy Code, the Plan will not be confirmed. If the Debtor
 seeks to confirm an alternative chapter 11 plan, there can be no assurance that the terms of any
 such alternative chapter 11 plan would be similar or as favorable to the holders of Talc Personal
 Injury Claims as those proposed in the Plan.

 9.2     Risks Related to Occurrence of the Effective Date

         The Debtor cannot assure you that the Effective Date will occur or, if it does, as to the
 timing thereof. The Plan provides for a number of specific conditions precedent to the occurrence
 of the Effective Date. If at any time after confirmation of the Plan and prior to the Effective Date
 the conditions precedent to the Effective Date have not been satisfied or waived, the Bankruptcy
 Court could vacate the Confirmation Order. In that event, the Plan would be deemed null and
 void. If the Debtor proposes an alternative reorganization plan, there can be no assurance that the
 terms of any such alternative chapter 11 plan would be similar or as favorable to the holders of
 Talc Personal Injury Claims as those proposed in the Plan.

 9.3     Risks of a Return to the Tort System

        In the event that the Plan is not confirmed or the Confirmation Order is vacated, the
 Chapter 11 Case could be dismissed, in which case talc claims against the Debtor would be pursued
 and defended in the tort system.

         While the Plan would establish a trust to appropriately assess, resolve, and pay current and
 future talc claimants in an efficient and equitable manner, the tort system would subject such talc
 claimants to the cost, uncertainty, and delay of litigation.

         As described in more detail above, Old JJCI prevailed in the majority of talc cases it tried
 in the tort system, although Old JJCI was subject intermittently to extreme judgments. While the
 Plan would establish a trust that would value and pay similar talc claims in substantially the same
 manner, there can be wildly divergent verdicts across cases in the tort system, such that talc
 claimants with the same alleged injury receive substantially disparate treatment.

         Furthermore, it is possible that one or more trials in the tort system may involve a causation
 determination regarding whether the Debtor's cosmetic talc products caused claimants' injuries. It
 is possible that one or more of these causation determinations could result in a finding that the
 Debtor did not cause the claimants' injuries, which would mean that the implicated claimant(s)
 would not receive any recovery from the Debtor.

          The Debtor anticipates that, if resolution of talc claims against it returns to the tort system,
 it will be subject to a deluge of talc cases and will continue to be sued for talc claims for decades.
 The Debtor cannot assure you that its financial resources will be sufficient to indefinitely bear
 defense costs and judgments associated with talc litigation.




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 9.4     Risks Related to Recoveries from the Talc Personal Injury Trust by Holders of Talc
         Personal Injury Claims

         If the Effective Date occurs, Talc Personal Injury Claims will be resolved by the Talc
 Personal Injury Trust in accordance with the Talc Personal Injury Trust Documents, and their
 treatment will be based upon, among other things, estimates of the number, types, and amount of
 Talc Personal Injury Claims, the liquidity of the Talc Personal Injury Trust, the Talc Personal
 Injury Trust's expected future income and expenses, and other matters. There can be no certainty
 as to the precise amounts that will be distributed by the Talc Personal Injury Trust in any particular
 time period or when Talc Personal Injury Claims will be resolved by the Talc Personal Injury
 Trust.

        In addition, holders of Talc Personal Injury Claims who are Medicare beneficiaries and
 receive a distribution from the Talc Personal Injury Trust may be required to reimburse Medicare
 for medical expenses paid on behalf of such holder.

 9.5   Risk of Appointment of Different Talc Trustees, Talc Trust Advisory Committee Members,
 FCR, Talc Trust Claims Administrator, or Talc Trust Liens Resolution Administrator

        The Plan provides that the initial Talc Trustees will be [] and [], the initial Talc Trust
 Advisory Committee Members will be [], the initial FCR under the Talc Personal Injury Trust
 Agreement will be [], the initial Talc Trust Claims Administrator will be [], and the initial Talc
 Trust Liens Resolution Administrator will be [].

        There may be objections to the proposed Talc Trustees, Talc Trust Advisory Committee
 Members, FCR, Talc Trust Claims Administrator, or Talc Trust Liens Resolution Administrator.
 If such objections are successful, alternate Talc Trustees, Talc Trust Advisory Committee
 Members, FCR, Talc Trust Claims Administrator, or Talc Trust Liens Resolution Administrator
 would have to be nominated, potentially resulting in delays in the confirmation of the Plan and the
 occurrence of the Effective Date. In addition, the selection of different Talc Trustees, Talc Trust
 Advisory Committee Members, FCR Talc Trust Claims Administrator, or Talc Trust Liens
 Resolution Administrator could adversely affect administration of the Talc Personal Injury Trust.

 9.6     Risk of Classification Objections

         Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an interest
 in a particular class only if the claim or interest is substantially similar to the other claims or
 interests in that class. Parties in interest may object to the classification of certain claims and
 interests both on the grounds that certain claims and interests have been improperly placed in the
 same Class and/or that certain claims and interests have been improperly placed in different
 Classes. The Debtor believes that the classification of Claims and Equity Interests under the Plan
 complies with the requirements of the Bankruptcy Code because the Classes established under the
 Plan each encompass Claims or Equity Interests that are substantially similar to similarly classified
 Claims or Equity Interests. Nevertheless, there can be no assurance that the Bankruptcy Court will
 reach the same conclusion. Parties in interest may object to the classification of certain Claims
 and Equity Interests both on grounds that certain Claims and Equity Interests have been improperly




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 placed in the same Class and/or that certain Claims and Equity Interests have been improperly
 placed in different Classes.

 9.7     Risks Related to U.S. Federal Income Tax Consequences

        For a discussion of certain U.S. federal income tax consequences of the implementation of
 the Plan to the Debtor and to holders of certain Claims and Interests, see Article XII of this
 Disclosure Statement.

 9.8     Risk of Amendment of Plan by the Debtor Prior to Confirmation

         The Debtor, subject to the terms and conditions of the Plan, reserves the right to modify
 the terms and conditions of the Plan or waive any conditions thereto if and to the extent necessary
 or desirable for confirmation. The potential impact of any such amendment or waiver on holders
 of Claims and Equity Interests cannot presently be foreseen but may include a change in the
 economic impact of the Plan on some or all of the proposed Classes or a change in the relative
 rights of such Classes.

 9.9     Additional Factors

         (a)      Debtor Could Withdraw the Plan

        Subject to, and without prejudice to, the rights of any party in interest, the Plan may be
 revoked or withdrawn before the Confirmation Date by the Debtor.

         (b)      Debtor Has No Duty to Update

         The statements contained in this Disclosure Statement are made by the Debtor as of the
 date hereof, unless otherwise specified herein, and the delivery of this Disclosure Statement after
 that date does not imply that there has been no change in the information set forth herein since that
 date. Additionally, the Debtor has no duty to update this Disclosure Statement unless otherwise
 ordered to do so by the Bankruptcy Court.

         (c)      No Representations Outside this Disclosure Statement Are Authorized

         No representations concerning or related to the Debtor, the Chapter 11 Case, or the Plan
 are authorized by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in this
 Disclosure Statement. Any representations or inducements made to secure your acceptance or
 rejection of the Plan that are other than those contained in, or included with, this Disclosure
 Statement should not be relied upon in making the decision to accept or reject the Plan.

         (d)      No Legal or Tax Advice Is Provided by this Disclosure Statement

         The contents of this Disclosure Statement should not be construed as legal, business, or tax
 advice. Each holder of a Claim or Interest should consult its own legal counsel and accountant as
 to legal, tax, and other matters concerning their Claim or Interest. This Disclosure Statement is
 not legal advice to you. This Disclosure Statement may not be relied upon for any purpose other
 than to determine how to vote on the Plan or object to Confirmation of the Plan.



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         (e)      This Disclosure Statement May Contain Forward Looking Statements

         This Disclosure Statement may contain "forward looking statements" within the meaning
 of the Private Securities Litigation Reform Act of 1995. Such statements consist of any statement
 other than a recitation of historical fact and can be identified by the use of forward looking
 terminology such as "may," "expect," "anticipate," "estimate" or "continue" or the negative thereof
 or other variations thereon or comparable terminology. The reader is cautioned that all forward
 looking statements are necessarily speculative and there are certain risks and uncertainties that
 could cause actual events or results to differ materially from those referred to in such forward
 looking statements. The timing and amount of actual distributions to holders of Talc Personal
 Injury Claims satisfied by the Talc Personal Injury Trust in accordance with the Trust Distribution
 Procedures may be affected by many factors that cannot be predicted. Therefore, any analyses,
 estimates or recovery projections may or may not turn out to be accurate.

         (f)      No Admission Made

         Nothing contained herein or in the Plan shall constitute an admission of, or shall be deemed
 evidence of, the tax or other legal effects of the Plan on the Debtor or holders of Claims or Equity
 Interests.

                                                  ARTICLE X.

                     SOLICITATION PROCEDURES AND REQUIREMENTS

 10.1    Solicitation Procedures Summary 10

          The following section describes in summary fashion the Solicitation Procedures, which
 establishes the solicitation and vote tabulation procedures, schedules the Confirmation Hearing,
 and sets the voting deadline and the deadline for objecting to confirmation of the Plan. Those
 procedures and requirements establish, among other things, the place to send completed Ballots,
 in the forms approved by the Bankruptcy Court in the Solicitation Procedures Order, used in voting
 on the Plan, together with the deadline for returning completed Ballots for voting on the Plan and
 the deadline for objecting to the Plan. The Debtor has distributed Solicitation Packages in
 connection with the foregoing containing:

         (a)      a cover letter describing (i) the contents of the Solicitation Package, (ii) the contents
                  of any enclosed USB flash drive and instructions for use of the USB flash drive,
                  and (iii) information about how to obtain access to, free of charge, the Plan, the
                  Disclosure Statement, the order approving the Disclosure Statement, together with




 10
   Capitalized terms used in this Article X and not otherwise defined herein or in the Plan have the meanings ascribed
 to them in the Solicitation Procedures Order or Solicitation Procedures (as defined in the Solicitation Procedures
 Order) (as applicable).



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                  the exhibits thereto, and any other documents mentioned in the Solicitation
                  Package;

         (b)      notice of the hearing to consider confirmation of the Plan (the "Confirmation
                  Hearing Notice" and the "Confirmation Hearing," respectively), substantially in the
                  form attached to the Solicitation Procedures Order as Exhibit 7-1;

         (c)      copies (in electronic format) of the Disclosure Statement with all exhibits, including
                  the Plan with its exhibits (to the extent such exhibits are filed with the Court more
                  than [_] business days before the Solicitation Date);

         (d)      the Solicitation Procedures Order, excluding any exhibits thereto (in electronic
                  format);

         (e)      solely for holders of Talc Personal Injury Claims, as applicable, and Equity
                  Interests of the Debtor, an appropriate Ballot and voting instructions for the same;

         (f)      solely for holders of Talc Personal Injury Claims, as applicable, and Equity
                  Interests of the Debtor, a pre-addressed, postage prepaid return envelope for
                  completed Ballots;

         (g)      any letters from (i) the Debtor included as Exhibit 7-3 to the Solicitation Procedures
                  Order; (ii) the AHC of Supporting Counsel, which letter will be filed no later than
                  one week prior to the deadline to object to this Motion and included as Exhibit 7-5
                  to the Solicitation Procedures Order; and (iii) certain other constituencies that who
                  may recommend acceptance of the Plan setting forth their recommendations with
                  respect to the Plan; and

         (h)      any other materials ordered by the Court to be included as part of the Solicitation
                  Package.

         The Solicitation Procedures Order, the Solicitation Procedures, the Confirmation Hearing
 Notice, and the instructions attached to your Ballot, as applicable, should be read in connection
 with this Section of this Disclosure Statement as they set forth the Solicitation Procedures and
 deadlines in detail. If you are a holder of a Claim who is entitled to vote on the Plan and you or
 your attorney did not receive a Ballot, received a damaged Ballot, or lost your Ballot, please
 contact the Solicitation Agent (i) by telephone at (888) 431-4056 (Toll-Free) or +1 (503) 822-6762
 (International); (ii) by e-mail at LTLVote@epiqglobal.com; (iii) by visiting their website at
 https://dm.epiq11.com/ltl; or (iv) by writing at LTL Management LLC, c/o Epiq Ballot Processing
 Center, P.O. Box 4422, Beaverton, OR 97076-4422, or LTL Management LLC, c/o Epiq Ballot
 Processing, 10300 SW Allen Boulevard, Beaverton, OR 97005.

        The Solicitation Procedures set forth a process by which attorneys representing holders of
 Direct Talc Personal Injury Claims, as listed on the Schedules or in the Debtor's or the Solicitation
 Agent's records (collectively, the "Firms"), will receive copies of the Direct Talc Personal Injury
 Claim Solicitation Notice and the Certified Plan Solicitation Directive. The Direct Talc Personal
 Injury Claim Solicitation Notice will notify the Firms of the options proposed for soliciting votes
 on the Plan in respect of Direct Talc Personal Injury Claims and request that each Firm complete


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 and return the Certified Plan Solicitation Directive to the Solicitation Agent no later than
 [____ , 2023].

        The Certified Plan Solicitation Directive permits each Firm to direct the Solicitation Agent
 with regard to the solicitation of votes on the Plan from individuals, estates, or Entities who or
 which hold Direct Talc Personal Injury Claims (collectively, the "Clients") according to one of the
 following procedures:

         (a)      Master Ballot Solicitation Method. A Firm may direct the Solicitation Agent to
                  serve the Firm with one Solicitation Package and one Master Ballot on which the
                  Firm will record the votes of each of its Clients on the Plan if the Firm certifies,
                  inter alia, that it will: (i) solicit, collect and record the votes of its Clients through
                  customary and accepted practices or will obtain authority to procedurally cast each
                  Clients' vote; (ii) comply with the solicitation procedures set forth in the Solicitation
                  Procedures Order and the Master Ballot; and (iii) only submit votes that reflect the
                  informed decision of its Clients. If a Firm elects this procedure, the Firm must
                  either (i) provide a Solicitation Package to each Client, or (ii) request that the
                  Solicitation Agent serve Solicitation Packages (without a Ballot) on its Clients.

         (b)      Direct Solicitation Method. If a Firm chooses not to solicit, collect, record and
                  submit the vote of any of its Clients, such Firm may direct the Solicitation Agent
                  to solicit votes on the Plan directly from its Clients.

         (c)      Indirect Solicitation Method. If a Firm prefers to solicit the votes of its Clients but
                  chooses to have the Clients cast their votes on the Plan by submitting separate
                  ballots, the attorney may direct the Solicitation Agent to send the Solicitation
                  Packages (including appropriate Ballots) to the Firm, which will, in turn, provide
                  the Solicitation Packages (including appropriate Ballots) to its Clients. If the Firm
                  selects this method: (i) the Solicitation Agent will cause the requested number of
                  Solicitation Packages, including appropriate Ballots, to be sent to the Firm; (ii) the
                  Firm must provide the Solicitation Packages to the Clients within three Business
                  Days after receipt; and (iii) the Firm must file an affidavit of service with the Court,
                  and send a copy of such affidavit to the Solicitation Agent, within three Business
                  Days of such service. The Firms will not be required to list the names and addresses
                  of the Clients served on the affidavit of service. The affidavit of service only needs
                  to state that service was completed, the date(s) that service was completed, and that
                  the attorney has provided the Solicitation Agent with the required list of Clients, as
                  described in the Solicitation Procedures.

         (d)      Hybrid Solicitation Method. If a Firm chooses to elect Master Ballot Solicitation
                  Method for only certain of its Clients (collectively, the "Master Ballot Clients") and
                  makes all the certifications described in subsection (a) above with respect to the
                  Master Ballot Clients, the Firm may direct the Solicitation Agent to serve the Firm
                  with one Solicitation Package and one Master Ballot on which the Firm must record
                  the votes of each of its Master Ballot Clients on the Plan and otherwise comply with
                  the requirements of the Master Ballot Solicitation Method for the Master Ballot
                  Clients. If a Firm elects this procedure, the Firm must either (i) provide a


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                  Solicitation Package to each Master Ballot Client, or (ii) request that the Solicitation
                  Agent serve Solicitation Packages (without a Ballot) on its Master Ballot Clients.
                  With respect to such Firm's other Clients that are not Master Ballot Clients
                  (collectively, the "Individual Ballot Clients"), the Firm must elect the procedure
                  under either the Direct Solicitation Method (subsection (b) above) or the Indirect
                  Solicitation Method (subsection (c) above).

         The Solicitation Agent will serve the Solicitation Packages in accordance with the
 instructions set forth on the Certified Plan Solicitation Directives. If a Firm fails to return the
 Certified Plan Solicitation Directive by [____. 2023], the Firm will be deemed to have directed the
 Solicitation Agent to solicit votes on the Plan from its Clients according to the Indirect Solicitation
 Method described above. The Debtor will reimburse Firms for actual postage paid for transmitting
 Solicitation Packages.

         The Certified Plan Solicitation Directive also required each Firm submit to the Solicitation
 Agent a list (the "Client List(s)") that contain the name and last four digits of the Social Security
 Number, to the extent that such Client has a Social Security Number, and, if the Firm is requesting
 that the Solicitation Agent directly or indirectly serve a Solicitation Package on the Client, the
 personal, home address of each Client. To the extent Client Lists were not submitted with the
 Certified Plan Solicitation Directives by the deadline set forth above, the Solicitation Agent will
 distribute Solicitation Packages for the affected Clients as soon as practicable after the receipt of
 such lists. If a Firm is retained by additional Clients following the submission of its Certified Plan
 Solicitation Directive, the Firm must submit a supplement to its Certified Plan Solicitation
 Directive, which the Firm shall be deemed to have certified consistent with its original Client List,
 in order to submit the votes of such Clients in the manner set forth on the Certified Plan Solicitation
 Directive.

         If you are entitled to vote on the Plan, a form of Ballot for your Claim has been provided
 to you, unless otherwise provided to a Firm, as contemplated by the Certified Plan Solicitation
 Directive. Holders of Talc Personal Injury Claims or their attorneys, as applicable, should have
 received a Class 4 Ballot (relating to Talc Personal Injury Claims) and holders of Equity Interests
 of the Debtor or their attorneys should have received a Class 6 Ballot. You should refer to the
 Solicitation Procedures sent with this Disclosure Statement to determine precisely those
 procedures that apply with respect to the return of your Ballot.

         Completed and signed Ballots can be submitted (i) by first class mail to LTL Management
 LLC, c/o Epiq Ballot Processing Center, P.O. Box 4422, Beaverton, OR 97076-4422 or by
 overnight courier or hand delivery to: LTL Management LLC, c/o Epiq Ballot Processing, 10300
 SW Allen Boulevard, Beaverton, OR 97005 or (ii) through electronic or online transmission
 through the Voting Portal on the Solicitation Agent's website at https://dm.epiq11.com/ltl. As set
 forth in the Solicitation Procedures, no other forms of electronic transmission of Ballots, e.g., email
 or facsimile, will be accepted.




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 10.2    Voting Deadline

        To be considered for purposes of accepting or rejecting the Plan, all Ballots must be
 returned to and actually received by the Solicitation Agent on or before the Voting Deadline
 of 4:00 p.m. (prevailing Eastern Time) on [____, 2023].

 10.3    Holders of Claims and Interests Entitled to Vote

         Under section 1124 of the Bankruptcy Code, a class of claims or equity interests is deemed
 to be "impaired" under a plan unless (a) the plan leaves unaltered the legal, equitable and
 contractual rights to which such claim or equity interest entitles the holder thereof, or
 (b) notwithstanding any legal right to an accelerated payment of such claim or equity interest, the
 plan: (1) cures all existing defaults (other than defaults resulting from the occurrence of events of
 bankruptcy); (2) reinstates the maturity of such claim or equity interest as it existed before the
 default; (3) compensates the holder of such claim or equity interest for any damages from such
 holder's reasonable reliance on such legal right to an accelerated payment; and (4) does not
 otherwise alter the legal, equitable or contractual rights to which such claim or equity interest
 entitles the holder of such claim or equity interest.

         Holders of claims and equity interests in impaired classes are generally entitled to vote to
 accept or reject a plan. However, if the holder of an impaired claim or equity interest will not
 receive any distribution under the plan in respect of such claim or equity interest, the Bankruptcy
 Code deems such holder to have rejected the plan (unless such holder has agreed to such treatment)
 and provides that the holder of such claim or equity interest is not entitled to vote. If the claim or
 equity interest is not impaired, the Bankruptcy Code conclusively presumes that the holder of such
 claim or equity interest has accepted the plan and provides that the holder is not entitled to vote.

         Holders of Claims in Class 4 and Holders of Interests in Class 6 are Impaired and,
 thus, entitled to vote to accept or reject the Plan. All other Classes are not entitled to vote on
 the Plan because they are Unimpaired and are therefore presumed to accept the Plan.

 10.4    Vote Required for Acceptance by a Class

         Pursuant to sections 1126(c) and 524(g)(2)(B)(ii)(IV)(bb) of the Bankruptcy Code, Class
 4 (Talc Personal Injury Claims) shall have accepted the Plan only if at least two-thirds (2/3) in
 amount and seventy-five percent (75%) in number of Talc Personal Injury Claims actually voting
 on the Plan have voted to accept the Plan in accordance with the Solicitation Procedures Order.

        Pursuant to section 1126(c) of the Bankruptcy Code, Class 6 (Equity Interests of the
 Debtor) shall have accepted the Plan only if at least two-thirds (2/3) in amount and fifty percent
 (50%) in number of Holders of Equity Interests of the Debtor vote to accept the Plan. Accordingly,
 if Holdco, as the holder of all Interests in Class 6, timely votes to accept the Plan, Class 6 shall
 have accepted the Plan. Holdco, which is a party to the Plan Support Agreements, is expected to
 timely vote to accept the Plan.




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 10.5    Solicitation Procedures

         (a)      Ballots

         All votes to accept or reject the Plan with respect to Class 4 and Class 6 must be cast by
 properly submitting the duly completed and executed form of Ballot designated for such Claims
 or Interests. Holders of Talc Personal Injury Claims in Class 4 and Equity Interests of the Debtor
 in Class 6 or their attorneys (as applicable) voting on the Plan should complete and sign the
 appropriate Ballot in accordance with the instructions thereon, being sure to check the appropriate
 box to "accept" the Plan or "reject" the Plan. In addition, if any holder of a Claim elects not to
 grant the releases set forth in Article XI of the Plan, then it should check the appropriate box on
 its Ballot and follow the instructions contained in the Ballot.

         No vote in favor of or against the Plan by or on behalf of a holder of a Talc Personal Injury
 Claim shall be counted by the Solicitation Agent unless the Ballot reflecting such vote is timely
 submitted to the Solicitation Agent with the written certifications contained on the Ballot, provided
 that a Ballot that is properly submitted electronically via the Voting Portal shall be deemed to
 contain an original signature.

           As set forth in the Solicitation Procedures, improperly completed Ballots will not be
 counted. By way of example and not limitation, any Ballot received which is not signed or
 which contains insufficient information to permit the identification of the claimant will be
 an invalid Ballot and will not be counted for purposes of determining acceptance or rejection
 of the Plan. Further, (i) a Master Ballot on which the attorney fails to make the required
 certifications, (ii) a Master Ballot that fails to include the required Exhibit, (iii) a Ballot
 submitted by or on behalf of a holder of a Direct Talc Personal Injury Claim in the United
 States that does not provide the last four digits of the claimant's Social Security Number
 when such number is available or (iv) a Ballot submitted by or on behalf of a holder of a
 Direct Talc Personal Injury Claim that does not include the required certification will not
 be counted. In addition, a vote cast on a Ballot as to an individual holder will not be counted
 if it is returned to the Solicitation Agent: (i) indicating neither acceptance nor rejection of
 the Plan; (ii) indicating both acceptance and rejection of the Plan; or (iii) indicating partial
 rejection and partial acceptance of the Plan.

         Ballots must be delivered to the Solicitation Agent, at the addresses set forth above in
 Section 10.1, or submitted via through electronic or online transmission through the Voting Portal
 on the Solicitation Agent's website at https://dm.epiq11.com/ltl, and received by the Voting
 Deadline. The method of such delivery is at the election and risk of the voter. Although the
 method of delivery is at the risk of the voter, for the convenience of each holder of a Talc Personal
 Injury Claim entitled to vote on the Plan or such holder's attorney, as applicable and in accordance
 with the Certified Plan Solicitation Directive, the Solicitation Package contains a pre-addressed,
 postage prepaid envelope for return of such holder's Ballot. In all cases, sufficient time should be
 allowed to ensure timely delivery. Instructions for casting an electronic Ballot can be found on
 the Solicitation Agent's website at https://dm.epiq11.com/ltl.

        If you are entitled to vote and you or your attorney (as applicable) did not receive a Ballot,
 received a damaged Ballot or lost your Ballot, please contact the Solicitation Agent in the manner



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 set forth above. For additional information regarding the voting process, please refer to the
 Solicitation Procedures Order, the Solicitation Procedures, the Confirmation Hearing Notice, and
 the instructions attached to your Ballot (to the extent a Ballot was not otherwise received by your
 attorney pursuant to the Certified Plan Solicitation Directive).

        Please refer to the Solicitation Procedures and Solicitation Procedures Order for more
 information regarding the voting of Talc Personal Injury Claims.

         (b)       Withdrawal of Votes and Multiple Votes on the Plan

        A voter that submits a valid Ballot may withdraw his, her, or its vote by delivering a written
 notice of withdrawal to the Solicitation Agent before the Voting Deadline (or such later date as
 agreed by the Debtor). To be valid, the notice of withdrawal must be signed by the party who
 signed the Ballot, provided that the withdrawal or change of a vote that is cast on a Master Ballot
 will only be effective with respect to claimants who have made an informed decision regarding
 such withdrawal or change. The Debtor reserves the right to contest any withdrawals.

        In addition, the following procedures for voting will be used by the Debtor to address
 multiple Ballots.

               •   If the Solicitation Agency receives more than one Ballot from different holders
                   purporting to hold the same Claim or Interest, in the absence of contrary
                   information establishing which holder held such Claim or Interest as of the Voting
                   Deadline, the latest-dated otherwise valid Ballot that is received before the Voting
                   Deadline (or such later date as agreed by the Debtor) will be the Ballot that is
                   counted.

               •   If the Solicitation Agent receives a Ballots from the holder of a Claim or Interest
                   and someone purporting to be his, her, or its attorney or agent, the Ballot received
                   from the holder of the Claim or Interest will be the Ballot that is counted, regardless
                   of when it is received so long as it is received before the Voting Deadline, and the
                   vote of the purported attorney or agent will not be counted. For the avoidance of
                   doubt, any Ballot received directly from the holder of a Talc Personal Injury Claim
                   shall supersede any Master Ballot returned on account of a Talc Personal Injury
                   Claim and shall be the vote that is counted.

               •   If the Solicitation Agent receives more than one Ballot from a holder of a Claim or
                   Interest for the same Claim or Interest, in the absence of contrary information
                   establishing which Ballot is valid as of the Voting Deadline, the latest-dated
                   otherwise valid Ballot that is received before the Voting Deadline will be the Ballot
                   that is counted as a vote to accept or reject the Plan. If multiple Ballots (other than
                   Master Ballots, which are addressed below) are received from a Firm or agent with
                   respect to the same Claim or Interest (but not from the holder thereof), in the
                   absence of contrary information establishing which Ballot is valid as of the Voting
                   Deadline, the latest-dated otherwise valid Ballot that is received before the Voting
                   Deadline (or such later date as agreed by the Debtor) will be the Ballot that is
                   counted.


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               •   If the same holder of a Direct Talc Personal Injury Claim appears on more than one
                   Master Ballot, the Solicitation Agent will attempt to coordinate with the respective
                   Firms to cure the discrepancy. However, if the Firms are unsuccessful in curing
                   the discrepancy, the vote of the holder appearing on more than one Master Ballot
                   will be counted only once and only if such votes are consistent with respect to
                   acceptance or rejection of the Plan; in the event that the votes are not consistent,
                   none of the votes will be counted.

         The Debtor will not be obligated to recognize any withdrawal, revocation or change of any
 vote received after the Voting Deadline (or such later date as agreed by the Debtor with the consent
 of the Debtor, with such consent not to be unreasonably withheld).

         (c)       Requesting a Solicitation Package

        If a holder of a Talc Personal Injury Claim contacts the Solicitation Agent before the Voting
 Deadline and requests a Solicitation Package, the Solicitation Agent will provide such claimant
 with a Solicitation Package within five Business Days of such request. Copies of the materials
 contained in the Solicitation Packages (excluding the Confirmation Hearing Notice and the Ballots,
 which will be provided in paper copy) may be provided in paper copy or on USB drive at the
 Debtor's discretion and shall be made available free of charge on the Document Website; provided,
 however, that any party may request to receive paper copies of such materials from the Solicitation
 Agent at no cost to such party.

                                             ARTICLE XI.

                                  CONFIRMATION OF THE PLAN

         Under the Bankruptcy Code, the following steps, among others, must be taken to confirm
 the Plan:

 11.1    Confirmation Hearing

         Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court, after notice, to
 hold a hearing on confirmation of a plan of reorganization. By order of the Bankruptcy Court, the
 Confirmation Hearing is scheduled for [____] at [__] [].m. (Prevailing Eastern Time) before the
 Honorable Michael B. Kaplan, United States Bankruptcy Judge for the District of New Jersey, in
 the United States Bankruptcy Court for District of New Jersey, Clarkson S. Fisher U.S.
 Courthouse, 402 East State Street, Trenton, New Jersey 08608. The Confirmation Hearing may
 be adjourned from time to time by the Bankruptcy Court without further notice except for an
 announcement of the adjourned date made at the Confirmation Hearing or any subsequently
 adjourned Confirmation Hearing.

        Section 1128(b) of the Bankruptcy Code provides that any party in interest may object to
 confirmation of a plan of reorganization. Any objection to confirmation of the Plan must be filed
 with the Bankruptcy Court no later than [____] at []:00 p.m. (Prevailing Eastern Time), and will
 be governed by Bankruptcy Rules 3020(b) and 9014 and the Local Rules. Unless an objection is
 timely and properly served and filed, it may not be considered by the Bankruptcy Court.



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 11.2    Requirements for Confirmation of the Plan

        At the Confirmation Hearing, the Bankruptcy Court will confirm the Plan only if all of the
 applicable requirements of section 1129 of the Bankruptcy Code are met.

         (a)      Acceptance

         Class 4 is Impaired under the Plan, and the holders of Claims in such Class are entitled to
 vote on the Plan. Class 6 is Impaired under the Plan, and the holder of Interests in such class is
 entitled to vote on the Plan. Class 4 must accept the Plan in order for it to be confirmed.

         (b)      Issuance of Injunction Pursuant to Sections 524(g) and 105(a) of the Bankruptcy
                  Code

         The Bankruptcy Court shall be asked to issue the Channeling Injunction if the Plan has
 been accepted by at least two-thirds (2/3) in amount of those holders of Class 4 Claims and
 seventy-five percent (75%) in number of those holders of Class 4 Claims actually voting on the
 Plan, in accordance with section 524(g)(2)(B)(ii)(IV)(bb) of the Bankruptcy Code. The amount
 of the Claim for voting purposes for each Class 4 Claim holder shall be as set forth in the
 Solicitation Procedures Order.

         If the Bankruptcy Court or the District Court does not enter the Channeling Injunction, the
 Effective Date shall not occur.

         (c)      "Best Interests" Test

         The "Best Interests Test" under Section 1129 of the Bankruptcy Code requires, as a
 condition to confirmation of a plan of reorganization, that each holder of claims or equity interests
 of an impaired class either (i) accept the Plan or (ii) receive property with a value not less than the
 amount such holder would receive in a chapter 7 liquidation. Section 1129 of the Bankruptcy
 Code thus requires that holders of Talc Personal Injury Claims in Class 4 who do not vote to accept
 the Plan will receive or retain an amount under the Plan not less than the amount that such holders
 would receive or retain if the Debtor were to be liquidated under chapter 7 of the Bankruptcy
 Code. While Class 6 (Equity Interests of the Debtor) is also impaired under the Plan, the holder
 of those interests in Class 6, Holdco, will timely vote in favor of the Plan, thus rendering the Best
 Interests Test inapplicable to Class 6.

         The Debtor believes that, under the Plan, holders of Talc Personal Injury Claims will
 receive property with a value equal to or in excess of the value such holders would receive in a
 liquidation of the Debtor under chapter 7 of the Bankruptcy Code. Specifically, while both under
 the Plan and in a hypothetical chapter 7, holders of Talc Personal Injury Claims may be paid in
 full, there are unique risks to consider in a chapter 7 that may ultimately result in reduced
 recoveries for Talc Personal Injury Claims.

         First, there would necessarily be costs and delays involved in liquidating claims in chapter
 7, as compared to the relative efficiency of the trust processes established in the Plan for handling
 and resolving Talc Personal Injury Claims. In addition, the trustee in any chapter 7 proceeding
 would be unable to make distributions to creditors until all assets of the Debtor's estate were


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 reduced to cash and all of the estate's liabilities were liquidated, including the administrative
 expenses from the preceding chapter 11 case, as well as for the chapter 7 proceeding. Further, in
 the chapter 7 context the Debtor would be unable to access the remedies provided in section 524(g)
 of the Bankruptcy Code, including the section 524(g) channeling injunction, which would
 eliminate reliable and satisfactory means of making provisions to allow for distributions to future
 asbestos claimants.

         In addition to the above risks and pursuant to the provisions of the 2023 Funding
 Agreement, if the Debtor was in a hypothetical chapter 7 liquidation, funds provided pursuant to
 the 2023 Funding Agreement would not be available to provide recoveries for Talc Personal Injury
 Claimants. In the absence of the 2023 Funding Agreement, and without the protections provided
 by section 524(g) of the Bankruptcy Code, it is also unlikely that J&J would contribute substantial
 funding to resolve talc claims in any chapter 7 liquidation.

         Finally, if the Chapter 11 Case proceeds to a chapter 7 liquidation, in light of the
 unavailability of the 2023 Funding Agreement, it is possible that a trustee may dismiss the chapter
 7 case in order to ensure that funds are available pursuant to the 2023 Funding Agreement for
 claimants' recoveries in the tort system. Alternatively, the trustee in a chapter 7 proceeding might
 bring a fraudulent transfer cause of action against certain non-debtor affiliates. In connection with
 the fraudulent transfer litigation, it is possible that the Debtor's liability for talc-related claims
 might need to be determined, and it is possible that such determination could result in a court
 finding that the Debtor has no liability for its cosmetic talc products, or that such liability is smaller
 than the amount the Debtor had agreed to pay pursuant to the Plan.

                                             ARTICLE XII.

                       CERTAIN TAX CONSEQUENCES OF THE PLAN

         The following discussion summarizes certain U.S. federal income tax consequences
 expected to result from the consummation of the Plan. This discussion is only for general
 information purposes and only describes the expected tax consequences to U.S. holders of Talc
 Personal Injury Claims other than Governmental Action Claims. It is not a complete analysis of
 all potential federal income tax consequences and does not address any tax consequences arising
 under any state, local, or foreign tax laws or federal estate or gift tax laws. This discussion is based
 on the Internal Revenue Code of 1986, as amended (the "Internal Revenue Code"), Treasury
 Regulations promulgated thereunder, judicial decisions, and published rulings and administrative
 pronouncements of the Internal Revenue Service (the "IRS"), all as in effect on the date of this
 Disclosure Statement. These authorities may change, possibly retroactively, resulting in federal
 income tax consequences different from those discussed below. No ruling has been or will be
 sought from the IRS, and no legal opinion of counsel will be rendered, with respect to the matters
 discussed below. There can be no assurance that the IRS will not take a contrary position regarding
 the federal income tax consequences resulting from the consummation of the Plan or that any
 contrary position would not be sustained by a court.

        This discussion does not address all federal income tax considerations that may be relevant
 to a particular holder in light of that holder's particular circumstances. In addition, it does not
 address considerations relevant to non-U.S. holders or to U.S. holders subject to special rules under


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 the federal income tax laws, such as holders subject to the alternative minimum tax, holders who
 utilize installment method reporting with respect to their Claims, and holders who have a
 functional currency other than the U.S. dollar and partnerships or other pass-through entities for
 U.S. tax purposes (and investors therein). For the avoidance of doubt, this discussion also does
 not address the U.S. federal income tax consequences to the holders of Governmental Actions
 Claims or the holders of Claims (a) whose Claims are Unimpaired or (b) that are deemed to accept
 the Plan. Additionally, this discussion does not address any consideration being received other
 than in a person's capacity as a holder of a Claim, including any tax consequences to the holder of
 the Equity Interests of the Debtor. Moreover, this discussion does not address the tax treatment of
 the Reorganized Debtor given that the tax treatment of the Reorganized Debtor should have no
 impact on holders of Talc Personal Injury Claims.

          For purposes of this discussion, a "U.S. holder" is a holder of a Claim that is: (a) an
 individual citizen or resident of the U.S. for U.S. federal income tax purposes; (b) a corporation
 (or other entity treated as a corporation for U.S. federal income tax purposes) created or organized
 under the laws of the U.S., any state thereof or the District of Columbia; (c) an estate the income
 of which is subject to U.S. federal income taxation regardless of the source of such income; or
 (d) a trust (i) if a court within the U.S. is able to exercise primary jurisdiction over the trust's
 administration and one or more "United States persons" (within the meaning of section 7701(a)(30)
 of the Internal Revenue Code) have authority to control all substantial decisions of the trust or
 (ii) that has a valid election in effect under applicable Treasury Regulations to be treated as a
 "United States person" (within the meaning of section 7701(a)(30) of the Internal Revenue Code).

         Holders of Talc Personal Injury Claims should consult their own tax advisors
 regarding the U.S. federal income tax consequences to them of the consummation of the Plan
 and the receipt of amounts from the Talc Personal Injury Trust, as well as any tax
 consequences arising under any state, local, or foreign tax laws, or any other federal tax laws.
 The Debtor and the Reorganized Debtor shall not be liable to any person with respect to the
 tax liability of a holder or its Affiliates.

 12.1    Treatment of the Talc Personal Injury Trust

         It is anticipated that the Talc Personal Injury Tort Claims Sub-Trust will be a "qualified
 settlement fund" within the meaning of the Treasury Regulations promulgated under Section 468B
 of the Internal Revenue Code. Such Treasury Regulations provide that a fund, account, or trust
 will be a qualified settlement fund if three conditions are met. First, the fund, account, or trust
 must be established pursuant to an order of or be approved by a government authority, including a
 court, and must be subject to the continuing jurisdiction of that government authority. A court
 order giving preliminary approval to a fund, account, or trust will satisfy this requirement even
 though the order is subject to review or revision. Second, the fund, account, or trust must be
 established to resolve or satisfy one or more contested or uncontested claims that have resulted or
 may result from an event (or related series of events) that has occurred and that has given rise to
 at least one claim asserting liability arising, among other things, out of a tort. Third, the fund,
 account, or trust must be a trust under applicable state law or have its assets physically segregated
 from the other assets of the transferor and persons related to the transferor. The Talc Personal
 Injury Tort Claims Sub-Trust has been established with the express purpose of satisfying the
 requirements of a qualified settlement fund and will be treated as a separate taxable entity. Its


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 modified gross income will generally be subject to U.S. federal income tax at the highest rate
 applicable to estates and trusts. For purposes of determining the Talc Personal Injury Tort Claims
 Sub-Trust's modified gross income, payments to the Talc Personal Injury Tort Claims Sub-Trust
 and payments from the Talc Personal Injury Tort Claims Sub-Trust to holders of Talc Personal
 Injury Claims in settlement of their Claims will not be taken into account.

 12.2    Tax Consequences to Holders of Talc Personal Injury Claims

         The tax consequences of payments received by holders of Talc Personal Injury Claims will
 depend on the individual nature of each such Claim and the particular circumstances and facts
 applicable to such holder at the time each such payment is made. To the extent that payments from
 the Talc Personal Injury Tort Claims Sub-Trust to holders of Talc Personal Injury Claims
 constitute damages received by such holders on account of physical injuries or physical sickness,
 such payments generally should not constitute gross income to such recipients under Section 104
 of the Internal Revenue Code, except to the extent that such payments are attributable to medical
 expense deductions allowed under Section 213 of the Internal Revenue Code for a prior taxable
 year. To the extent that any payments from the Talc Personal Injury Tort Claims Sub-Trust to
 holders of Talc Personal Injury Claims constitute damages received by such holders on account of
 claims other than physical injuries (such as lost wages) or received as interest (or any other
 amounts not excludable from income under Section 104 of the Internal Revenue Code), such
 payments generally should be includible in gross income to such holders.

         All distributions to holders of Talc Personal Injury Claims under the Plan are subject to
 any applicable withholding. Under U.S. federal income tax law, interest, dividends, and other
 reportable payments may, under certain circumstances, be subject to "backup withholding" at the
 then applicable rate. Backup withholding generally applies if the holder (a) fails to furnish its
 social security number or other taxpayer identification number ("TIN"), (b) furnishes an incorrect
 TIN, (c) fails properly to report interest or dividends, or (d) under certain circumstances, fails to
 provide a certified statement, signed under penalty of perjury, that the TIN provided is its correct
 number and that it is not subject to backup withholding, in each case on a properly completed and
 validly executed IRS Form W-9. Backup withholding is not an additional tax but merely an
 advance payment, which may be refunded to the extent it results in an overpayment of tax. Certain
 persons are exempt from backup withholding, including, in certain circumstances, corporations,
 and financial institutions.

          The foregoing is intended to be a summary only and not a substitute for careful tax
 planning with a tax advisor. The federal, state, local, and foreign income tax consequences
 of the Plan are complex and, in some cases, uncertain. Such consequences also may vary
 based on the individual circumstances of each holder of a Talc Personal Injury Claim.
 Accordingly, each holder of a Talc Personal Injury Claim is strongly urged to consult with
 its, his, or her own tax advisor regarding the federal, state, local, and foreign income tax
 consequences of the Plan.

        Furthermore, any U.S. federal tax discussion contained in this Disclosure Statement,
 the Plan, and any Plan Documents, and any exhibits or attachments to any such documents,
 was not intended or written to be used, and cannot be used, by any taxpayer for the purpose
 of avoiding any penalties that may be imposed on such taxpayer by the IRS.



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                                          ARTICLE XIII.

                          CONCLUSION AND RECOMMENDATION

        The Debtor believes that the Plan is in the best interests of all holders of Claims in Class 4
 (Talc Personal Injury Claims) and all other creditors and stakeholders of the Debtor and urges all
 holders of Claims in Class 4 (Talc Personal Injury Claims) to vote to accept the Plan and to
 evidence such acceptance by returning their Ballots so that they WILL BE actually received on
 or before [_] p.m. (Prevailing Eastern Time), on [____], 2023.

                            [Remainder of page left intentionally blank]




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  Dated: May 15, 2023                       WOLLMUTH MAHER & DEUTSCH LLP

                                            /s/ Paul R. DeFilippo
                                            Paul R. DeFilippo, Esq.
                                            James N. Lawlor, Esq.
                                            Joseph F. Pacelli, Esq. (pro hac vice)
                                            500 Fifth Avenue
                                            New York, New York 10110
                                            Telephone: (212) 382-3300
                                            Facsimile: (212) 382-0050
                                            pdefilippo@wmd-law.com
                                            jlawlor@wmd-law.com
                                            jpacelli@wmd-law.com

                                            JONES DAY
                                            Gregory M. Gordon, Esq.
                                            Brad B. Erens, Esq.
                                            Dan B. Prieto, Esq.
                                            Amanda Rush, Esq.
                                            2727 N. Harwood Street
                                            Dallas, Texas 75201
                                            Telephone: (214) 220-3939
                                            Facsimile: (214) 969-5100
                                            gmgordon@jonesday.com
                                            bberens@jonesday.com
                                            dbprieto@jonesday.com
                                            asrush@jonesday.com
                                            (Admitted pro hac vice)

                                            PROPOSED ATTORNEYS FOR DEBTOR




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